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Attorneys for Frank Jarvis Atwood

                           UNITED STATES DISTRICT COURT

                               DISTRICT OF ARIZONA


Frank Jarvis Atwood,                        ) CASE NO. ___________________
                                            )
                                            )
              Plaintiff,                    )
                                            )
                                            )
      v.                                    ) EXHIBITS TO COMPLAINT
                                            )
David Shinn, Director, Arizona              )
                                            )
Department of Corrections Rehabilitation    ) This is a capital case.
& Recovery; James Kimble, Warden,           )
ASPC-Eyman; Jeff Van Winkle,                )
Warden, ASPC-Florence; Lance Hetmer,        )
                                            )
Assistant Director for Prison Operations,   )
Arizona Department of Corrections           )
Rehabilitation & Recovery,                  )
                                            )
              Defendants.                   )
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                                   EXHIBIT LIST



Exhibit 1    Tielborg Order (12/7/21)

Exhibit 2    Declaration of Phillip Davidson (5/9/22)

Exhibit 3    Declaration of Joel Zivot (5/17/22)

Exhibit 4    Department Order 710 - Execution Procedures

Exhibit 5    Execution Charts

Exhibit 6    Declaration of Amanda Bass (5/18/22)

Exhibit 7    Motion to Modify (6/22/22)

Exhibit 8    Motion to Set Briefing Schedule (1/5/22)

Exhibit 9    Dixon Doc 12 (5/6/22)

Exhibit 10   Dixon Doc 14 (5/6/22)

Exhibit 11   Dixon Doc 27 (5/8/22)

Exhibit 12   Dixon Doc 32 (5/9/22)

Exhibit 13   Declaration of James Ruble (5/18/22)

Exhibit 14   Potency Test

Exhibit 15   Purchase of Potassium Cyanide

Exhibit 16   Declaration of Carla McClain (10/20/93)

Exhibit 17   Declaration of Donna Hamm (4/14/92)

Exhibit 18   The Phoenix Gazette (4/7/92)

Exhibit 19   The Arizona Republic (Mar. 4, 1999)

Exhibit 20   Declaration of Tad Dunbar (4/15/92)
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Exhibit 21   Declaration of Dennis Balske (4/13/92)

Exhibit 22   Declaration of Dan Lohwasser (4/15/92)

Exhibit 23   Declaration of Robert Marshall (4/14/92)

Exhibit 24   Declaration of Kenneth Rose (4/10/92)

Exhibit 25   Declaration of Gloria Lyon (4/7/92)

Exhibit 26   Declaration of John Steiner (4/X/92)

Exhibit 27   Tucson Citizen (3/4/99)

Exhibit 28   Declaration of James S. Williams, M.D., M.Sc. (5/4/22)
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 6                           IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9     Frank Jarvis Atwood,                               No. CV 20-00623-PHX-JAT (JZB)
10                             Plaintiff,
11     v.                                                 ORDER
12
       Panann Days, et al.,
13
                               Defendants.
14
15            Plaintiff Frank Jarvis Atwood, who is currently confined by the Arizona Department
16     of Corrections (ADC) in the Arizona State Prison Complex (ASPC)-Eyman, filed this civil
17     rights action pursuant to 42 U.S.C. § 1983.1 Before the Court is Plaintiff’s Motion for
18     Temporary Restraining Order and Preliminary Injunction regarding his medical care.
19     (Doc. 109.) The Court held a hearing on the Motion on October 29, 2021 and permitted
20     the Parties to file amended proposed findings of fact and conclusions of law.2 The Court’s
21     findings of fact and conclusions of law based on the Parties’ briefing and the hearing are
22     set forth herein.
23     ....
24
25
              1
                  Plaintiff filed the original Complaint pro se but is now represented by counsel.

26
              2
                Plaintiff and Defendants Centurion and Olmstead (“Centurion Defendants”) had
       filed proposed Findings of Fact and Conclusions of Law prior to the hearing. (Docs. 147,
27     151.) After the hearing, only Plaintiff filed amended proposed Findings of Fact and
       Conclusions of Law as well as a proposed order (Doc. 166); Centurion Defendants filed an
28     Objection to Plaintiff’s Proposed Order (Doc. 171). Defendants Days, Shinn, Scott, Lopez,
       and Arnold (“ADC Defendants”) did not file any proposed Findings of Fact and
       Conclusions of Law either before or after the hearing.
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 1     I.     Findings of Fact
 2            Plaintiff has been incarcerated by ADC since 1987. (Doc. 147 ¶ 1.) Philip A.
 3     Davidson, MD, a board-certified orthopedic surgeon, has evaluated Plaintiff
 4     telephonically, reviewed Plaintiff’s medical records related to his current condition, and
 5     testified at the hearing. Based on his review of Plaintiff’s January 8, 2021 MRI of the
 6     lumber and cervical spine, Dr. Davidson concluded that Plaintiff has “severe cervical
 7     spondylosis with severe radicular symptoms to include, of great importance, C5-C6
 8     myelomalacia. He has apparently overt radicular symptomatology as well as radiating
 9     pain, weakness, and motor dysfunction.” (Doc. 109 at 28-29 ¶ 37.) Plaintiff’s lumbar
10     spine is his most painful condition, and “[his] neural symptomatology has contributed to
11     the weakness that is limiting his ability to transfer and position, let alone ambulate. In
12     addition, the neural compression and degenerative spondylosis are highly painful, most
13     acutely when prone or in an erect seated posture.” (Id. at 29 ¶ 38.)
14            Plaintiff’s back pain began around 1990, and he has been treated over the past 30
15     years with oral medications. (Id. at 21 ¶ 14.). Plaintiff began using a wheelchair in 2015
16     and at that time he was classified an ADA (Americans with Disabilities Act) patient. (Doc.
17     167 (Hearing Tr.) at 117.) From 2011 to September 2020, Plaintiff was prescribed
18     Tramadol, which effectively treated his pain. (Doc. 109 at 23 ¶ 20.) Plaintiff has tried
19     numerous other medications, such as Cymbalta, for his pain, but they have either failed or
20     Plaintiff had negative reactions to them. (Doc. 167 at 61, 121.)
21            In September 2020, Defendant Nurse Practitioner Olmstead discontinued Plaintiff’s
22     Tramadol prescription, and from October 2020 to the present, Plaintiff has been prescribed
23     a lidocaine patch and Tylenol, which have provided “no appreciable pain relief.” (Doc.
24     109 at 23 ¶ 20.) Olmstead asserts that “the medical decision has been made, after repeat
25     examinations and other testing, that [Plaintiff] needs to be weaned off of narcotics,
26     including Tramadol, due to poor tolerance/side effects and that had or have been, at times,
27     a part of his prescription medication regimen, and that there is no medical indication to
28     continue this medication.” (Doc. 114-6 at 2 ¶ 4.) According to Olmstead, “[n]arcotics are



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 1     very powerful medications that should only be used in the appropriate case and for the
 2     shortest duration needed, which is how they have been used.” (Id.) Olmstead testified that
 3     Centurion’s medical director told her it was Centurion’s policy “that long-term opioids are
 4     not prescribed unless a patient has cancer pain or they are in a hospice setting.” (Doc. 167
 5     at 169.) During the hearing, the Court asked Defendants to produce the policy. (Id. at 208-
 6     209.) Following the hearing, Defendants notified the Court that “no formal written policy
 7     exists,” and they submitted the declaration of Dr. Rodney Stewart, Centurion’s Site
 8     Medical Director for ASPC-Eyman. (Doc. 165 at 1.) Dr. Stewart states that he has
 9     implemented a policy “that patients are not to be prescribed opioids, such as tramadol, for
10     an extended or indefinite period of time unless that patient is suffering from cancer-related
11     illness or pain, terminal illness with pain, and other serious long-term disease implicating
12     severe pain symptoms.” (Doc. 165-1 at 1 ¶ 5.)
13            Plaintiff   has   not   walked    since    2017    and   without    Tramadol     suffers
14     “incomprehensible pain every time he need[s] to transfer to bed, chair or wheelchair.”
15     (Doc. 109 at 22-23 ¶¶ 17, 19.) Plaintiff can only sleep sporadically because he cannot lie
16     flat and must sit in his wheelchair or partially recline in bed to minimize the severity of
17     constant pain. (Id. at 24 ¶ 23.) Plaintiff’s pain interferes with nearly all activities of daily
18     living. (Doc. 167 at 27-28.) Without Tramadol, Plaintiff’s pain is severe at 9 or 10 out of
19     10, his ability to transfer to and from his wheelchair is decreased, and his sleep is even
20     more compromised. (Doc. 109 at 27 ¶ 34.) With Tramadol, Plaintiff’s pain decreases to a
21     5 or 6, a moderate and manageable pain level. (Doc. 167 at 112, 121.)
22            Plaintiff has a recent history of falling, secondary to weakness in his legs, including
23     falls in November 2020 and March 2021 when he was not taking Tramadol. (Doc. 109 at
24     24 ¶ 22.) Plaintiff testified he has fallen a half dozen times since 2016, and he attributes
25     his falls to his medical condition and not Tramadol because the falls occur when he tries to
26     move, and he feels a twinge of pain and weakness and collapses. (Doc. 167 at 115.) Dr.
27     Davidson testified that Plaintiff’s falls are not necessarily attributable to Tramadol, and the
28



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 1     falls indicate to him that Plaintiff needs more assistance with transfers and needs to be in a
 2     safer environment. (Id. at 49.)
 3            In January 2021, Plaintiff suffered an extreme case of diarrhea, which was
 4     eventually diagnosed as a staph infection; the infection intensified Plaintiff’s back pain and
 5     caused spasms, and he was unable to leave his bed or roll onto his side for nearly a week.
 6     (Doc. 109 at 25 ¶¶ 25-26.) To accept meals and medication, Plaintiff crawled or slid across
 7     his cell’s urine-covered and feces-smeared floor. (Id. ¶ 25.) Plaintiff received injections
 8     of Toradol and a corticosteroid injection, which provided some pain relief for a couple of
 9     weeks. (Doc. 109 at 21 ¶ 15.)
10            Plaintiff received Tramadol when he was hospitalized in April 2021 and afterwards
11     in the infirmary, but when he was moved back to the Browning Unit in June 2021, NP
12     Olmstead reduced the dose of Tramadol to once daily with the intention of weaning
13     Plaintiff off Tramadol completely. (Doc. 109 at 26 ¶¶ 28-33.)
14            On April 6, 2021, Olmstead submitted an urgent request for a neurosurgery
15     consultation; Olmstead noted that she reviewed the case with Dr. Young, who asked that a
16     consult be entered with a neurosurgeon to see if Plaintiff was a candidate for epidural
17     injections. (Doc. 114-1 at 5-6.) On June 25, 2021, Plaintiff had an appointment with
18     neurosurgeon Dr. Feiz-Erfan at Valleywise Health, but Dr. Feiz-Erfan first wanted an
19     updated MRI and a follow-up appointment in 4 to 6 weeks. (Doc. 114-6 at 2 ¶ 7; Doc.
20     114-4 at 36-39.) On June 30, 2021, Olmstead submitted a routine consultation request for
21     an MRI of the cervical spine and for a follow-up appointment with the neurosurgeon once
22     the MRI is completed. (Doc. 114-16 at 2 ¶ 7; Doc. 114-5 at 11.) The MRI was authorized,
23     and Plaintiff had the cervical MRI on July 16, 2021. (Doc. 114-5 at 11.; Doc. 130-1 at 2.)
24            Plaintiff next saw Dr. Feiz-Erfan on July 30, 2021, and Dr. Feiz-Erfan noted that
25     Plaintiff’s chief complaint was neck and back pain, but Plaintiff was also febrile and short
26     of breath. (Doc. 132-1 at 15, 17.) Dr. Feiz-Erfan diagnosed Plaintiff with “status post
27     anterior fusion, cervical 5-6, for myelopathy done by me on 12/11/2018. New Diagnosis
28     is canal stenosis, lumbar 1-2; adjacent level disease, cervical spine.” (Id.) Dr. Feiz-Erfan’s



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 1     Plan of Care was “Epidural injection, lumbar 1-2. Physical therapy,” follow up in 3
 2     months, and to go to the nearest emergency room for acute symptoms, noting that Plaintiff
 3     “looks ashen and pale and appears sick acutely.” (Id.) Under “Patient Instructions,” the
 4     doctor wrote, “Patient to have injections and PT and follow up in 6 weeks. 3 (Id. at 19.)
 5     Olmstead noted in an August 2, 2021 medical record that Plaintiff was admitted to
 6     Valleywise Hospital on July 30 for urosepsis and had surgery for a new left stent placement
 7     and cystoscopy. (Id. at 37.) Dr. Davidson testified that in Plaintiff’s case, spinal injections
 8     would provide only temporary or transient relief, and injections could diminish the need
 9     for Tramadol if repeated two to three times a year, but that it is likely they would only
10     provide partial relief and Plaintiff may still need Tramadol in addition.4 (Doc. 167 at 57.)
11            On August 2, 2021, Olmstead submitted a routine consultation request for epidural
12     lumbar injections. (Doc. 132-1 at 37.) As of the date of the hearing, October 29, 2021,
13     Plaintiff had not received his first epidural injection, but defense counsel asserted Plaintiff
14     would have an injection in the next two weeks. (Doc. 167 at 199.) After seeing Dr. Feiz-
15     Erfan, Plaintiff had four half-hour physical therapy sessions at the prison, but he testified
16     that the physical therapy ended up causing more discomfort than any benefit. (Id. at 119.)
17            In October 2021, Plaintiff was again in the infirmary and while there, a doctor
18     prescribed Tramadol for his pain on October 20, 2021, but Plaintiff did not receive
19     Tramadol until the night before the October 29, 2021 hearing. (Id. at 109.) Plaintiff
20     testified that a nurse told him he received Tramadol just before the hearing because “they
21     wanted to be able to say [Plaintiff] was on the medication again.” (Id. at 109-110.)
22            Dr. Davidson recommends without reservation that Plaintiff again be prescribed
23     Tramadol given that trials of other medications have not worked and because other
24     narcotics that might help his pain could be more addictive and habit forming. (Id. at 60-
25     61.) Dr. Davidson stated a typical dose is 50 mg twice a daily, but the dose would have to
26
27
              3
                It is not clear from the record if Dr. Feiz-Erfan was planning one epidural injection
       or a series of injections because he used the singular “injection” in the “Plan of Care” and
28     plural “injections” in the “Patient Instructions.”
              4
                  Dr. Feiz-Erfan did not testify.

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 1     be adjusted based on what Plaintiff has taken in the past and on the effectiveness of the
 2     spinal injections. (Id. at 58.) Dr. Davidson’s professional opinion is that “it is imperative
 3     and humane that additional, palliative measures also be implemented on this patient’s
 4     behalf immediately. These include lumbar and cervical orthosis, along with a residency
 5     setting where immediate hands-on wheelchair transferring assistance is continually
 6     available.” (Doc. 109 at 30 ¶ 44.) Defendants’ expert, Dr. Thomas Fowlkes, is board-
 7     certified in emergency medicine and is currently the medical director at a county detention
 8     facility in Oxford, Mississippi. (Doc. 167 at 64.) Dr. Fowlkes reviewed Plaintiff’s medical
 9     records and agreed there was no evidence Plaintiff was addicted to Tramadol, that Plaintiff
10     was diverting or abusing Tramadol, or that his cognition suffered because of Tramadol.
11     (Doc. 167 at 80-85.)
12     II.    Preliminary Injunction Standard
13            “A preliminary injunction is ‘an extraordinary and drastic remedy, one that should
14     not be granted unless the movant, by a clear showing, carries the burden of persuasion.’”
15     Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012) (quoting Mazurek v. Armstrong, 520
16     U.S. 968, 972 (1997) (per curiam)); see also Winter v. Natural Res. Def. Council, Inc., 555
17     U.S. 7, 24 (2008) (citation omitted) (“[a] preliminary injunction is an extraordinary remedy
18     never awarded as of right”). “A plaintiff seeking a preliminary injunction must show that
19     (1) he is likely to succeed on the merits, (2) he is likely to suffer irreparable harm without
20     an injunction, (3) the balance of equities tips in his favor, and (4) an injunction is in the
21     public interest. Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008).
22     The movant “has the burden of proof on each element of the test.” See Envtl. Council of
23     Sacramento v. Slater, 184 F. Supp. 2d 1016, 1027 (E.D. Cal. 2000).
24            Where a movant seeks a mandatory injunction, rather than a prohibitory injunction,
25     injunctive relief is “subject to a higher standard” and is “permissible when ‘extreme or very
26     serious damage will result’ that is not ‘capable of compensation in damages,’ and the merits
27     of the case are not ‘doubtful.’” Hernandez v. Sessions, 872F.3d 976, 999 (9th Cir. 2017)
28     (quoting Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873, 879



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 1     (9th Cir. 2009)). “A mandatory injunction orders a responsible party to take action,” while
 2     “a prohibitory injunction prohibits a party from taking action and preserves the status quo
 3     pending a determination of the action on the merits.” Marlyn Nutraceuticals, 571 F.3d at
 4     879 (internal quotation marks omitted). “The ‘status quo’ refers to the legally relevant
 5     relationship between the parties before the controversy arose.”       Arizona Dream Act
 6     Coalition v. Brewer, 757 F.3d 1053, 1060-61 (9th Cir. 2014).
 7            The Prison Litigation Reform Act imposes additional requirements on prisoner
 8     litigants who seek preliminary injunctive relief against prison officials and requires that
 9     any injunctive relief be narrowly drawn and the least intrusive means necessary to correct
10     the harm. 18 U.S.C. § 3626(a)(2); see Gilmore v. People of the State of Cal., 220 F.3d 987,
11     999 (9th Cir. 2000).
12            “The urgency of obtaining a preliminary injunction necessitates a prompt
13     determination” and makes it difficult for a party to procure supporting evidence in a form
14     that would be admissible at trial. Flynt Distrib. Co. v. Harvey, 734 F.2d 1389, 1394 (9th
15     Cir. 1984). As a result, “a preliminary injunction is customarily granted on the basis of
16     procedures that are less formal and evidence that is less complete than in a trial on the
17     merits.” Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981). In its determination on
18     a motion for a preliminary injunction, “a court may properly consider evidence that would
19     otherwise be inadmissible at trial.” Cherokee Inc. v. Wilson Sporting Goods Co., No. CV
20     15-04023 BRO (Ex), 2015 WL 3930041, at *3 (C.D. Cal. June 25, 2015); see Johnson v.
21     Couturier, 572 F.3d 1067, 1083 (9th Cir. 2009) (district court did not abuse its discretion
22     by considering “unverified client complaints” and the plaintiff’s counsel’s interested
23     declaration when it granted a preliminary injunction); Flynt Distrib. Co., 734 F.2d at 1394
24     (the district court has discretion to rely on hearsay statements when deciding whether to
25     issue a preliminary injunction). A court may also consider evidence or developments that
26     postdate the pleadings. Farmer v. Brennan, 511 U.S. 825, 846 (1994).
27
28



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 1               When evaluating the merits of a preliminary injunction motion, a court’s factual
 2     findings and legal conclusions are not binding at trial on the merits. Univ. of Tex., 451 U.S.
 3     at 395.
 4     III.      Conclusions of Law
 5               Plaintiff seeks an order requiring Defendants to provide him (1) “the necessary pain
 6     medication to treat his constant severe pain,” (2) “rehousing to a unit that has wheelchair
 7     transferring assistance available at all times,” and (3) referral to an orthopedic surgeon “to
 8     evaluate Plaintiff for possible surgical intervention to treat and improve his spinal
 9     condition.” (Doc. 109 at 15.) Based on the hearing and Dr. Davidson’s recommendation,
10     it is clear Plaintiff is seeking a resumption of his previous Tramadol prescription and the
11     epidural injection(s) recommended by Dr. Feiz-Erfan. Because Plaintiff is not currently
12     prescribed Tramadol and or received epidural injections as of the hearing date, he is seeking
13     mandatory, rather than prohibitory, injunctive relief, with respect to his pain relief as well
14     as his requests to be rehoused in a different unit with wheelchair transfer assistance
15     available at all times and an evaluation by an orthopedic surgeon.
16               A.     Pain Relief
17                      1.     Likelihood of Success on the Merits
18               To establish a likelihood of success on the merits of an Eighth Amendment medical
19     care claim, a prisoner must demonstrate “deliberate indifference to serious medical needs.”
20     Jett v. Penner, 439 F.3d 1091, 1096 (9th Cir. 2006) (citing Estelle v. Gamble, 429 U.S. 97,
21     104 (1976)). The prisoner must show (1) that his condition constitutes a “serious medical
22     need” and (2) that the defendant’s current response to that need is deliberately indifferent.
23     Jett, 439 F.3d at 1096; see Farmer v. Brennan, 511 U.S. 825, 845 (1994) (where a plaintiff
24     seeks injunctive relief, the deliberate indifference determination is based on the defendant’s
25     current conduct).
26                             a)     Serious Medical Need
27               Plaintiff has satisfied the objective prong of the deliberate indifference analysis. In
28     the Court’s January 12, 2021 Order on Plaintiff’s previous request for injunctive relief, the



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 1     Court found no meaningful dispute that Plaintiff suffers from severe spinal pain, a serious
 2     medical condition. (Doc. 87 at 9.) Moreover, Centurion Defendants do not dispute that
 3     Plaintiff suffers from degenerative disc disease. (Doc. 114 at 3.) Indeed, Plaintiff’s
 4     condition causes him chronic and severe pain that medical personnel have found worthy of
 5     attention and treatment. See McGuckin v. Smith, 974 F.2d 1050, 1059–60 (9th Cir. 1992),
 6     overruled on other grounds, WMX Techs., Inc. v. Miller, 104 F.3d 1133, 1136 (9th Cir.
 7     1997).
 8                            b)     Deliberate Indifference
 9              With respect to the subjective prong, a plaintiff must first show that the defendant
10     was “subjectively aware of the serious medical need[.]” Simmons v. Navajo Cnty., Ariz.,
11     609 F.3d 1011, 1017–18 (9th Cir. 2010) (quotation and citation omitted). A defendant’s
12     knowledge of a serious medical need or substantial risk to health “is a question of fact
13     subject to demonstration in the usual ways, including inference from circumstantial
14     evidence,” and a defendant may be found to have known of a substantial risk if the risk
15     was obvious. Farmer, 511 U.S. at 842.
16              Here, there can be no dispute that Centurion Defendants are aware of Plaintiff’s
17     diagnosed condition and serious medical need because it is documented in his medical
18     records showing decades of treatment for his spinal condition, including surgeries,
19     medication trials, MRIs, and specialist appointments. Moreover, an orthopedic surgeon
20     has recommended that Plaintiff have, at a minimum, palliative measures such as Tramadol
21     and epidural injections, and a neurosurgeon has recommended epidural injection(s) and
22     physical therapy.
23              After showing that a defendant was subjectively aware of the serious medical need,
24     a plaintiff must show that the defendant “failed to adequately respond” to that need.
25     Simmons, 609 F.3d at 1018. Prison officials are deliberately indifferent to a prisoner’s
26     serious medical needs when they deny, delay, or intentionally interfere with medical
27     treatment.” Hallett v. Morgan, 296 F.3d 732, 744 (9th Cir. 2002) (internal citations and
28     quotation marks omitted). Deliberate indifference may also be shown by the way in which



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 1     prison officials provide medical care, Hutchinson v. United States, 838 F.2d 390, 394 (9th
 2     Cir. 1988), or “by a purposeful act or failure to respond to a prisoner’s pain or possible
 3     medical need.” Jett, 439 F.3d at 1096.
 4            In the January 12, 2021 Order denying injunctive relief, the Court noted that
 5     Defendant Olmstead was taking steps to address Plaintiff’s pain by means other than
 6     Tramadol, including seeking authorization for MRIs of Plaintiff’s lumbar and cervical
 7     spine to assess whether there was further deterioration, which could support surgery or
 8     epidural spinal injections, and providing lidocaine pain patches. (Doc. 87 at 10.) However,
 9     at that time, the Court informed Defendants that a prolonged failure to address Plaintiff’s
10     severe pain through other means may warrant consideration of a new motion for injunctive
11     relief. (Id. at 10-11.)
12            While Plaintiff had the lumbar and cervical spine MRIs on January 8, 2021, he did
13     not see the neurosurgeon until June 25, 2021, which Centurion Defendants assert was the
14     earliest appointment available to see the neurosurgeon. (Doc. 114 at 4 n.2). But Olmstead
15     did not submit a consultation request for Plaintiff to see the neurosurgeon until April 6,
16     2021—three months after the MRIs were completed. There is no explanation for this three-
17     month delay in attempting to obtain authorization for the neurosurgery consult. When
18     Plaintiff saw the neurosurgeon in June 2021, the neurosurgeon wanted a new MRI, and
19     when Plaintiff returned to the neurosurgeon on July 30, 2021, the neurosurgeon
20     recommended epidural injections, physical therapy, and follow up in three months.
21     Afterwards, Defendant Olmstead only submitted a routine consultation request for epidural
22     lumbar injections, and as of the date of the hearing, October 29, 2021, Plaintiff had not had
23     an epidural injection. Plaintiff has had physical therapy sessions at the prison, but they
24     caused him more discomfort than benefit.
25            Centurion Defendants argue there is no evidence Plaintiff has been denied
26     appropriate medical care and that he simply disagrees with the medical providers who have
27     changed his pain medication from a narcotic to a non-narcotic. (Doc. 114 at 6.) They
28     assert that “alternative means to treat Plaintiff’s pain, including epidural steroid injections



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 1     and/or additional surgery, are currently being evaluated by the appropriate specialists.”5
 2     (Id. at 4.)
 3             Centurion Defendants have provided no explanation why Tramadol was appropriate
 4     for ten years and is suddenly inappropriate, requiring immediate cessation, or how the
 5     minimal pain relievers Plaintiff has received outside of the hospital or infirmary have been
 6     adequate to treat his significant pain issues. Defendant Olmstead makes the conclusory
 7     statement that “the medical decision has been made, after repeat examinations and other
 8     testing, that [Plaintiff] needs to be weaned off of narcotics, including Tramadol, due to
 9     poor tolerance/side effects . . . and that there is no medical indication to continue this
10     medication.” (Doc. 114-6 at 2.) Olmstead, though, does not say how Plaintiff manifested
11     “poor tolerance/side effects” or point to any medical records showing poor tolerance/side
12     effects to Tramadol. Nor does she explain why, if Plaintiff had poor tolerance/side effects
13     to Tramadol which would contraindicate its use, he has been prescribed Tramadol while in
14     the hospital and prison infirmary. Olmstead does say that Plaintiff “is still being prescribed
15     some pain medication, including a topical aspercream [sic] lidocaine patch to place on his
16     lower back for pain, due to the lower risk of drug interaction and side effects, especially
17     with [Plaintiff’s] advancing age the fact that he is a fall risk.” (Doc. 114-6 at 2 ¶ 5.) But
18     Olmstead does not address the history of falls Plaintiff has had since his regular Tramadol
19     prescription was stopped in September 2020 or how Tramadol has increased the likelihood
20     of falls by Plaintiff. Moreover, Dr. Davidson, who reviewed Plaintiff’s medical records
21     and evaluated Plaintiff by telephone, did not attribute the falls to Tramadol use and
22     recommends that a “prescribed moderate dose of Tramadol should be sustained,” noting
23     Tramadol’s “prior effectiveness and its lack of side-effects over the span of many years.”
24     (Doc. 109 at 29 ¶ 41.) Dr. Feiz-Erfan has recommended epidural injection(s), and,
25     although Centurion Defendants indicated at the hearing that Plaintiff would have an
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27
28             Defendants made this argument before Plaintiff saw Dr. Feiz-Erfan for the second
               5
       time on July 30, 2021.

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 1     injection around mid-November, it is unknown if Plaintiff will receive more than one
 2     injection or on a regular basis, as Dr. Davidson indicates may be necessary.
 3            Centurion Defendants’ post-hearing evidence of an unwritten policy that opiates
 4     only be prescribed for cancer patients with severe pain, terminal illness with pain, or other
 5     long-term disease implicating severe pain symptoms is unpersuasive, especially
 6     considering Plaintiff’s past use of Tramadol for over ten years in the prison setting when
 7     Plaintiff was neither a cancer patient nor had a terminal illness. Specifically, the Court
 8     finds the policy unpersuasive because there was no evidence that it was based on a patient
 9     specific medical justification or a penological justification. Moreover, it appears Plaintiff’s
10     pain may fall under the unwritten policy’s category of “long-term disease implicating
11     severe pain symptoms.”
12            Of particular concern to the Court is Centurion Defendants’ delay of more than a
13     year of treating Plaintiff’s severe pain with something as effective as Tramadol. See Hallet,
14     296 F.3d at 744; Jett, 439 F.3d at 1096. Plaintiff’s expert, who has interviewed and
15     evaluated Plaintiff, recommended in June 2021 that Plaintiff be prescribed Tramadol on an
16     ongoing basis, but Plaintiff has only received Tramadol when hospitalized or in the
17     infirmary. Defendants finally sent Plaintiff to a specialist this summer, who recommended
18     on July 30, 2021 that Plaintiff receive epidural injections and follow-up in three months,
19     but Plaintiff had not received those injections as of October 29, 2021, and was not
20     scheduled to receive an injection until sometime in November 2021, and there is no
21     evidence that a follow-up appointment with Dr. Feiz-Erfan has been scheduled. The Ninth
22     Circuit and other courts have routinely found that failure to follow a specialist’s
23     recommendation may amount to a course of treatment that is medically unacceptable. See
24     Colwell v. Bannister, 763 F.3d 1060, 1069 (9th Cir. 2014) (denying summary judgment
25     where prison officials “ignored the recommendations of treating specialists and instead
26     relied on the opinions of non-specialist and non-treating medical officials who made
27     decisions based on an administrative policy”); Snow v. McDaniel, 681 F.3d 978, 988 (9th
28     Cir. 2012) (where the treating physician and specialist recommended surgery, a reasonable



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 1     jury could conclude that it was medically unacceptable for the non-treating, non-specialist
 2     physicians to deny recommendations for surgery), overruled in part on other grounds by
 3     Peralta v. Dillard, 744 F.3d 1076, 1083 (9th Cir. 2014); Jones v. Simek, 193 F.3d 485, 490
 4     (7th Cir. 1999) (the defendant physician’s refusal to follow the advice of treating specialists
 5     could constitute deliberate indifference to serious medical needs); McNearney v. Wash.
 6     Dep’t of Corrs., C11-5930 RBL/KLS, 2012 WL 3545267, at *26 (W.D. Wash. June 15,
 7     2012) (in granting a preliminary injunction for specialist treatment, the district court found
 8     that the prisoner plaintiff showed a likelihood of success on the merits of her Eighth
 9     Amendment claim where the defendants failed to follow an orthopedic surgeon’s strong
10     recommendation for further orthopedic evaluation). In addition, a failure to competently
11     treat a serious medical condition, even if some treatment is prescribed, may constitute
12     deliberate indifference in a particular case. Ortiz v. City of Imperial, 884 F.2d 1312, 1314
13     (9th Cir. 1989) (“access to medical staff is meaningless unless that staff is competent and
14     can render competent care”); see Estelle, 429 U.S. at 105 & n.10 (the treatment received
15     by a prisoner can be so bad that the treatment itself manifests deliberate indifference);
16     Lopez v. Smith, 203 F.3d 1122, 1132 (9th Cir. 2000) (prisoner does not have to prove that
17     he was completely denied medical care).
18            Based on this record, Plaintiff has shown a likelihood of success on the merits of his
19     deliberate indifference claim regarding the treatment of his pain. While up until the time
20     of the hearing Plaintiff had received minimal treatment, the evidence shows that treatment
21     is inadequate.     And, the continual delays in providing adequate alternative pain
22     management also support that Plaintiff will succeed on the merits of this claim. A
23     reasonable jury could find that, in these circumstances, Centurion Defendants failed to
24     competently treat Plaintiff’s serious pain needs and acted with deliberate indifference.
25                   2.     Irreparable Injury
26            In addition to showing a likelihood of success, Plaintiff must demonstrate that
27     absent an injunction, he will be exposed to irreparable harm. Caribbean Marine Servs.
28     Co., Inc. v. Baldrige, 844 F.2d 668, 674 (9th 1988) (speculative injury is not irreparable



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 1     injury sufficient for a preliminary injunction); see Winter, 555 U.S. at 22. To support a
 2     mandatory preliminary injunction for specific medical treatment, a plaintiff must
 3     demonstrate ongoing harm or the present threat of irreparable injury, not a past injury. See
 4     Conn. v. Mass., 282 U.S. 660, 674 (1931) (an injunction is only appropriate “to prevent
 5     existing or presently threatened injuries”); Caribbean Marine, 844 F.2d at 674. “[T]here
 6     must be a presently existing threat of harm, although injury need not be certain to occur.”
 7     Villaneuva v. Sisto, CIV S-06-2706 LKK EFB P, 2008 WL 4467512, at *3 (E.D. Cal. Oct.
 8     3, 2008) (citing FDIC v. Garner, 125 F.3d 1272, 1279–80 (9th Cir. 1997)). Pain can
 9     constitute irreparable harm. See Rodde v. Bonta, 357 F.3d 988, 999 (9th Cir. 2004)
10     (irreparable harm includes delayed and/or complete lack of necessary treatment, and
11     increased pain); McNearney, 2012 WL 3545267, at *14 (finding a likelihood of irreparable
12     injury where the plaintiff’s medical condition predated her incarceration and had not
13     worsened, but the evidence showed that she continued to suffer unnecessary pain due to
14     the defendants’ inadequate treatment plan); Von Collin v. Cnty. of Ventura, 189 F.R.D.
15     583, 598 (C.D. Cal. 1989) (“Defendants do not argue that pain and suffering is not
16     irreparable harm, nor could they”).
17            Prior to his kidney issues earlier this year, Plaintiff reported to Dr. Davidson that his
18     pain was constant at 8 out of 10, he suffers “incomprehensible pain” when he transfers to
19     and from the wheelchair, a history of falls, that the pain is only somewhat lessened by
20     remaining in a seated position, that he cannot lie down at all, and he only sleeps
21     sporadically. After Plaintiff’s treatment for kidney issues, his pain is now at 9 out of 10,
22     his ability to transfer has decreased even more, and his sleep is even more compromised.
23            Plaintiff’s ongoing severe pain and associated issues are sufficient to support a
24     finding of irreparable harm. See Estelle, 429 U.S. at 103 (Eighth Amendment applies even
25     to “less serious cases, [where] denial of medical care may result in pain and suffering which
26     no one suggests would serve any penological purpose” ); McGuckin, 974 F.2d at 1060 (pain
27     and anguish suffered by prisoner constituted harm sufficient to support a § 1983 action).
28                   3.     Balance of Hardships



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 1            Courts “must balance the competing claims of injury and must consider the effect
 2     on each party of the granting or withholding of the requested relief.” Winter, 555 U.S. at
 3     24 (quotation omitted). The Ninth Circuit has held that the interest in protecting individuals
 4     from physical harm outweighs a government entity’s monetary costs. See Harris v. Bd. of
 5     Supervisors, L.A. Cnty., 366 F.3d 754, 766 (9th Cir. 2004) (“faced with [ ] a conflict
 6     between financial concerns and preventable human suffering, [the court has] little difficulty
 7     concluding that the balance of hardships tips decidedly in plaintiff’s favor”) (quotation
 8     omitted).
 9            Centurion Defendants argue that “restructuring the procedures and policies for one
10     single inmate could result in security and safety breaches, inmate unrest and staffing issues,
11     particularly where the relief sought is not necessary or is already being processed.” (Doc.
12     114 at 9-10.) They further argue that the relief requested would trigger federalism concerns
13     and cause the Court to needlessly interfere with the prison’s operations.
14            The Court is unconvinced by Centurion Defendants’ general argument, without any
15     citation to any procedures or policies, that “restructuring the procedures and policies for
16     one single inmate could result in security and safety breaches [and] inmate unrest and
17     staffing issues.” The Court is also unconvinced that granting Plaintiff pain relief would
18     result in needless interference in the prison’s operations.
19            As articulated above, Plaintiff is likely to suffer irreparable injury absent an
20     injunction; thus, his injury is more than just speculative.         Furthermore, Centurion
21     Defendants have made no showing that they will face any harm if an injunction issues. The
22     Court finds that the balance of hardships tips sharply in Plaintiff’s favor.
23                   4.     Public Interest
24            “[I]t is always in the public interest to prevent the violation of a party’s
25     constitutional rights.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (quotation
26     omitted). Moreover, “the public has a strong interest in the provision of constitutionally-
27     adequate health care to prisoners.” McNearney, 2012 WL 3545267, at *16 (quoting Flynn
28     v. Doyle, 630 F. Supp. 2d 987, 993 (E.D. Wis. 2009)); see Farnam v. Walker, 593 F. Supp.



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 1     2d 1000, 1017 (C.D. Ill. 2009) (holding that public had an interest in the maintenance of
 2     prisoner’s health during the pendency of the lawsuit).
 3            Centurion Defendants argue that granting injunctive relief “would not be in the
 4     public interest because it would require this Court to override the decisions of correctional
 5     authorities and medical providers, who are responsible for the safety, security, care and
 6     efficient operation of the prison, as well as for the healthcare of Plaintiff.” (Doc. 114 at
 7     10.) They further contend that “the public welfare militates against the issuance of
 8     extraordinary relief in the prison context, absent a sufficient showing of a violation of
 9     constitutional rights.” (Id.)
10            Contrary to Centurion Defendants’ assertions, the record supports Plaintiff’s claims
11     that he is suffering significant pain, sleeplessness, and related issues and is being denied
12     constitutionally adequate medical care for his pain. The Court finds that it is in the public
13     interest to prevent Plaintiff from suffering ongoing pain and other complications during the
14     remainder of this lawsuit. Accordingly, this factor favors injunctive relief that requires
15     Centurion Defendants to provide the epidural injection(s) recommended by Dr. Feiz-Erfan
16     and to re-start Plaintiff’s prescription for Tramadol, unless a specialist recommends an
17     alternative pain medication.
18                   5.      Narrowly Tailored Relief
19            As stated, the PLRA requires any injunctive relief to be narrowly drawn and the
20     least intrusive means necessary to correct the harm. 18 U.S.C. § 3626(a)(2). Centurion
21     Defendants do not address this factor.
22            As noted, Plaintiff wants his prescription for Tramadol re-started, as recommended
23     by Dr. Davidson, and the epidural injection(s) recommended by Dr. Feiz-Erfan. Adhering
24     to the specialists’ recommendations is the most narrowly drawn relief necessary to correct
25     the harm identified by Plaintiff.        Thus, Plaintiff’s request for relief satisfies the
26     requirements of the PLRA.
27                   6.      Bond Requirement
28



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 1            Rule 65(c) of the Federal Rules of Civil Procedure provides that “[t]he court may
 2     issue a preliminary injunction or a temporary restraining order only if the movant gives
 3     security in an amount that the court considers proper to pay the costs and damages sustained
 4     by any party found to have been wrongfully enjoined or restrained.”                  Despite this
 5     mandatory language, “Rule 65(c) invests the district court with discretion as to the amount
 6     of security required, if any.” Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009)
 7     (internal quotation omitted). The district court may dispense with the filing of a bond when
 8     it concludes there is no realistic likelihood of harm to the defendant from enjoining his or
 9     her conduct. Id.
10            Here, Centurion Defendants have not requested a bond or submitted any evidence
11     regarding likely damages. Accordingly, the Court will waive the bond requirement.
12            Having met all requirements for injunctive relief, the Court will require Centurion
13     Defendants to provide Plaintiff with the epidural injection(s) and to re-start Plaintiff’s
14     prescription for Tramadol, unless a specialist recommends an alternative pain medication.
15            B.      Housing
16            As to Plaintiff’s request for different housing, ADC Defendants argue that this relief
17     is wholly unrelated to the remaining claims in this lawsuit and therefore inappropriate.
18     (Doc. 118 at 5.) In his First Amended Complaint, Plaintiff alleged that on July 12, 2019,
19     Defendant Days moved Plaintiff from the death-row wheelchair pod to the death-row
20     security threat group pod and housed Plaintiff in a cell without handicap bars, causing
21     Plaintiff to fall repeatedly while transferring to and from his wheelchair to his bunk and
22     toilet. (Doc. 36 at 5, 14.) ADC Defendants point out that the prison has now installed grab
23     bars in Plaintiff’s cell and the specific areas of the prison he requested. (Doc. 118 at 5,
24     citing Doc. 61; see also Doc. 37 at 28 (denying as moot Plaintiff’s request for grab bars in
25     his cell and shower).) Plaintiff does not address ADC Defendants’ argument that his
26     request for a transfer to a different unit is unrelated to his existing claims or requested relief.
27            “[T]here must be a relationship between the injury claimed in the motion for
28     injunctive relief and the conduct asserted in the underlying complaint.” Pac. Radiation



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 1     Oncology, LLC v. Queen’s Med. Center, 810 F.3d 631, 636 (9th Cir. 2015); see Devose v.
 2     Herrington, 42 F.3d 470, 471 (8th Cir. 1994) (affirming denial of a preliminary injunction
 3     request based on alleged retaliatory conduct unrelated to the basis of a prisoner’s § 1983
 4     claim). Plaintiff’s requested relief for a transfer is unrelated to his claim about the lack of
 5     handicap bars in his cell and certain areas of the prison, which have been resolved, and
 6     there is no existing claim regarding 24-hour transfer assistance or that Plaintiff has
 7     requested and been denied such assistance. Accordingly, the Court will deny this request
 8     for relief.
 9             C.    Surgical Evaluation
10             Plaintiff filed his Motion on June 22, 2021, seeking “an immediate evaluation by an
11     orthopedic specialist to determine available surgical options that could treat and improve
12     his condition.” (Doc. 109 at 2.) Plaintiff’s expert, Dr. Davidson, recommended an
13     evaluation by either an orthopedic spine surgeon or neurosurgeon to determine his surgical
14     options. In his Reply, Plaintiff states that he “asked this Court to order an evaluation with
15     a neurosurgeon, and although he “was evaluated by such a specialist in late June, nothing
16     has yet come of that evaluation and consult.” (Doc. 125 at 5 n.2.) After he filed his Reply
17     on July 19, 2021, Plaintiff saw Dr. Feiz-Erfan a second time—on July 30, 2021—and Dr.
18     Feiz-Erfan recommended epidural injection(s) to relieve Plaintiff’s pain. Dr. Feiz-Erfan
19     did not include any recommendations or comments regarding surgical options in his report.
20             Because Plaintiff has now been evaluated by a neurosurgeon, and the Court has
21     already ordered compliance with Dr. Feiz-Efran’s recommendations for epidural
22     injection(s), this request for injunctive relief is moot.
23     IT IS ORDERED:
24             (1)   The reference to the Magistrate Judge is withdrawn as to Plaintiff’s Motion
25     for Temporary Restraining Order and Preliminary Injunction (Doc. 109).
26             (2)   Plaintiff’s Motion for Temporary Restraining Order and Preliminary
27     Injunction (Doc. 109) is granted in part as follows:
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 1                  (a)    Within ten (10) days of the date of this Order, Centurion Defendants
 2           must re-start Plaintiff’s prior prescription for Tramadol, unless a specialist has
 3           recommended an equally effective alternative pain medication.
 4                  (b)    Within ten (10) days of the date of this Order, Centurion Defendants
 5           must schedule the epidural injection(s) recommended by Dr. Feiz-Erfan unless the
 6           injection(s) have already occurred.
 7                  (c)    Centurion Defendants must file a Notice with the Court within 20 days
 8           of the date of this Order, that Plaintiff has been re-started on Tramadol, or on an
 9           equally effective alternative pain medication recommended by a specialist, has
10           received at least one epidural injection, and when any future injections are
11           scheduled.6
12                  (d)    This relief is narrowly drawn, extends no further than necessary to
13           correct the harm, and is the least intrusive means necessary to correct the harm. See
14           18 U.S.C. § 3626(a)(2).
15                  (e)    Plaintiff is not required to post bond.
16           (3)    The Motion is otherwise denied.
17           Dated this 7th day of December, 2021.
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                The Court recognizes that for security reasons, it may not be appropriate for
       Defendants to divulge the exact dates and times of the scheduled appointments for
28     injections. But Defendants’ Notice must include the week(s) in which the injection(s) are
       scheduled. Defendants may redact the day—but not the month or year—of the
       appointments or may seek to file the dates under seal for ex parte review.

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                                                    Pursuant to 28 U.S.C. § 1746 (2).

                DECLARATION OF PHILIP A. DAVIDSON, M.D.

I, Philip A. Davidson, MD, declare and state as follows:

1.   I am a Board-Certified Orthopedic Surgeon and a member of Davidson

     Orthopedics and the Utah Orthopedic Spine & Injury Center in Salt Lake

     City. I have evaluated Mr. Frank Atwood telephonically and reviewed

     records related to his current condition, and I offer the observations and

     conclusions set forth below.

2.   In addition to my work with Davidson Orthopedics and the Utah Orthopedic

     Spine & Injury Center, I am a member of the staffs of Park City Medical

     Center, Salt Lake Regional Medical Center, LDS Hospital, and Alta View

     Hospital, and in 2015, I founded Davidson Orthopedics in Salt Lake City.

3.   I am a graduate of Harvard University, B.A., Magna cum Laude, Biology and

     Comparative Anatomy in 1983. I earned my Doctor of Medicine degree, with

     Honors in Research, from Cornell University Medical College in 1987.

4.   In 1992, I completed Orthopedic Residency Training with the Baylor College

     of Medicine and, in 1993, held a Sports Medicine Fellowship with the

     Kerlan-Jobe Orthopedic Clinic.

5.   Previously, I served on the affiliated faculty of the University of South Florida

     and successfully developed a large full service Orthopedic Clinic. I have

     served on FDA panels to evaluate the safety of Osteoarthritis treatments. I



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     have taught many courses to surgeons in the field of Cartilage Restoration

     and Joint Resurfacing and published many scientific articles in the

     orthopedic literature on topics ranging from non-surgical treatments for

     Knee Osteoarthritis to Resurfacing Surgery of the Shoulder. I have served in

     the US Naval Reserve as a LCDR in the Medical Corps.

6.   I am an official consultant of Major League Baseball, and The National

     Football League, having been jointly appointed by the players and owners of

     the leagues.

7.   For the past two decades, I have been acknowledged as one of the nation’s

     foremost orthopedists treating articular cartilage disorders. My particular

     area of clinical and academic interest is in the field of biologic and anatomic

     joint resurfacing. I have been acknowledged by the orthopedic community

     as a surgical innovator and clinical researcher, publishing extensively and

     teaching surgeons both nationally and internationally.

8.   Before relocating my practice to Utah, where I co-founded Heiden-Davidson

     Orthopedics with Drs. Eric and Karen Heiden in 2008, I practiced in Tampa

     Bay, Florida for 15 years as a widely recognized Orthopedic Surgeon

     specializing in sports medicine. Since 2015 I have been practicing in

     Davidson Orthopedics and serving as Medical Director of the Utah

     Orthopedic Spine & Injury Center. I am actively licensed to practice

     medicine in the states of Wyoming, Utah and Washington. I have formerly




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     been licensed in the states of California and Texas. I am Board Certified by

     the American Board of Orthopedic Surgery.

9.   Mr. Frank Atwood is a 66-year-old man who has been referred for me to

     review his medical records as well as to evaluate by telephone. Mr. Atwood

     is incarcerated. Mr. Atwood is now scheduled to be executed on June 8,

     2022.

10. I have reviewed hundreds of pages of assorted medically related

     correspondences, grievances, and medical records pertaining to the

     medical case and care of Mr. Frank Atwood produced to his attorneys from

     Arizona’s corrections department. This series of documents reflects that the

     patient’s medical needs are not being met and his care is being denied.

     Records appear to cover decades. These include physical therapy notes

     regarding Mr. Atwood’s spine. Many notes pertain to his health issues

     outside of orthopedics.

11. On March 25, 2021, I conducted a telephonic consultation with Mr. Atwood.

     I conducted an additional telephonic consultation with Mr. Atwood on June

     7, 2021.

12. This patient’s chief issues center on neck pain, back pain, radicular

     symptoms and weakness referrable to cervical and lumbar pathologies.

     Based upon my interviews with Mr. Atwood, it is this examiner’s opinion that

     he has an excellent recollection of details and dates which appears to be




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    highly accurate. His insights provide great detail into his past medical history

    and the series of events pertaining to his health history.

13. Mr. Atwood takes medications for a duodenal ulcer and hypertension. His

    past medical history is positive for hepatitis C with stage IV cirrhosis and he

    reports a 3 cm lesion in his liver. He has had a history of prostate issues

    but denies cancer. He denies having diabetes. Previous surgical history

    includes gallbladder resection, cataract surgery, knee surgery, and cervical

    fusion as described above.



HISTORY OF PRESENT ILLNESS:

14. Mr. Atwood reports foremost about his back and related back pain. He

    describes the pain as having begun in approximately 1990 and being

    treated over the past 30-plus years with oral medications. He states that he

    has never had fluoroscopically-guided injections into the lumbar region. He

    has had no surgery on his lumbar region.

15. Records reflect Mr. Atwood has recently had several intramuscular

    injections of Toradol (between 15 mg and 30 mg), an anti-inflammatory, on

    various days in January 2021. Further, Mr. Atwood reports receiving a

    corticosteroid intramuscularly in his arm (circa February 2021) that he states

    provided some relief of back pain for a couple of weeks. This injection was

    performed about 2-3 weeks prior to my first phone consultation with him. At

    that time, the benefits were wearing off.


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16. Mr. Atwood states that he has marked pain in the mid low-back region which

     is dull and nonspecific in nature. He states that the pain is a 9 out of 10

     increasing to 10 out of 10 with certain activities, such as turning to get out of

     bed. In addition to the localized back pain, which is his worst complaint, he

     also feels radiating pain shooting into the leg, right side more than left. He

     states that the radiating pain extends through his buttock and upper leg at a

     strength of about 7 out of 10. In the right leg, he states the pain is a big

     problem but he is also bothered by marked weakness. He experiences a

     sensation of numbness in his foot and marked swelling in the foot. He feels

     and reports that the swelling is so great in his feet that he has difficulty

     wearing shoes.

17. Mr. Atwood reports weakness in his lower extremities to the extent that his

     legs will not support him to stand. He describes that he last walked in May

     2017. Now, he describes principally using his hands and upper extremities

     to transfer from bed to wheelchair, but the transferring causes him

     excruciating pain. He was issued in the remote past a series of exercises

     and stretching, but these are now too painful for him to perform. He

     experiences numbness and swelling in the left lower extremity down to his

     foot. His weakness is approximately equal, right and left.

18. Mr. Atwood reports a long history of neck pain and cervical radiculopathies

     beginning in about 2003. He was subsequently evaluated and treated,

     having a cervical fusion at C5-C6 in December 2018 that provided him with


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     some decreased weakness and limited pain relief. His neck pain and the

     dysfunction in his upper extremities is progressively worsening over the past

     several years since the surgery. He describes numbness in both of his

     hands and has difficulty performing simple activities such as just holding a

     pen, stating that he drops things and has distinct difficulty with numbness

     more so than weakness in the bilateral upper extremities. The pain in his

     upper extremities he states is approximately equal right and left. It is worse

     above the elbows, bilaterally extending principally to the area around the

     shoulders in the middle of his back and what sounds like the region of his

     scapulae. He describes the pain as “burning and constricting,” radiating into

     his upper arms and shoulders. The pain is an 8 or 9 out of 10 on a constant

     basis.

19. In asking Mr. Atwood to somehow provide insight to the level of pain that he

     is experiencing, he states, “I experience incomprehensible pain every time I

     need to transfer to bed, chair or wheelchair.” Furthermore, he states that he

     presently feels “incredibly weak” and where he had previously participated

     in sporting activities, now, for a number of years, he has been unable to

     walk and even has difficulty sitting erect. He reports that efforts to sit erect

     are increasingly challenging and subject him to substantial, debilitating pain.

     In addition, he is not able to lay supine (flat) without excruciating pain in his

     spinal regions.




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20. Mr. Atwood also relates a recent history of falling, secondary to weakness in

     his legs. He relates a fall in November of 2020 when he hit his face and

     knocked himself out. He suffered a similar fall in March 2021. He is

     markedly limited in his capacity to transfer, stating that within the confines of

     his cell, he has had to crawl to the door rather than walk or transfer to his

     wheelchair.

21. Mr. Atwood suffers constant pain. In order to minimize its severity, he seeks

     to continually maintain a seated posture, either slouching in his wheelchair

     or partially reclining on his back, in bed while attempting to sleep. This

     general condition causes considerable sleeping difficulties. Since Fall 2020,

     he has experienced too much pain to sleep either on his side or his back.

     Lying flat on his back severely exacerbates his conditions, causing

     maximum pain. He is only able to sleep sporadically, by positioning himself

     partially upright, propped up with blankets. Again, due to his spinal

     pathologies he is not able to lay in a supine position without experiencing

     severe pain. He has less pain in a sitting, rather than lying flat position.

     Being strapped down to a gurney or table would cause him severe pain.

     Sitting upright is considerably less painful for him.

22. On January 8, 2021, MRI scans were conducted of Mr. Atwood, which are

     identified below (¶¶ 28-32).

23. On February 8, 2021, Nurse Practitioner Olmstead evaluated Mr. Atwood

     wherein she discussed potential further treatment that could include epidural


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    steroid injections, further evaluation of effective pain management

    medication, and a neurosurgical consultation. Mr. Atwood reports that a Dr.

    Stewart, a physician affiliated with Centurion, the prison health care

    provider, denied this surgical consultation and declined to otherwise offer a

    treatment plan for his pain and its underlying causes. To date, the patient

    has not had any neurosurgical consultations subsequent to the above-

    referenced MRI scans.

24. On or around May 3, 2021, a Dr. Mahn, the Medical Director of the ASPC-

    Florence infirmary, prescribed twice daily doses of Tramadol to address Mr.

    Atwood’s severe back pain and other discomfort. He was also prescribed

    Tylenol with Codeine (No.4) twice daily. Mr. Atwood is now receiving the

    Tramadol regularly, getting appropriate relief.



IMAGING STUDIES:

25. I have reviewed Mr. Atwood’s cervical MRI scan of January 8, 2021.

    Findings include:

        C2-C3 moderate canal stenosis with bilateral mild foraminal stenoses;

        C3-C4 moderate canal stenosis with bilateral severe foraminal stenoses;

        C4-C5 fusion with mild canal stenosis and bilateral severe foraminal

        stenoses;

        C5-C6 surgical fusion with punctate myelomalacia of the cervical cord

        and bilateral severe foraminal stenoses;


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        C6-C7 moderate canal stenosis with bilateral severe foraminal stenoses;

        C7-T1 patent canal with bilateral severe foraminal stenoses.

26. I have reviewed the lumbar MRI scan from the same date (Jan. 8), and

    findings include:

        T12-L1 mild right-sided foraminal stenosis;

        L1-L2 moderate bilateral foraminal stenoses;

        L2-L3 mild right-sided, severe left-sided foraminal stenoses;

        L3-L4 severe bilateral foraminal stenoses with bilateral L3

        encroachment;

        L4-L5 severe bilateral foraminal stenoses;

        L5-S1 severe right-sided, moderate left-sided foraminal stenoses with

        bilateral L5 neural encroachment.



IMPRESSONS:

27. Mr. Atwood has severe cervical spondylosis with severe radicular symptoms

    to include, of great importance, C5-C6 myelomalacia. He has apparently

    overt radicular symptomatology as well as radiating pain, weakness, and

    motor dysfunction.

28. His lumbar spine problem is his most painful condition. He has advanced

    lumbar spondylosis with overt radiculopathies. His neural symptomatology

    has contributed to the weakness that is limiting his ability to transfer and

    position, let alone ambulate. In addition, the neural compression and


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     degenerative spondylosis are highly painful, most acutely when prone or in

     an erect seated posture.

29. Based on his spinal diagnoses, it is my professional opinion that Mr. Atwood

     cannot be placed in a supine position on a gurney, strapped in place and

     maintained as such for any length of time without experiencing severe and

     immediate exacerbation of pain.

30. At this point in time, further treatment and evaluation are medically

     necessary and appropriate, and urgently needed.

31. Mr. Atwood needs to be seen immediately by an interventional pain

     specialist to ascertain whether fluoroscopically-guided injections such as

     epidural steroid injections would potentially provide some symptom relief

     from his basic, resting positions. Mr. Atwood has received Tramadol in the

     past and presently is being weaned of its use after his return to his housing

     unit (Browning Unit), from the Florence Complex’s infirmary, where he was

     treated for the above-outlined kidney problems in April through early June

     2021.

32. Critically, Mr. Atwood needs a surgical consultation with an orthopedic spine

     surgeon or neurosurgeon to ascertain and clarify his surgical options. He is

     an appropriate surgical candidate but I defer suggesting the exact surgical

     plan to a surgeon who would evaluate him in person, as well as review the

     foregoing imaging. However, surgical intervention is likely necessary to

     address the underlying causes of his chronic pain.


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33. In addition to the curative interventions suggested above, it is my

     professional opinion that it is imperative and humane that additional,

     palliative measures also be implemented on this patient’s behalf

     immediately. These include lumbar and cervical orthosis, along with a

     residency setting where immediate hands-on wheelchair transferring

     assistance is continually available.

34. It is my opinion that to a great extent, more likely than not, his current state

     of spinal degeneration and symptomatology is a result of negligence and

     under-treatment rendered while this patient has been incarcerated by the

     State of Arizona. If he had received timely, appropriate and standard health

     care then he would have been treated years ago with spinal injection

     therapies and potential further surgeries. By virtue of what appears to be

     gross undertreatment he has degenerated to the point where he is

     chronically in pain and now being managed to some extent by oral

     medications.

35. I strongly recommend that evaluation and treatment is immediately indicated

     with an interventional pain management physician. This physician could and

     would assess Mr. Atwood and render appropriate injection therapies. These

     would potentially be substantively palliative, and if not would provide

     diagnostic information to guide likely surgical treatment. He has had a one

     level cervical fusion in the past and more likely than not will require further




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     surgical decompression and fusion of both the cervical and lumbar spine

     regions.

36. If further information is required, I am available to provide more insights and

     opinions on this case. Additionally, the opinions rendered above could be

     updated pending receipt of further information or data.

37. If his execution is to proceed in the coming weeks prior to his receiving long

     denied medical and surgical care, then he should remain seated in a chair

     to avoid the infliction of extreme pain.



I declare under penalty of perjury that the foregoing is true and correct. 28 U.S.C.

§ 1746 (2).

       Executed this 9th day of May 2022, in Salt Lake City, Utah.




Philip A. Davidson, MD
Board Certified Orthopedic Surgeon




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                           Exhibit 3
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                                                        Pursuant to 28 U.S.C. § 1746 (2).

                DECLARATION OF JOEL B. ZIVOT, M.D., FRCP(C), MA

I, Joel Zivot, being of sound mind and lawful age, hereby state under penalty of perjury
as follows:

1. I am an associate professor and senior member of the Departments of Anesthesiology
and Surgery, Emory University School of Medicine, in Atlanta, Georgia. I have been the
medical director of several intensive care units and have been the program director to
train critical care medicine physicians. I hold board certification in Anesthesiology from
the Royal College of Physicians and Surgeons of Canada and The American Board of
Anesthesiology. I am board certified in Critical Care Medicine from the American Board
of Anesthesiology.

2. I have practiced anesthesiology and critical care medicine for 27 years and in that
capacity, I have personally performed or supervised the care of over 50,000 patients.

3. I hold a medical license from the state of Georgia, and have held unrestricted medical
license in Ohio, the District of Columbia, Michigan, and the Canadian provinces of
Ontario and Manitoba. I hold a license to prescribe narcotics and other controlled
substances from the US Drug Enforcement Administration (DEA).

4. I have been consulting with attorneys for Arizona prisoner Frank Atwood regarding Mr.
Atwood’s medical condition and the risks attendant to executing him by lethal injection.

5. I traveled to Arizona State Prison—Eyman in Florence on May 16, 2022 and
personally examined Mr. Atwood. This report draws from my evaluation of medical
records, obtaining a medical history, and my physical examination of Mr. Atwood. Mr.
Atwood is a 66-year-old man, about 5’8” in stature with a formerly medium build that
appears to have suffered from atrophy for reasons addressed below.

6. I find that Mr. Atwood suffers from intense and profoundly debilitating pain along his
spine as a consequence of chronic degeneration of vertebral bodies. This pain began
approximately 30 years ago. These vertebral degenerative changes have caused
multiple compressions of nerve roots as they pass from the spinal cord to the arms and
legs. Compression of the nerve roots has resulted in permanent damage that manifests
as profound weakness and unremitting pain.

7. Mr. Atwood’s pain has been evaluated and treated with several different interventions.
These include a cervical laminectomy with a fusion of C5-C6 (surgery to fuse two bones
in his neck), physical therapy, epidural steroid injections (steroid injections between the
bones of the spine), a variety of medications including many years of non-steroidal anti-
inflammatories (Ibuprofen), anti-depressants, acetaminophen, and ultimately the opioid
Tramadol.

8. As an anesthesiologists and intensive care doctor, I am an expert in the evaluation
and treatment of acute and chronic pain. Mr. Atwood suffers from chronic pain which is
mechanistically distinct from acute pain. This pain is the consequence of both a cervical
and lumbosacral radiculopathy (long standing direct nerve damage caused by spinal
bone compression). My review of reporting from a cervical MRI taken in January 2021
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notes, among other indications of extreme disrepair, 16 instances of severe foraminal
stenoses throughout his cervical and lumbar spine. Pain of this nature is extremely
difficult to treat as can be attested to in the case of Mr. Atwood.

9. As is common in musculo-skeletal chronic pain states, posture and body positioning
can be used to modify the experience of pain. This is akin to an antalgic gate – a method
of walking that reduces a concomitant experience of pain. Mr. Atwood has identified how
he can position his body in an attempt to relieve the bony compression on his nerve
roots. As a strategy, this has also resulted in profound and permanent limitations of his
body mechanics.

10. On my examination, I note that Mr. Atwood is unable to assume a recumbent
position less than with his body at approximately a 60 degree head up angle. His neck
extension is also limited secondary to fusion of the 5th and 6th cervical vertebrae. When
his upper body is lowered to an angle less than 60 degrees, he experiences immediate
and intense lower back pain, right greater than left, and radiating down the right leg to
the knee. His right-side pain level is maximal, with the left nearly at that maximum level.
This image below shows Mr. Atwood assuming the maximum recumbency he can
tolerate. Any increase in recumbency results in intense and immediate pain. Note the
date and time stamp in the right lower portion of the photo.




11. I evaluated the physical strength of Mr. Atwood and found it to be profoundly
diminished. Mr. Atwood is confined to a wheelchair and lacks the strength and
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coordination to walk. His upper strength is poor, and his bilateral hand grip strength is a
2 out of 5 and I note corresponding wasting of the hand muscle groups. His upper arms
have greatly reduced reflexes apart from the bilateral triceps.

12. His lower legs demonstrate bilateral muscle wasting from disuse and nerve injury. I
note the presence of poor circulation and swelling in his feet. This is likely also related to
disuse and nerve injury. He is able to move his legs, but the bilateral strength also
corresponds to 2-to-3 out of 5. He has brisk reflexes at the knees but reduced reflexes at
the ankles, which is indicative of prolonged disuse and nerve injury. He has evidence of
skin mottling at the knees, also indicating reduced circulation.

13. I reviewed the execution procedures document from the Arizona Department of
Corrections Rehabilitation and Reentry. This document was last amended April 20,
2022. In this document, section 13.5.2.3 states that the inmate shall be secured on the
execution table. Attachment D to that document also indicates prior to insertion of the IV
line for the lethal injection, the inmate shall be “secured on the table by the prescribed
means with the inmate’s arms positioned at an angle away from the inmate’s side.” Att.
D, D.3. The “prescribed means” or other details of securing the inmate do not appear to
be further specified.

14. The procedures also state that “the Restraint Team Leader shall personally check
the restraints which secure the inmate to the table to ensure they are not so restrictive
as to impede the inmate’s circulation, yet sufficient to prevent the inmate from
manipulating the catheter and IV lines.” Att. D, D.5. This reflects the procedure’s
maximal restriction of movement short of impeding circulation, which could impede the
execution process itself directly or by indirect complications for the condemned person.
These execution procedures lack any contemplation of ad hoc modification based on the
inability of the condemned person, in this case Mr. Atwood, to lie flat and be restrained
for any period of time. Mr. Atwood is not able to lie in a recumbent position on the
execution table as a result of the experience of intense and untreatable pain.

15. In the execution procedure document, section 13.2.5 states the inmate will be given
the option to receive a light sedative. Sedative medications are not analgesic (pain
relieving) and such a practice would in no way mitigate the intense pain faced by Mr.
Atwood should he be restrained on the execution table.

16. If Mr. Atwood would be executed by lethal injection, it will be necessary to restrain
him in an upright and sitting position. This position, while necessary to mitigate the
chronic and intense pain otherwise experienced by Mr. Atwood, makes the option of an
intravenous central line in the neck or the groin not possible. These options are
referenced in the Arizona’s execution procedures as options if an intravenous line in the
arm cannot be established. An intravenous central line inserted in the neck while sitting
caries the high likelihood of causing a venous air embolus - air is sucked into the blood
stream and enters the heart resulting in a cardiac arrest. The bent at the waist
positioning of Mr. Atwood makes it not possible to access the femoral vein, which is
located in the crease of the groin.

17. Upon full consideration of Mr. Atwood based on my history and physical examination
and in consideration of the specifics of the Arizona execution procedure, I see no way
that such a procedure could occur within the confines of the terms of the document.
Forcefully subjecting Mr. Atwood to be positioned as stated in the written execution
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       CHAPTER: 700
     Operational Security
                                                 Arizona
  DEPARTMENT ORDER:
  710 – Execution Procedures                   Department
   OFFICE OF PRIMARY
    RESPONSIBILITY:                                 of
             OPS
                                               Corrections
        Effective Date:
                                              Rehabilitation
         June 13, 2017                         and Reentry
         Amendment:
        April 20, 2022

         Supersedes:
      DO 710 (5/30/17)


   Scheduled Review Date:
             N/A



           ACCESS
☐ Contains Restricted Section(s)            Department Order Manual




                               David Shinn, Director
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710 – EXECUTION PROCEDURES                                                                                                         JUNE 13, 2017



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PURPOSE
This Department Order establishes procedures for planning and carrying out the execution of a person
convicted of a capital offense and sentenced to death. These procedures shall be followed as written,
except that the Director of the Arizona Department of Corrections, Rehabilitation and Reentry (Director) is
allowed to make limited deviations from or adjustments to these procedures when required to address
certain unexpected or otherwise unforeseen contingencies, subject to the limitations on the Director’s
discretion as set forth herein. Except as expressly permitted herein, the Director shall not have any authority
to deviate from or make adjustments to any material aspects of the execution process, including, but not
limited to, the execution chemicals or dosages, consciousness checks, the access of the press and the
inmate’s counsel to the execution, and the timeframes established by this Department Order.

RESPONSIBILITY
The Department ensures the execution of a person sentenced to death under State law by a court of
competent authority and jurisdiction is carried out in keeping with statute, case law and professional
practices.

The Department shall make every effort in the planning and preparation of an execution to ensure the
execution process:

   Faithfully adheres to constitutional mandates against cruel and unusual punishment.
   Is handled in a manner that minimizes its impact on the safety, security and operational integrity of the
    prison and the community in which it occurs.
   Accommodates the public's right to obtain certain information concerning the execution.
   Reasonably addresses the privacy interests of persons as provided by law.
   Provides contingency planning to identify and address unforeseen problems.
   Allows for stays of execution, commutations and other exigencies up to the time that the sentence is
    imposed.
   Provides opportunity for citizens to exercise their First Amendment rights to demonstrate for or against
    capital punishment in a lawful manner.
   Ensures there is an appropriate response to unlawful civil disobedience, trespass and other violations of
    the law by any person attempting to interfere with the execution or the operation of the prison.

The Department shall detain, seek the arrest and encourage prosecution of persons whose conduct
includes:

   Violating prohibitions against filming, taping, broadcasting or otherwise electronically documenting the
    execution of the inmate.
   Trespassing and otherwise entering upon Department property without authorization.
   Participating in unlawful demonstrations or unlawfully attempting to disrupt, prevent and otherwise
    interfere with the execution.
   Unlawfully threatening, intimidating and otherwise attempting to influence authorized persons involved
    in the execution process.
   These prohibitions apply to the inmate population as well as department personnel and members of the
    general public engaging or attempting to engage in disruptive and other prohibited behaviors.

Participating staff shall adhere to the Department’s Code of Ethics and Guided Principles, evidencing:
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     Appropriate levels of professionalism, restraint and courtesy when interacting with witnesses,
      demonstrators, attorneys, news media, state and local law enforcement and any other member of the
      public directly and indirectly involved with the imposition of the sentence of death.
     All assigned duties are performed proficiently and professionally.
     Their ability to exercise the option to withdraw from the process by the prescribed means at any time.
     Conduct that appropriately reflects the solemnity of the activities in which they elect to engage and the
      duties they choose to perform.
     Reserving public comment on any and all facets of the execution except as expressly provided in
      Department Order #201, Legal Services - Records Release.
     Any Department employee who learns of identifying information regarding any person who participates
      in or performs any function of an execution must keep that information confidential.

IMPORTANT GUIDELINES REGARDING CONFIDENTIALITY AND VOLUNTARINESS OF PARTICIPATION IN
AN EXECUTION:

     The anonymity of any person, as defined in A.R.S. §1-215(28) and A.R.S. §13-105(30), who
      participates in or performs any ancillary function(s) in the execution, including the source of the
      execution chemicals, and any information contained in records that would identify those persons are, as
      required by statute, to remain confidential and are not subject to disclosure. A.R.S. §13-757(C).
     All team members serve on a strictly voluntary basis. At any point before, during or after an execution
      any team member may decline to participate or participate further without additional notice and
      explanation or repercussion.
     The Assistant Director for Prison Operations shall ensure all team members understand and comply with
      the provisions contained herein.

PROCEDURES
1.0     DIRECTOR’S OFFICE RESPONSIBILITIES UPON NOTICE THAT THE STATE HAS FILED A MOTION
        FOR WARRANT OF EXECUTION

        1.1      Upon notice from the Attorney General's Office that it has filed a Motion for Warrant of
                 Execution in the Arizona Supreme Court:

                 1.1.1       General Counsel shall:

                             1.1.1.1    Notify the Director, Assistant Director for Prison Operations, the
                                        Wardens of ASPC-Florence and ASPC-Eyman or ASPC-Perryville, and the
                                        Media Relations Director.

                             1.1.1.2    Notify the Victim Services Team Leader, who shall contact the victim(s)
                                        and inform them that the State is seeking a Warrant of Execution.

                 1.1.2       The Director shall notify the inmate and the inmate’s counsel in writing of the
                             drug/lethal gas protocol that will be used in the event a Warrant of Execution is
                             issued and the method of execution.

2.0     COMPLEX AND DIRECTOR’S OFFICE RESPONSIBILITIES UPON RECEIPT OF WARRANT OF
        EXECUTION

        2.1      Upon receipt of the Warrant of Execution from the Attorney General's Office:
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                 2.1.1       General Counsel shall:

                             2.1.1.1     Notify the Director, Assistant Director for Prison Operations, the
                                         Wardens of ASPC-Florence and ASPC-Eyman or ASPC-Perryville, and the
                                         Media Relations Office.

                             2.1.1.2     Forward the original Warrant of Execution to the Warden of ASPC-
                                         Florence.

                             2.1.1.3     Forward copies of the original Warrant of Execution to the Warden of
                                         ASPC-Eyman or ASPC-Perryville.

                             2.1.1.4     Notify the Victim Services Team Leader, who shall contact the victim(s)
                                         and inform them of the court’s issuance of the Warrant of Execution.

                 2.1.2       The Director shall:

                             2.1.2.1     Select the time of execution and provide notice to the Arizona Supreme
                                         Court and the parties at least 20 calendar days prior to the execution
                                         date. (Arizona Rules of Criminal Procedures, Rule 31.17(c)(3))

                             2.1.2.2     Notify the inmate that if the offense was committed prior to November
                                         23, 1992, the inmate shall choose in writing using the Method of
                                         Execution, Form 710-1, either lethal injection or lethal gas at least
                                         twenty-one days prior to the execution. If the inmate fails to choose
                                         either lethal injection or lethal gas, the penalty of death shall be inflicted
                                         by lethal injection (A.R.S. §13-757(B)).

                             2.1.2.3     Have the authority to change the timeframes established in this
                                         Department Order in order to address certain unexpected or otherwise
                                         unforeseen contingencies only with regard to minor or routine
                                         contingencies not central to the execution process.

                 2.1.3       The ASPC-Eyman or ASPC-Perryville Warden shall:

                             2.1.3.1     Direct the inmate to submit the Inmate Witness and Notification
                                         Information, Form 710-2, to the Warden no later than 14 days prior to
                                         the scheduled execution date.

                                         2.1.3.1.1    Inform the inmate that two clergy and five other persons
                                                      may be invited to be present at the execution. The inmate
                                                      may designate one clergy/spiritual advisor to accompany
                                                      the inmate into the lethal injection execution chamber for
                                                      audible prayer and religious touch, consistent with the U.S.
                                                      Supreme Court's Opinion in Ramirez v. Collier (March 24,
                                                      2022), and the Department reserves the right to enforce as
                                                      necessary any or all reasonable restrictions on the audible
                                                      prayer and religious touch as set forth in the U.S. Supreme
                                                      Court's Opinion. [Revision – April 20, 2022]

                                         2.1.3.1.2    Notify the inmate that minors are prohibited from
                                                      witnessing the execution pursuant to A.R.S. §13-758.
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                                        2.1.3.1.3    Notify the inmate that requests for Department or contract
                                                     staff to attend the execution shall be denied.

                                        2.1.3.1.4    Notify the inmate that requests for other inmates to attend
                                                     the execution shall be denied.

                             2.1.3.2    Direct the inmate to review and update as necessary the Notification in
                                        Case of Accident, Serious Illness or Death and Disposition of Property,
                                        Form 711-1. The Warden shall direct the inmate to provide any changes
                                        no later than 14 days prior to the execution. If the inmate provides no
                                        instruction, the property and accounts shall be disposed in accordance
                                        with Department Order #711, Notification of Inmate Hospitalization or
                                        Death.

                             2.1.3.3    Advise the inmate that his/her body shall not be used for organ donation.

                             2.1.3.4    Summarize the options available with the inmate for release and
                                        disposition of their body after the autopsy is performed. The Warden
                                        shall direct the inmate to review the previously completed Disposition of
                                        Remains, Form 710-3, and update as necessary no later than 14 days
                                        prior to the execution. If the inmate provides no information or the
                                        information is insufficient or incorrect the deceased shall be disposed in
                                        accordance with Department Order #711, Notification of Inmate
                                        Hospitalization or Death.

                             2.1.3.5    Advise the inmate he may request a last meal by completing the Last
                                        Meal Request, Form 710-5, and returning it no later than 14 days prior to
                                        the execution. Reasonable effort shall be made to accommodate the
                                        request.

3.0    EXECUTION TEAM MEMBERS

       3.1       The Assistant Director for Prison Operations shall:

                 3.1.1       Establish a training schedule and identify dates for periodic on-site practice by the
                             Housing Unit 9 Section Teams, to include 10 training scenarios within the 12
                             months preceding the scheduled execution.

                 3.1.2       Conduct a minimum of two training sessions with multiple scenarios 2 days prior to
                             the scheduled execution. The IV Team members shall participate in at least one
                             training session with multiple scenarios within one day prior to the scheduled
                             execution.

                             3.1.2.1    All training sessions shall be documented and be included as part of a
                                        permanent record created by the ASPC-Florence Warden to be submitted
                                        to the Department's General Counsel for archive, post execution.

                 3.1.3       Ensure periodic testing of all of the equipment in Housing Unit 9 occurs, affirming
                             electrical, plumbing, heating and air conditioning units are in working order and the
                             gas chamber is maintained.
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       3.2       The Assistant Director for Prison Operations provides for the planning and overall direction of
                 all pre-execution, execution and post-execution activities. The Assistant Director coordinates
                 the activities of the Southern and Northern Regional Operations Directors (SROD and NROD)
                 and the ASPC-Eyman or ASPC-Perryville and ASPC-Florence Wardens who activate the
                 following teams and oversee their activities, specifically:

                 3.2.1       Command

                             3.2.1.1    Consists of a minimum of three team members:

                                        3.2.1.1.1     Commander

                                        3.2.1.1.2     Recorder

                                        3.2.1.1.3     Telephone operator

                                        3.2.1.1.4     Others as necessary

                             3.2.1.2    Team members are selected by the Assistant Director for Prison
                                        Operations with the documented approval of the Director.

                             3.2.1.3    Its team leader is selected by the Assistant Director for Prison
                                        Operations.

                             3.2.1.4    Primary function of Command is the overall coordination of execution
                                        procedures.

                 3.2.2       Housing Unit 9 Section

                             3.2.2.1    Consists of a section leader and two teams:

                                        3.2.2.1.1     Restraint Team

                                        3.2.2.1.2     Special Operations Team

                             3.2.2.2    Team leaders are selected by the Assistant Director for Prison Operations
                                        with the documented approval of the Director.

                             3.2.2.3    The section leader is the ASPC-Florence Warden.

                             3.2.2.4    Primary function of the section leader is the overall coordination of
                                        activities of the Restraint Team and the Special Operations Team to
                                        ensure compliance with conditions of confinement and application of
                                        approved procedures.

                 3.2.3       Restraint Team

                             3.2.3.1    Consists of a minimum of seven team members, including one team
                                        leader.

                             3.2.3.2    Restraint Team members and the team leader are selected by the
                                        Assistant Director for Prison Operations with the documented approval of
                                        the Director.
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                             3.2.3.3   Primary function of the Restraint Team is to provide continuous
                                       observation of the inmate on the day of the execution and apply
                                       appropriate restraint procedures and inmate management prior to, during
                                       and after the execution.

                 3.2.4       Special Operations Team

                             3.2.4.1   Consists of a minimum of five team members:

                                       3.2.4.1.1       Team Leader

                                       3.2.4.1.2       Recorder

                                       3.2.4.1.3       Three additional team members

                             3.2.4.2   Its team members and team leader are selected by the Assistant Director
                                       for Prison Operations with the documented approval of the Director.

                             3.2.4.3   The Special Operations Team Leader shall designate functions of the
                                       other team members, including the selection of a member to observe the
                                       procedure and serve as the Recorder.

                             3.2.4.4   Primary function of the Special Operations Team is to implement the
                                       protocols associated with the execution with its primary duty being the
                                       administration of the chemicals, and additionally mixing the chemicals
                                       under the direct supervision of the IV Team Leader.

                 3.2.5       Intravenous Team Members (IV Team)

                             3.2.5.1   The IV Team will consist of any two or more of the following:
                                       physician(s), physician assistant(s), nurse(s), emergency medical
                                       technician(s) (EMTs), paramedic(s), military corpsman or other certified
                                       or licensed personnel including those trained in the United States
                                       Military. All team members shall be currently certified or licensed within
                                       the United States to place IV lines.

                             3.2.5.2   The IV Team members shall be selected by the Director. Selection of any
                                       team member shall include a review of the proposed team member’s
                                       qualifications, training, experience, and/or any professional license(s) and
                                       certification(s) they may hold. Licensing and criminal history reviews
                                       shall be conducted, by the Inspector General’s Office prior to assigning
                                       or retaining any IV Team member and upon the issuance of a Warrant of
                                       Execution.

                             3.2.5.3   The Director shall designate the IV Team Leader. The Assistant Director
                                       for Prison Operations shall ensure all team members thoroughly
                                       understand all provisions contained herein as written and by practice.
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                             3.2.5.4    The IV Team shall be responsible for inserting either peripheral IV
                                        catheters or a central femoral line as determined by the Director acting
                                        upon the recommendation of the IV Team Leader. The IV Team Leader
                                        shall ensure all lines are functioning properly throughout the procedure,
                                        supervise the Special Operations team in the mixing of the chemicals,
                                        preparing the syringes, and monitoring the inmate (including the level of
                                        consciousness and establishing the time of death). The IV Team Leader
                                        shall supervise the administration of the chemicals. A central femoral
                                        venous line shall not be used unless the person placing the line is
                                        currently qualified by experience, training, certification or licensure within
                                        the United States to place a central femoral line.

                             3.2.5.5    IV Team members shall only be required to participate in the training
                                        sessions scheduled for one day prior to the actual execution.

                             3.2.5.6    Documentation of IV Team members’ qualifications, including training of
                                        the team members, shall be maintained by the Department Director or his
                                        designee.

                 3.2.6       Maintenance Response Team (MRT)

                             3.2.6.1    Consists of three team members and a team leader, and reports to
                                        Command.

                             3.2.6.2    Team members are selected by the ASPC-Florence Warden.

                             3.2.6.3    Primary function of MRT is to test all Housing Unit 9 equipment utilized
                                        to impose the sentence of death and to ensure electrical, plumbing,
                                        heating and air conditioning units are in working order.

                 3.2.7       Critical Incident Response Team (CIRT)

                             3.2.7.1    Consists of three team members and a team leader, and reports to
                                        Command.

                             3.2.7.2    The leader is the Employee Relations Administrator or designee.

                             3.2.7.3    Team members are CIRT responders and selected by the Employee
                                        Relations Administrator.

                             3.2.7.4    Primary function of CIRT is to educate staff regarding possible
                                        psychological responses and effective coping mechanisms to affected
                                        staff at all levels in the Department prior to, during and after the
                                        execution. CIRT shall provide ongoing follow up contact to staff.

                 3.2.8       Traffic Control Team

                             3.2.8.1    Consists of eight team members and a team leader, and reports to
                                        Command.

                             3.2.8.2    Team members and the team leader are selected by the Assistant
                                        Director for Prison Operations.
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                             3.2.8.3    Primary function is to confer with state and local law enforcement
                                        agencies, establish check points and parameters for traffic control and
                                        formulate inter-agency emergency response strategies. The team also
                                        coordinates the ingress/egress for Department and contract staff and
                                        other persons whose attendance is necessary at ASPC-Eyman or ASPC-
                                        Perryville and ASPC-Florence. The Team’s focus is the period of time
                                        starting twenty-four hours prior to the execution and concluding when
                                        normal activities resume after the execution.

                 3.2.9       Escort Team

                             3.2.9.1    Consists of eight team members and a team leader, and reports to
                                        Command.

                             3.2.9.2    Team members and the team leader are selected by the Assistant
                                        Director for Prison Operations.

                             3.2.9.3    Primary function is to coordinate the movement of all pre-approved
                                        witnesses on and off prison grounds and within its perimeter. One Escort
                                        Team is assigned to escort and assist pre-approved official, victim,
                                        media, and inmate witnesses. Escort team members always remain with
                                        witnesses within the established perimeter.

                 3.2.10      Victim Services Team

                             3.2.10.1   Consists of two team members and reports to the Escort Team leader.

                             3.2.10.2   The team leader is the Victim Services Office Administrator.

                             3.2.10.3   Primary function is to ensure victims of the crime that resulted in the
                                        imposition of death are informed of the execution date and their
                                        opportunity to witness the execution. The team explains the execution
                                        process. If the victim is interested in attending, the team submits the
                                        victim's name(s) for consideration.

                             3.2.10.4   Day of the Execution – The team leader meets with the victim(s) in a
                                        predetermined staging area and accompanies them throughout the
                                        process, including a briefing by the Director or the Director’s designee.
                                        The Team provides support and advocacy as appropriate.

                             3.2.10.5   If the victim(s) is interested in speaking with the media after the
                                        execution, the victim(s) is escorted to the Press Room for brief media
                                        availability.

                             3.2.10.6   Post-Execution - The team leader ensures the victim(s) receives follow up
                                        phone calls and support.

                 3.2.11      Population Assessment

                             3.2.11.1   Regional Operations Director:

                                        3.2.11.1.1   Is responsible for the coordination of monitoring and
                                                     evaluation of inmate activity at ASPC-Eyman and ASPC-
                                                     Florence.
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                                        3.2.11.1.2   Continuously monitors and assesses the inmate population
                                                     for any activity related to the execution or its impact on the
                                                     prison’s operation at ASPC-Eyman and ASPC-Florence.

                             3.2.11.2   ASPC-Perryville Warden:

                                        3.2.11.2.1   Is responsible for the coordination of monitoring and
                                                     evaluation of inmate activity at ASPC-Perryville.

                                        3.2.11.2.2   Continuously monitors and assesses the inmate population
                                                     for any activity related to the execution or its impact on the
                                                     prison’s operation.

       3.3       Designation of ADC Staff and Others Selected to Assist with the Execution

                 3.3.1       The ASPC-Eyman or ASPC-Perryville and ASPC-Florence Wardens shall review the
                             current teams’ rosters and recommend retention and replacement of staff and
                             alternates to the Assistant Director for Prison Operations.

                 3.3.2       The Assistant Director for Prison Operations shall evaluate the teams’ composition
                             and the Wardens’ recommendations and forward final recommendations to the
                             Director.

                 3.3.3       In the selection and retention of section leaders and Housing Unit 9 team members,
                             the Assistant Director for Prison Operations shall consider:

                             3.3.3.1    No employee who was suspended or demoted in the past 12 months
                                        shall be considered. Any staff currently under investigation is also
                                        ineligible.

                             3.3.3.2    Special consideration may be given to staff with pertinent specialized
                                        training and qualifications.

                             3.3.3.3    Staff with less than two years employment with the Department shall
                                        not be considered.

                             3.3.3.4    No staff serving on any team shall be related to the inmate by blood or
                                        marriage or have any other legal relationship with the inmate, their family
                                        or the crime victim(s).

                 3.3.4       Staff participation in the execution process is strictly voluntary. No Department
                             employee is required to attend or participate in an execution. Any staff volunteers
                             may withdraw from performing their assigned duties specific to the execution at any
                             time by advising their Team Leader, advising a Team Member or advising their
                             immediate chain of command. All staff participating in the execution shall be
                             required to sign a Notice of Execution Involvement, Form 710-8.

4.0    COMMUTATION HEARING PROCEEDINGS

       4.1       The Arizona Board of Executive Clemency (ABOEC) shall advise the Department of its plans to
                 convene a Commutation Hearing and its date and time. Upon receipt of the notice, the ASPC-
                 Eyman or ASPC-Perryville Warden shall arrange for a location in which the Commutation
                 Hearing will be held.
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                 4.1.1       If the ABOEC Commutation Hearing is held at the prison, the Department shall:

                             4.1.1.1     Require those in attendance to adhere to dress code as outlined in
                                         Department Order #911, Inmate Visitation.

                             4.1.1.2     Comply with the open meeting laws as it applies to Board of Executive
                                         Clemency hearings pursuant to A.R.S. §38-431.08.

5.0    DESIGNATION OF WITNESSES BY DIRECTOR

       5.1       The Director or designee shall be present during the execution.

                 5.1.1       The Director shall invite:

                             5.1.1.1     The Arizona Attorney General. A.R.S. §13-758.

                             5.1.1.2     Twelve or more reputable citizens, including up to five Arizona-market
                                         media.

                             5.1.1.3     The five official media witnesses selected as representatives, from
                                         media-print, television/cable, radio, and the local market where the crime
                                         occurred. These official media witnesses shall also agree to serve as pool
                                         reporters.

                             5.1.1.4     Law Enforcement and prosecutors from the jurisdiction where the crime
                                         occurred.

                             5.1.1.5     Any crime victims and survivors of the crime for which the sentence of
                                         death will be imposed, once the Victim Services Team identifies those
                                         persons and provides to the Director a list of victim witnesses within 14
                                         days prior to the scheduled execution.

                             5.1.1.6     In the event that the inmate wishes to designate one or more of their
                                         attorneys or other members of their legal team (not to exceed a
                                         cumulative three persons) to witness the execution, then the inmate shall
                                         identify these witnesses twenty-one days prior to the execution, and
                                         these witnesses shall sign and timely submit an Official Witness
                                         Agreement (Form 710-6), whereupon the Director shall invite these
                                         witnesses to attend the execution in accordance with section 10,
                                         subsection 10.2.1.1 of this Department Order.

                 5.1.2       Minors shall not be permitted to witness an execution. A.R.S. §13-758.

                 5.1.3       All witnesses are subject to a records check. Selection to participate is contingent
                             upon security clearance and Witness Agreement to adhere to the provisions
                             stipulated in the Official Witness Agreement and Official Witness/Pool Reporters
                             Agreements, Forms 710-6 and 710-7. The Director shall retain full discretion as to
                             the selection of and any changes in the witnesses selected for each scheduled
                             execution.
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6.0    STATE AND LOCAL LAW ENFORCEMENT BRIEFING; SITE CHECKS

       6.1       The Assistant Director for Prison Operations shall ensure state and local law enforcement is
                 periodically briefed and adequately prepared for the execution.

       6.2       All of the equipment necessary to the administration of the execution shall be available on site
                 and in good working order including:

                 6.2.1       Transportation vehicles

                 6.2.2       Communication devices with inter-operability capability and restricted frequencies

                 6.2.3       Climate control

                 6.2.4       Tool control

                 6.2.5       Safety equipment

                 6.2.6       Audio/visual equipment

                 6.2.7       Utility infrastructure

                 6.2.8       Key control/locking devices

                 6.2.9       Medical emergency response capability

       6.3       The Assistant Director for Prison Operations shall take all necessary steps to timely rectify
                 deficiencies.

7.0    THIRTY-FIVE DAYS PRIOR TO THE DAY OF EXECUTION – COMPLEX

       7.1       The Warden or designee of ASPC-Eyman or ASPC-Perryville shall confirm in writing the
                 following steps were completed:

                 7.1.1       Read the Warrant to the inmate.

                 7.1.2       Outline for the inmate how conditions of confinement will be modified over the next
                             thirty-five days and briefly describe the relevant aspects of the execution process.

                 7.1.3       Offer the inmate the opportunity to contact their Attorney of Record by phone and
                             to speak with a facility chaplain.

                 7.1.4       Obtain the inmate's current weight and provide that information to the Assistant
                             Director for Prison Operations and the Housing Unit 9 Section Leader.

                 7.1.5       Transfer the inmate to the single-person cell on Death Row Browning or the Lumley
                             Unit that has been retrofitted expressly for the purpose of holding the inmate.

                             7.1.5.1     Before transferring the inmate into the cell, the inmate shall be strip
                                         searched, screened on the BOSS chair and then issued a new set of
                                         clothes and shoes to wear.

                             7.1.5.2     The single-person cell shall be thoroughly searched prior to placing the
                                         inmate in the cell.
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                 7.1.6       Place the inmate on 24-hour Continuous Observation and post staff to the inmate’s
                             cell on an on-going basis to maintain visual contact with the inmate until such time
                             as the inmate is transferred to Housing Unit 9 at ASPC-Florence.

                 7.1.7       Establish an Observation Record to chronicle staff’s observations of the inmate’s
                             activities and behavior until the sentence of death is imposed.

       7.2       Conditions of Confinement – The ASPC-Eyman or ASPC-Perryville Warden shall:

                 7.2.1       Ensure none of the inmate’s personal property is transferred with the inmate, except
                             as provided in this section.

                 7.2.2       Have the inmate’s personal property inventoried in their presence before the transfer
                             of cells occurs and then have it boxed, sealed and removed from the cell. Store the
                             inmate’s property pending receipt of written instruction by the inmate regarding
                             disposition of property or otherwise dispose of the property as outlined in section
                             2.0 of this Department Order.

                 7.2.3       Ensure all remaining property possessed by the inmate in the cell comply with
                             indigent status items; any exceptions must be pre-approved in writing by the
                             Assistant Director for Prison Operations.

                 7.2.4       Allow the inmate to keep in the cell one box each of legal and religious materials, a
                             pencil and paper, and a book or periodical.

                 7.2.5       Issue the inmate a new mattress, pillow and bedding.

                 7.2.6       Provide the inmate limited hygiene supplies, including a towel and washcloth, and
                             exchange these items on a daily basis.

                 7.2.7       Issue the inmate a clean set of clothing and bedding daily.

                 7.2.8       Ensure all inmate medications are unit-dosed and, when available issued in liquid
                             form, and none of the inmate’s medication including over-the-counter medications be
                             dispensed or maintained by the inmate as Keep-on-Person.

                 7.2.9       Ensure the inmate has access to a department television set that is secured outside
                             of the cell, and does not have access to any other appliances.

                 7.2.10      Continue to provide outdoor exercise and showers, non-contact visits and phone
                             calls per the current schedule for other death row inmates in Browning or the Lumley
                             Unit.

8.0    THIRTY-FIVE DAYS PRIOR TO THE DAY OF EXECUTION – CENTRAL OFFICE

       8.1       The Assistant Director for Prison Operations:

                 8.1.1       Identifies and assigns team leaders and members, with documented approval by the
                             Director, and upon approval shall activate the teams.

                 8.1.2       Confirms preventive maintenance in Housing Unit 9 occurs and that an equipment
                             inventory is completed, and appropriate and timely action is taken.
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                 8.1.3       Directs the initiation of the Continuous Observation Log commencing on the 35th
                             day prior to the day of the execution. The log shall follow the inmate from ASPC-
                             Eyman or ASPC-Perryville to Housing Unit 9 at ASPC-Florence and be maintained
                             until the execution occurs or a stay of execution is issued.

                 8.1.4       Activates the training schedule ensuring staff participating in the execution receives
                             adequate training, written instruction and practice, all of which is documented.

       8.2       The Assistant Director for Medical Services

                 8.2.1       Directs ADC’s Medical Services staff or ADC’s contracted Medical Services provider
                             to conduct a medical records file review to identify any prescribed medication(s) and
                             dosages the inmate is currently or was recently taking. ADC’s Medical Services staff
                             or ADC’s contracted Medical Services provider shall modify prescribed medications
                             as may be necessary.

                 8.2.2       Directs ADC’s Medical Services staff or ADC’s contracted Medical Services provider
                             to dispense all inmate medications in unit doses and, when available in liquid form.
                             No medication including over-the-counter medications shall be provided or
                             maintained by the inmate as Keep-on-Person.

                 8.2.3       Ensures ADC’s Medical Services staff or ADC’s contracted Medical Services provider
                             continuously monitors for significant changes in the inmate’s medical or mental
                             health and reports findings immediately to the Department's General Counsel.

       8.3       The Media Relations Office:

                 8.3.1       Issues a news advisory announcing the date of the execution.

                 8.3.2       Facilitates up to one non-contact interview with the inmate by phone, per day, with
                             media from the day the Warrant is issued until the day before the sentence of death
                             is imposed excluding weekends and state and federal holidays. The inmate and
                             Attorney of Record may select among these requests that are submitted to the
                             Media Relations Office and recommend the order in which they occur. The inmate
                             may refuse any or all media requests for interviews.

       8.4       The Office of Victim Services – Identifies and advises victims of the crime for which the
                 inmate has been sentenced to death of the issuance of the Warrant of Execution and the
                 scheduled date and time of the execution.

9.0    TWENTY-ONE DAYS PRIOR TO THE DAY OF EXECUTION – CENTRAL OFFICE

       9.1       The Media Relations Office:

                 9.1.1       Forwards media-witness applications to the Inspector General for background
                             investigation. The Inspector General shall advise the Director of any issues arising
                             from such investigations.

                 9.1.2       Sends media-witness agreement forms (Official Witness Agreement, Form 710-6,
                             and as applicable, Official Witness/Pool Reporter Agreement, Form 710-7) to
                             identified media-witnesses, and establishes a deadline for the return of all such
                             forms.
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                 9.1.3       All witnesses shall sign and timely submit an Official Witness Agreement, Form 710-
                             6, prior to being cleared and added to the witness list.

                             9.1.3.1    All official witnesses who are also members of media/press and are
                                        selected to serve as pool reporters shall also sign and timely return the
                                        Official Witness/Pool Reporter Agreement, Form 710-7.

10.0 FOURTEEN DAYS PRIOR TO THE DAY OF EXECUTION – CENTRAL OFFICE

       10.1      The Inspector General or designee:

                 10.1.1      Finalizes arrangements with a Medical Examiner Office for the disposition of the
                             body, security for the Medical Examiner’s vehicle and the custodial transfer of the
                             body.

                 10.1.2      Obtain a body bag and tag from the Medical Examiner’s Office.

       10.2      General Counsel:

                 10.2.1      Finalizes a list of all witnesses including official, victim, inmate witnesses and
                             media/pool reporters, through coordination with the Offices of Victim Services and
                             Media Relations, for the Director’s review and documented approval.

                             10.2.1.1   Upon documented approval the Director or designee shall prepare a
                                        written invitation to each chosen witness. (See Attachment A.)

       10.3      The Media Relations Office – Issue a news advisory announcing the date and time of the
                 execution.

11.0 TWO DAYS PRIOR TO THE DAY OF EXECUTION

       11.1      The Assistant Director for Prison Operations:

                 11.1.1      Schedules and conducts on-site scenario training sessions, modifying practices as
                             warranted.

                 11.1.2      Confirms adequate staffing and vehicles are in place for regular operations and the
                             execution.

       11.2      The ASPC-Florence Warden:

                 11.2.1      Confirms staff assigned to the Maintenance Response Team (MRT) is scheduled and
                             will be on-site eight hours prior to the time scheduled for the imposition of sentence.

                 11.2.2      Restricts access to Housing Unit 9 to those with expressly assigned duties.

                 11.2.3      Readies Housing Unit 9 for the transfer of the inmate.

                 11.2.4      Verifies execution inventory, including the chemicals to be used, and equipment
                             checks are completed and open issues resolved.
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12.0 TWENTY-FOUR HOURS PRIOR TO THE DAY OF EXECUTION

       12.1      On-site scenario exercises continue.

       12.2      Final preparation of Housing Unit 9 is completed. Each room receives final evaluation specific
                 to its functions including security, climate control, lighting, sound, sanitation, and that
                 separation screens and appropriate restraints are at the ready.

       12.3      Detailed staff briefings are provided.

       12.4      The ASPC-Eyman or ASPC-Perryville Warden shall ensure the inmate receives the last meal by
                 1900 hours. Every reasonable effort to accommodate the last meal request will have been
                 made. All eating utensils and remaining food and beverage shall be removed upon completion
                 of the meal.

       12.5      The ASPC-Eyman or ASPC-Perryville Warden shall ensure non-contact visits and phone calls
                 are concluded by 2100 hours.

                 12.5.1      The inmate's telephone privileges shall be terminated at 2100 hours the day prior to
                             the execution, excluding calls from the inmate's Attorney of Record and others as
                             approved by the Assistant Director for Prison Operations.

                 12.5.2      The inmate's visitation privileges shall be terminated at 2100 hours the day prior to
                             the execution. The inmate will be permitted two hours of in-person visitation with no
                             more than two Attorneys of Record, concluding one hour prior to the scheduled
                             execution.

       12.6      The inmate is prepared for transfer to Housing Unit 9 by the prescribed means.

13.0 TWELVE HOURS PRIOR TO AND THROUGH THE EXECUTION

       13.1      Restricting Access to Institution Property – During the final twelve hours prior to the
                 execution, access to ASPC-Eyman or ASPC-Perryville and ASPC-Florence is limited to:

                 13.1.1      On-duty personnel.

                 13.1.2      On-duty contract workers.

                 13.1.3      Volunteers deemed necessary by the Wardens.

                 13.1.4      Approved delivery vehicles.

                 13.1.5      Law enforcement personnel on business-related matters.

                 13.1.6      Restrictions to these facilities shall remain in effect until normal operations resume
                             after the execution or a stay of execution is issued.

       13.2      Transfer of the inmate from Browning or Lumley Unit to Housing Unit 9

                 13.2.1      The inmate shall be secured and transferred by the Execution Restraint Team per the
                             prescribed means the night before the execution.

                 13.2.2      Housing Unit 9 staff shall take custody of the inmate and the Observation Log. Staff
                             shall assume maintenance of the log until the execution is completed or a stay of
                             execution is issued.
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                 13.2.3      Upon the inmate’s arrival, the inmate may be offered a mild sedative.

                 13.2.4      No later than five hours prior to the execution, the inmate shall be offered a light
                             meal. All eating utensils and remaining food shall be removed upon completion of the
                             meal.

                 13.2.5      No later than four hours prior to the execution, the inmate may be offered a mild
                             sedative.

                 13.2.6      These time frames may be adjusted as necessary in the event of a stay of execution
                             or other exigencies.

       13.3      Housing Unit 9 Conditions of Confinement

                 13.3.1      The inmate shall remain on Continuous Watch. Staff shall record observations and
                             make entries in the Observation Record during the final four hours in hours, and
                             minutes.

                 13.3.2      The inmate shall be issued one pair each of pants, boxer shorts and socks, and a
                             shirt on the morning of the execution.

                 13.3.3      The cell shall be furnished with a mattress, pillow and pillowcase, one each top and
                             bottom sheet, a blanket, a washcloth and towel, and toilet paper.

                 13.3.4      The inmate may have a pencil and paper, religious items, a book or periodical and
                             indigent-sized hygiene supplies (liquid soap, toothpaste) and a toothbrush and comb.
                             These items may be made available only for the duration of the use and shall be
                             removed immediately thereafter. Any other requested property shall require approval
                             by the Assistant Director for Prison Operations, and shall be documented.

       13.4      Population Management – ASPC-Eyman or ASPC-Perryville and ASPC-Florence shall go on
                 lockdown status from between two to six hours prior to the time the execution is scheduled
                 to occur at the direction of Command. They shall remain on lock down throughout the
                 execution. After the conclusion of the execution, the prisons shall return to regular operations
                 at the direction of Command.

       13.5      Additional Operations Requirements

                 13.5.1      Witness Escort Teams shall process, transport and remain with pre-approved official
                             witnesses, inmate witnesses, media witnesses and victim(s) witnesses through the
                             conclusion of the execution and their return to designated staging areas per
                             prescribed means.

                             13.5.1.1   Teams shall ensure each witness group is separated from the other
                                        witness groups at all times.

                             13.5.1.2   The Director or designee shall provide a brief overview of the execution
                                        for the official witnesses. The Director shall advise witnesses that the
                                        curtains in the execution chamber may be drawn prior to the conclusion
                                        of the execution in the event of a legitimate penological objective which
                                        would merit such closure and then reopened when the execution
                                        resumes, and that an IV Team member will enter into the chamber and
                                        physically manipulate the inmate to check consciousness.
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                             13.5.1.3   In the event the inmate has designated one of his attorneys to witness
                                        the execution, temporary office space will be provided for the inmate’s
                                        counsel in the Administration Building during the scheduled day of
                                        execution. One attorney and two additional members of the legal team
                                        may be permitted to remain in the office space during the execution. The
                                        inmate’s legal team will be permitted to bring into the temporary office
                                        space one mobile phone, one tablet, and one laptop. While the attorney
                                        witness is in the witness room, a member of the Witness Escort Team
                                        shall hold one mobile phone designated by the attorney, to be made
                                        available to the attorney in exigent circumstances. The mobile phone
                                        may not be used inside the witness room.

                 13.5.2      Upon the direction of the Director to proceed:

                             13.5.2.1   The APSC-Florence Warden shall direct the Execution Restraint Team to
                                        prepare the inmate for escort into the execution chamber.

                             13.5.2.2   Prior to moving the inmate from the holding cell to the execution table,
                                        the Director shall confer with the Attorney General or designee and the
                                        Governor or designee to confirm there is no legal impediment to
                                        proceeding with the lawful execution.

                             13.5.2.3   When the inmate is secured on the execution table by the team and
                                        readied by qualified medical personnel, the Warden shall advise the
                                        Director.

                             13.5.2.4   The Director shall reconfirm with the Attorney General or designee and
                                        the Governor or designee that there is no legal impediment to
                                        proceeding. Upon oral confirmation that there is no legal impediment to
                                        proceeding with the execution, the Director may order the Warden to
                                        proceed with the execution.

                                        13.5.2.4.1    If there is a legal impediment the Director shall instruct the
                                                      ASPC-Florence Warden to stop, and to notify the inmate
                                                      and witnesses that the execution has been stayed or
                                                      delayed. The Warden shall also notify Command to notify
                                                      the Media Relations staff who shall advise the media in the
                                                      Press Room.

                             13.5.2.5   The Warden shall read aloud a summary of the Warrant of Execution.
                                        The Warden shall ask the inmate if he wishes to make a last statement.
                                        The microphone will remain on during the last statement. It will be
                                        turned off in the event the inmate uses vulgarity or makes intentionally
                                        offensive statements. If the microphone is turned off, it will be turned
                                        back on immediately after the completion of the last statement.

                             13.5.2.6   The Director shall instruct the disbursement of chemicals to begin by the
                                        prescribed means.

                 13.5.3      Pronouncement and Documentation of Death

                             13.5.3.1   The Director shall announce death when it has occurred.
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                             13.5.3.2   The ASPC-Florence Warden shall complete and sign the return of the
                                        Death Warrant pursuant to A.R.S. §13-759. The Director shall file the
                                        document with the sentencing court and the Arizona Supreme Court
                                        within 48 hours.

                             13.5.3.3   A Medical Examiner shall take custody of the body and issue a
                                        Certificate of Death.

       13.6      Stay of Execution – Upon receipt of notification that the court has issued a Stay of Execution;
                 the Director shall consult with the Attorney General’s Office and advise Command.

                 13.6.1      Upon receipt of notification, the Housing Unit 9 Section Leader shall:

                             13.6.1.1   Advise the witnesses a Stay of Execution has been issued.

                             13.6.1.2   Following consultation with the Director, direct that the catheters be
                                        removed, if applicable, and direct the Restraint Team to return the inmate
                                        to the holding cell.

                             13.6.1.3   Instruct the Special Operations to stand down.

                 13.6.2      Command shall inform the following teams of the Stay of Execution:

                             13.6.2.1   Traffic Control Team Leader

                             13.6.2.2   Population Assessment

                             13.6.2.3   Critical Incident Response Team Leader

                             13.6.2.4   Media Relations Director

                             13.6.2.5   Victim Services Team Leader

                             13.6.2.6   Escort Team leader

                 13.6.3      The Traffic Control Team Leader shall notify protestors of the issuance of the Stay
                             of Execution.

                 13.6.4      The Escort Team shall commence escorting witness groups from Housing Unit 9 as
                             set forth herein.

                 13.6.5      Upon Command’s instruction, the inmate shall be transported from Housing Unit 9
                             back to Death Row at Browning or Lumley Unit and their personal possessions
                             returned. Following the transport, the inmate will be permitted to consult with the
                             inmate’s attorney(s) upon request.

14.0 POST-EXECUTION

       14.1      Removing Witnesses from Housing Unit 9

                 14.1.1      After the pronouncement of death, witnesses shall be escorted in the prescribed
                             order from the facility.
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                             14.1.1.1   Each group of witnesses will continue to be kept separated from the
                                        other groups at all times.

                             14.1.1.2   Official witnesses who are media pool reporters will return to the Press
                                        Room to participate in the media briefing.

                             14.1.1.3   Victim witnesses speaking with the media will be escorted to the Press
                                        Room.

                 14.1.2      Media may remain on site in a designated location outside the secure perimeter for a
                             limited time to complete live broadcasts.

       14.2      Site Clean Up

                 14.2.1      Under the supervision of a person designated by the ASPC-Florence Warden,
                             Housing Unit 9 shall be cleaned and secured.

                 14.2.2      Institutional staff trained in infectious diseases preventive practices will utilize
                             appropriate precautions in cleaning Housing Unit 9.

       14.3      Normal Operations

                 14.3.1      Command shall determine when the prisons resume normal operations after receiving
                             assessments from the Wardens of ASPC-Florence and ASPC-Eyman or ASPC-
                             Perryville.

                 14.3.2      Department personnel shall be deactivated at the direction of Command.

       14.4      Execution Documentation

                 14.4.1      The ASPC-Florence Warden shall be responsible to gather all documents pertaining
                             to the execution and forward to the Department's General Counsel for archive.

                 14.4.2      Pursuant to A.R.S. §13-759 (B), the Director shall send written notification to the
                             sentencing court and the Arizona Supreme Court stating the time, mode and manner
                             in which the Warrant was carried out. (See Attachments B and C.)

15.0 PROCEDURES FOR NEWS MEDIA

       15.1      Reasonable efforts will be made to accommodate representatives of the news media before,
                 during and after a scheduled execution however; the Department reserves the right to
                 regulate media access to ensure the orderly and safe operations of its prisons.

       15.2      The Media Relations Office shall coordinate the release of information to news media outlets.
                 All Department and contract staff are expressly prohibited from providing information not
                 readily available in the public domain.

       15.3      Update Prior to the Execution – Following activation of the Press Room, the Media Relations
                 Director and the Public Information Officer shall provide the news media with regular briefings
                 or updates.

       15.4      Media Orientation and Releases – The Media Relations Director shall provide general
                 information regarding the execution and about the inmate.
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                 15.4.1      Media Representatives will be informed how the press pool will be established and
                             advised that if they are selected as press pool witnesses, they shall be required to
                             complete and sign Media Witness Press Pool Agreement, Form 710-7, in addition the
                             Official Witness Agreement, Form 710-6, prior to the execution.

                 15.4.2       Media Representatives will return to the Press Room after the execution to answer
                             questions of all other media representatives concerning their observations during the
                             execution, prior to filing or reporting their story.

       15.5      Press Room Operations

                 15.5.1      Media representatives requesting to witness an execution must submit written
                             requests to the Media Relations Office no later than 28 days prior to the execution.
                             Each request must include the name, social security number and birth date of media
                             requesting access. Only those news organizations that have submitted written
                             requests within the stated time frame shall be considered.

                 15.5.2      The Media Relations Office shall finalize recommendations for selected media to
                             perform official witness/pool reporter functions 14 days prior to the execution.

       15.6      Briefing Packets and Updates

                 15.6.1      The Media Relations Office shall provide press briefing packets for reporters.

                 15.6.2      A brief summary of inmate’s activities during the final twenty-four hours, activities
                             related to the execution and sequence of events, may be provided.

       15.7      News Media Selection

                 15.7.1      No more than five members of the Arizona media may be selected to witness the
                             execution as official witnesses. Selected media will perform the additional duties of
                             pool reporter:

                             15.7.1.1   Print

                             15.7.1.2   Radio

                             15.7.1.3   Television/Cable

                             15.7.1.4   Local media representative in the market where the crime was committed

                 15.7.2      Media is held to the same standards for conduct as are all other official witnesses.

                 15.7.3      Command may exclude any media witness at any time if the media witness fails to
                             abide by the provisions of the Official Witness and Pool Reporter Agreements (Forms
                             710-6 and 710-7).

                 15.7.4      Media witnesses are not permitted to bring unauthorized items into Housing Unit 9.
                             Unauthorized items include:

                             15.7.4.1   Electronic or mechanical recording devices

                             15.7.4.2   Still, moving picture or video tape camera

                             15.7.4.3   Tape recorders or similar devices
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                             15.7.4.4   Radio/television broadcasting devices

                 15.7.5      Each pool reporter shall be provided a tablet of paper and a pencil to take notes from
                             the time they complete security screening and board the bus until they are returned
                             to the Press Room after the conclusion of the execution.

                 15.7.6      Official witnesses who are pool reporters shall attend a pre-execution briefing.

IMPLEMENTATION
The ASPC-Florence and ASPC-Perryville Wardens shall maintain Post Order #015, Death Watch Security
Officer, delineating post-specific responsibilities. The ASPC-Florence Warden shall also maintain Post Order
#015-A01, Housing Unit-9 Security Watch.

ATTACHMENTS
Attachment     A - Letter of Invitation to Witness an Execution
Attachment     B - Return of Warrant Notification - Supreme Court
Attachment     C - Return of Warrant Notification - Superior Court
Attachment     D - Preparation and Administration of Chemicals
Attachment     E – Lethal Gas


FORMS LIST
710-1,   Method of Execution
710-2,   Inmate Witness Information
710-3,   Disposition of Remains
710-4,   Authorized Witnesses for Execution Log (A, B and C)
710-5,   Last Meal Request
710-6,   Official Witness Agreement
710-7,   Official Witness/Pool Reporter Agreement
710-8,   Notice of Execution Involvement


AUTHORITY
A.R.S. §1-215 (28), Definitions
A.R.S. §13-105 (30), Definitions
A.R.S. §13-757 (B), Methods of Infliction of Sentence of Death
A.R.S. §13-757 (C), Identity of Executioners
A.R.S. §13-758, Persons Present at Execution of Sentence of Death; Limitations
A.R.S. §13-759 (B), Return Upon Death Warrant
A.R.S. §13-4021 through 13-4026, Insanity or Pregnancy of Persons under Death Sentence
Arizona Rules of Criminal Procedure, Rule 31.17(c)(3), Date and Time of Execution; Notification to
Supreme Court
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                                             ATTACHMENT A

                             SAMPLE - LETTER OF INVITATION TO WITNESS AN EXECUTION



Date

Name
Mailing address
Mailing address


Dear ____________________


Thank you for expressing interesting in serving as a witness.

Please be advised that you are selected to witness the execution of __________________________________
[name] ____________ [number], on _____________ [date] at ______ [time] subject to the conditions stipulated
in this correspondence.

There are three kinds of witnesses. They are 1) Official Witnesses including Official Witnesses who are
members of the media and will serve as Pool Reporters, 2) the Inmate’s Witnesses and 3) the Victim(s)
Witnesses.

All witnesses are required to complete the Witness Agreement form and return it to the Media Relations
Office of the Arizona Department of Corrections, Rehabilitation and Reentry no later than ____________
[date] by fax, mail, hand delivery or as an e-mail attachment.

Official Witnesses who are members of the media and will be serving as Pool Reporters are also required to
complete the Official Witnesses/Pool Reporters Agreement form. This form must be returned as well to the
Media Relations Office of the Arizona Department of Corrections, Rehabilitation and Reentry no later than
the Friday before the scheduled date of the execution, ____________ [date] by the same means.

Failure to fully complete and return on time the required forms with receipt by the Department before 5
P.M. on ____________ [date], will result in your removal from the list of approved witnesses.

For additional information and to confirm receipt of your materials, you are welcome to contact the Media
Relations Office by phone at 602-542-3133, by fax at 602-542-2859 or e-mail at
media@azcorrections.gov.

Sincerely,


Media Relation Director

Applicable Attachments:
__Witness Agreement form
__ Official Witnesses/Pool Reporters Agreement form
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                                           ATTACHMENT B

                               SAMPLE - RETURN OF WARRANT NOTIFICATION

                                                Supreme Court


DATE:




The Honorable
Chief Justice of the Supreme Court of Arizona
402 Arizona State Courts Building
1501 West Washington Street
Phoenix, Arizona 85007-3329

RE:      Return of Warrant of Execution

         State vs.

         Supreme Court Number:

         County Number:


Chief Justice:

This is to advise you that in accordance with the Warrant of Execution, Supreme Court Number, and
pursuant to A.R.S. §13-759(B), the imposition of the sentence of death of _______________________________
was carried out at the Arizona State Prison Complex-Florence on _____________________, 21 _____, at
__________ A.M./P.M.

The mode and manner of the death was by lethal _________________.

Sincerely,




David Shinn
Director
Arizona Department of Corrections, Rehabilitation and Reentry
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                                           ATTACHMENT C

                                  SAMPLE - RETURN OF WARRANT NOTIFICATION

Superior Court


DATE:




The Honorable
Presiding Judge
Superior Court of Arizona
In County
                      , Arizona

RE:      Return of Warrant of Execution

         State vs.

         Supreme Court Number:

         County Number:


Judge                        :

This is to advise you that in accordance with the Warrant of Execution, Supreme Court Number, and
pursuant to A.R.S. §13-759(B), the imposition of the sentence of death of _______________________________
was carried out at the Arizona State Prison Complex-Florence on _____________________, 21 _____, at
__________ A.M./P.M.

The mode and manner of the death was by lethal _________________.

Sincerely,




David Shinn
Director
Arizona Department of Corrections, Rehabilitation and Reentry
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                                                ATTACHMENT D



                             PREPARATION AND ADMINISTRATION OF CHEMICALS


A.     Obtaining Chemicals and Equipment

       1.     Upon receipt of the Warrant of Execution, the Housing Unit 9 Section Leader shall:

              I.     Confirm the equipment for the procedure and ensure all equipment necessary to properly
                     conduct the procedure is on site, immediately available for use and functioning properly.

              II.    Ensure all medical equipment, including an ultrasound machine and a backup
                     electrocardiograph is on site, immediately available for use and functioning properly.

              III.   Ensure that complete sets of chemicals are on site, not expired, and immediately available
                     for use. ADC will only use chemicals in an execution that have an expiration or beyond-
                     use date that is after the date that an execution is carried out. If the chemical’s expiration
                     or beyond-use date states only a month and year (e.g., “June 2017”), then ADC will not
                     use that chemical after the last day of the month specified.

              IV.    Ensure the chemicals are ordered, arrive as scheduled and are properly stored. The
                     chemicals shall be stored in a secured, locked area that is temperature regulated and
                     monitored to ensure compliance with manufacturer specifications, under the direct control
                     of the Housing Unit 9 Section Leader.

B.     Preparation of Chemicals

       1.     Prior to the preparation of the chemicals, the Director or designee shall verify the chemicals to
              be used, the quantity and the expiration date.

       2.     At the appropriate time, the Housing Unit 9 Section Leader shall transfer custody of the
              chemicals to the Special Operations Team to begin the chemical(s) and syringe preparation in
              the chemical room, under the direct supervision by the IV Team Leader.

       3.     The Special Operations Team Leader will assign a team member(s) to assist preparing each
              chemical and the corresponding syringe. The IV Team Leader will supervise the process. The IV
              Team Leader, with the assistance of the Special Operations Team members, shall prepare the
              designated chemical(s) and syringes as follows:

                    One-drug protocol - One full set of syringes is used in the implementation of the death
                     sentence (Bank “A”) and an additional complete set of the necessary chemicals shall be
                     obtained and kept available in the chemical room, but need not be drawn into syringes
                     unless the primary dosages prove to be insufficient for successful completion of the
                     execution.

       4.     The IV Team Leader, with the assistance of a Special Operations Team member, shall be
              responsible for preparing and labeling the assigned sterile syringes in a distinctive manner
              identifying the specific chemical contained in each syringe by i) assigned number, ii) chemical
              name, iii) chemical amount and iv) the designated color, as set forth in the chemical charts
              below. This information shall be preprinted on a label, with one label affixed to each syringe to
              ensure the label remains visible.
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    C.     Chemical Charts; Choice of Protocol

           1.      Charts for all chemical protocols follow. The Director shall have the sole discretion as to which
                   drug protocol will be used for the scheduled execution. This decision will be provided to the
                   inmate and their counsel of record in writing at the time the state files a request for Warrant of
                   Execution in the Arizona Supreme Court. If the Department is able to obtain the chemical
                   pentobarbital in sufficient quantity and quality to successfully implement the one-drug protocol
                   with pentobarbital set forth in Chart A, then the Director shall use the one-drug protocol with
                   pentobarbital set forth in Chart A as the drug protocol for execution. If the Department is
                   unable to obtain such pentobarbital, but is able to obtain the chemical sodium pentothal in
                   sufficient quantity and quality to successfully implement the one-drug protocol with sodium
                   pentothal set forth in Chart B, then the Director shall use the one-drug protocol with sodium
                   pentothal set forth in Chart B as the drug protocol for execution.

           2.      A quantitative analysis of any compounded or non-compounded chemical to be used in the
                   execution shall be provided upon request within ten calendar days after the state seeks a
                   Warrant of Execution. The decision to use a compounded or non-compounded chemical will be
                   provided to the inmate and their counsel of record in writing at the time the state files a request
                   for Warrant of Execution in the Arizona Supreme Court.

           CHART A: ONE-DRUG PROTOCOL WITH PENTOBARBITAL

                                                               CHEMICAL CHART
                                      Syringe No.     Label
                                      1A              20mL Sterile Saline Solution, BLACK
                                      2A              2.5gm Pentobarbital, GREEN
                                      3A              2.5gm Pentobarbital, GREEN
                                      4A              20mL Sterile Saline Solution, BLACK


                        Syringes 2A, and 3A, will have a dose of 2.5 grams (gm) of Pentobarbital for a total of 5
                         grams. Each syringe containing Pentobarbital shall have a GREEN label which contains the
                         name of chemical, chemical amount and the designated syringe number.

                        Syringes 1A, and 4A, each contain 20 milliliters (mL) of a sterile saline solution, and shall
                         have a BLACK label which contains the name of the chemical, chemical amount and the
                         designated syringe number.

              CHART B: ONE-DRUG PROTOCOL WITH SODIUM PENTOTHAL



                                      Syringe No.     Label
                                      1A              20mL Sterile Saline Solution, BLACK
                                      2A              1.25gm Sodium Pentothal, GREEN
                                      3A              1.25gm Sodium Pentothal, GREEN
                                      4A              1.25gm Sodium Pentothal, GREEN
                                      5A              1.25gm Sodium Pentothal, GREEN
                                      6A              20mL Sterile Saline Solution, BLACK
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                        Syringes 2A, 3A, 4A, 5A, each contain 1.25gm/50mL of Sodium Pentothal / 1 in 50mL of
                         sterile water in four 60mL syringes for a total dose of 5 grams of Sodium Pentothal. Each
                         syringe containing Sodium Pentothal shall have a GREEN label which contains the name of
                         chemical, chemical amount and the designated syringe number.

                        Syringes 1A, and 6A, each contain 20mL of a sterile saline solution, and shall have a
                         BLACK label which contains the name of the chemical, chemical amount and the
                         designated syringe number.

           3.      After the IV Team prepares all required syringes with the proper chemicals and labels as
                   provided in the Chemical Chart, the Special Operations Team, under the supervision of the IV
                   Team, shall attach one complete set of the prepared and labeled syringes to the 2-Gang, 2-Way
                   Manifold in the order in which the chemical(s) are to be administered. The syringes will be
                   attached to the 2-Gang, 2-Way Manifold in a manner to ensure there is no crowding, with each
                   syringe resting in its corresponding place in the shadow board which is labeled with the name of
                   the chemical, color, chemical amount and the designated syringe number.

           4.      The syringes shall be affixed in such a manner to ensure the syringe labels are clearly visible.
                   Prior to attaching the syringes to the 2-Gang, 2-Way Manifold, the flow of each gauge on the
                   manifold shall be checked by the IV Team Leader running the sterile saline solution through the
                   line to confirm there is no obstruction.

           5.      After all syringes are prepared and affixed to the 2-Gang, 2-Way Manifold in proper order, the
                   Special Operations Team Leader shall confirm that all syringes are properly labeled and attached
                   to the manifold in the order in which the chemicals are to be administered as designated by the
                   Chemical Chart. Each chemical shall be administered in the predetermined order in which the
                   syringes are affixed to the manifold.

           6.      The quantities and types of chemicals prepared and administered as set forth in this Department
                   Order may not be changed in any manner without prior documented approval of the Director and
                   publication of an amended Department Order. The Director’s discretion with regard to the
                   quantities and types of chemicals is otherwise limited to what is expressly set forth in this
                   Department Order. If, after a Warrant of Execution has been issued, the Director determines that
                   it is necessary to change the quantities or types of chemicals to be used in the impending
                   execution, then the Director shall immediately notify the inmate and the inmate’s counsel in
                   writing, shall withdraw the existing Warrant of Execution, and shall apply for a new Warrant of
                   Execution.

           7.      All prepared chemicals shall be utilized or properly disposed of in a timely manner after the time
                   designated for the execution to occur.

           8.      The chemical amounts as set forth in the Chemical Chart are designated for the execution of
                   persons weighing 500 pounds or less. The chemical amounts will be reviewed and may be
                   revised as necessary for an inmate exceeding this body weight.

           9.      The Special Operations Team Recorder is responsible for completing the Correctional Service
                   Log, Form 105-6. The Recorder shall document on the form the amount of each chemical
                   administered and confirm that it was administered in the order set forth in the Chemical Chart.
                   Any deviation from the written procedure shall be noted and explained on the form.

    D.     Movement and Monitoring of Inmate

           1. Prior to moving the inmate from the holding cell to the execution table, the Director will confer
              with the Attorney General or designee and the Governor or designee to confirm there is no legal
              impediment to proceeding with the lawful execution and there are no motions pending before a
              court which may stay further proceedings.
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           2.      The inmate may be offered a mild sedative based on the inmate’s need. The sedative shall be
                   provided to the inmate no later than four hours prior to the execution, unless it is determined
                   medically necessary. The offer of the mild sedative, the inmate’s decision, and the
                   administration of the sedative, if chosen, shall be documented in the watch log.

           3.      At the designated time, the overhead microphone will be turned on, and shall be left on until the
                   completion of the execution, and the inmate will be brought into the execution room and
                   secured on the table by the prescribed means with the inmate’s arms positioned at an angle
                   away from the inmate’s side. Existing closed-circuit monitors will allow witnesses in the
                   designated witness room to observe this process.

           4.      The inmate will be positioned to enable the IV Team or the Special Operations Team Leader and
                   the Warden to directly observe the inmate and to monitor the inmate’s face with the aid of a
                   high resolution color camera and a high resolution color monitor.

           5.      After the inmate has been secured to the execution table, the Restraint Team Leader shall
                   personally check the restraints which secure the inmate to the table to ensure they are not so
                   restrictive as to impede the inmate’s circulation, yet sufficient to prevent the inmate from
                   manipulating the catheter and IV lines.

           6.      A microphone will be affixed to the inmate’s shirt, and shall be left on until the completion of
                   the execution, to enable the persons in the witness room and the IV Team or the Special
                   Operations Team Leader to hear any utterances or noises made by the inmate throughout the
                   procedure. The Special Operations Team Leader will confirm the microphone is functioning
                   properly, and that the inmate can be heard in the chemical room and in the witness room.

           7.      The Restraint Team members will attach the leads from the electrocardiograph to the inmate’s
                   chest once the inmate is secured. The IV Team Leader shall confirm that the electrocardiograph
                   is functioning properly and that the proper graph paper is used. A backup electrocardiograph
                   shall be on site and readily available if necessary. Prior to the day of, and on the day of the
                   execution both electrocardiograph instruments shall be checked to confirm they are functioning
                   properly.

           8.      An IV Team member shall be assigned to monitor the EKG, and mark the EKG graph paper at the
                   commencement and completion of the administration of the lethal chemical(s).

           9.      Throughout the procedure, the IV Team Leader shall monitor the inmate’s level of consciousness
                   and electrocardiograph readings utilizing direct observation, audio equipment, camera and
                   monitor as well as any other medically approved method(s) deemed necessary by the IV Team
                   Leader. The IV Team Leader shall be responsible for monitoring the inmate’s level of
                   consciousness.

          10.      Existing closed-circuit monitors will allow witnesses in the designated witness room to observe
                   the IV Team’s vein assessment and placement of IV catheters in the inmate. In addition, the
                   audio feed from the overhead microphone and from the microphone affixed to the inmate’s shirt
                   shall remain on until the completion of the execution.

          11.      A camera will be focused on the area in the chemical room in which syringes are injected into
                   the IV line, and existing closed-circuit monitors will allow witnesses in the designated witness
                   room to observe the administration of the lethal injection drug(s), including the administration of
                   additional or subsequent doses of the drug(s). All cameras and monitors shall be placed in such
                   a manner so as to ensure and preserve at all times the anonymity of all personnel involved in the
                   execution process.
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    E.     Intravenous Lines

           1.      The Director acting upon the advice of the IV Team Leader shall determine the catheter sites. A
                   femoral central line shall only be used if the person inserting the line is currently qualified by
                   experience, training, certification or licensure within the United States to insert a femoral central
                   line. The IV Team members shall insert a primary IV catheter and a backup IV catheter.

           2.      The IV Team Leader shall ensure the catheters are properly secured and properly connected to
                   the IV lines and out of reach of the inmate’s hands. A flow of sterile saline solution shall be
                   started in each line and administered at a slow rate to keep the lines open.

           3.      The primary IV catheter will be used to administer the lethal chemical(s) and the backup
                   catheter will be reserved in the event of the failure of the first line. Any failure of a venous
                   access line shall be immediately reported to the Director.

           4.      The IV catheter in use shall remain visible to the Warden throughout the procedure.

           5.      The Warden shall physically remain in the room with the inmate throughout the administration of
                   the lethal chemical(s) in a position sufficient to clearly observe the inmate and the primary and
                   backup IV sites for any potential problems and shall immediately notify the IV Team Leader and
                   Director should any issue occur. Upon receipt of such notification, the Director may stop the
                   proceedings and take all steps necessary in consultation with the IV Team Leader prior to
                   proceeding further with the execution.

           6.      Should the use of the backup IV catheter be determined to be necessary, a set of backup
                   chemicals should be administered in the backup IV.

    F.     Administration of Chemicals – One-Drug Protocol

           1.      At the time the execution is to commence and prior to administering the lethal chemical, the
                   Director will reconfirm with the Attorney General or designee and the Governor or designee that
                   there is no legal impediment to proceeding with the execution. Upon receipt of oral confirmation
                   that there is no legal impediment, the Director will order the administration of the chemical to
                   begin.

           2.      Upon receipt of the Director’s order and under observation of the IV Team Leader, the Special
                   Operations Team Leader will instruct the assigned Special Operations Team member(s) to begin
                   dispensing the chemicals under the chosen drug protocol.

           3.      Upon direction from the Special Operations Team Leader, the assigned Special Operations Team
                   member will visually and orally confirm the chemical name on the syringe and then administer
                   the first syringe of the sterile saline solution, followed by the full dose of the lethal chemical
                   immediately followed by the sterile saline solution flush.

           4.      When three minutes has elapsed since commencing the administration of the lethal chemical,
                   the IV Team Leader, dressed in a manner to preserve their anonymity, will enter into the room
                   where the Warden and inmate are located to physically confirm the inmate is unconscious by
                   using all necessary medically appropriate methods, and verbally advise the Director of the same.
                   The IV Team Leader will also confirm that the IV line remains affixed and functioning properly.

           5.      If, after three minutes, the inmate remains conscious, the IV Team shall communicate this
                   information to the Director, along with all IV Team input. The Director will determine how to
                   proceed or, if necessary, to start the procedure over at a later time or stand down. The Director
                   may direct the curtains to the witness viewing room be closed, and, if necessary, for witnesses
                   to be removed from the facility, only in the event of a legitimate penological objective which
                   would merit such closure and/or removal.
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           6.      If deemed appropriate, the Director may instruct the Special Operations Team to administer an
                   additional dose of the lethal chemical followed by the sterile saline solution flush. This may be
                   administered via the primary or backup IV catheter, as determined following consultation with
                   the IV Team.

           7.      Upon administering the lethal chemical and sterile saline solution from a backup set, the IV
                   Team shall determine whether the inmate is unconscious by sight and sound, utilizing the audio
                   equipment, camera and monitor. The IV Team Leader will again physically determine whether
                   the inmate is unconscious using proper medical procedures and verbally advise the Director of
                   the same.

           8.      When all electrical activity of the heart has ceased as shown by the electrocardiograph, the IV
                   Team Leader will confirm the inmate is deceased and the inmate’s death shall be announced by
                   the Director.

           9.      The Special Operations Team Recorder shall document on the Correctional Services Log the
                   start and end times of the administration of the lethal chemical.

          10.      Throughout the entire procedure, the IV Team members, the Special Operations Team members
                   and the Warden shall continually monitor the inmate using all available means to ensure that the
                   inmate remains unconscious and that there are no complications.

    G.     Contingency Procedure

           1.      An Automated External Defibrillator (AED) will be readily available on site in the event that the
                   inmate goes into cardiac arrest at any time prior to dispensing the chemicals; trained medical
                   staff shall make every effort to revive the inmate should this occur.

           2.      Trained medical personnel and emergency transportation, neither of which is involved in the
                   execution process, shall be available in proximity to respond to the inmate should any medical
                   emergency arise at any time before the order to proceed with the execution is issued by the
                   Director.

           3.      If at any point any team member determines that any part of the execution process is not going
                   according to procedure, they shall advise the IV Team Leader who shall immediately notify the
                   Director. The Director may consult with persons deemed appropriate and will determine to go
                   forward with the procedure, limited to the option provided in Attachment D, §F(6), or to stand
                   down. If the Director determines to stand down, then trained medical staff shall make every
                   reasonable effort to revive the inmate.

           4.      There shall be no deviation from the procedures as set forth herein, except as expressly allowed
                   herein. There shall be no deviation from the procedures as set forth herein without prior consent
                   from the Director. Although such consent may be verbal or in writing, the Director must
                   memorialize and maintain a written record of having granted any deviations, which record must
                   include a detailed description of the deviation, the basis for the deviation, and the basis for the
                   Director’s consent thereto.

    H.     Post Execution Procedures

           1.      Upon the pronouncement of death, the Director shall notify the Governor or designee and the
                   Attorney General or designee via telephone that the sentence has been carried out and the time
                   that death occurred.

           2.      An IV Team member will clamp and cut the IV lines leaving them connected to the inmate for
                   examination by a Medical Examiner.
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           3.      A Criminal Investigations Unit Investigator and a Medical Examiner will take photos of the
                   inmate’s body:

                            While in restraints prior to being placed in the body bag,
                            Without restrains prior to being placed in the body bag,
                            Sealed in the body bag, and
                            A photo of the seal in place on the bag.

           4.      The inmate’s body will be placed on a Medical Examiner’s gurney and released into the custody
                   of a Medical Examiner’s Office.

           5.      Once the inmate’s body is placed in a Medical Examiner’s transport vehicle, it will be escorted
                   off the premises. The Examiner’s Office will take the inmate’s body to the medical examiner’s
                   office designated by the county.

    I.     Documentation of Chemicals and Stay

           1.      In the event that a pending stay results in more than a two hour delay, the catheters shall be
                   removed, if applicable, and the inmate shall be returned to the holding cell until further notice.

           2.      The Correctional Service Logs the list of identifiers and the EKG tape shall be submitted to the
                   Department’s General Counsel for review and storage.

    J.     Debrief and Policy Review

           1.      The IV and Special Operations Teams will participate in an informal debriefing immediately upon
                   completion of the event.

           2.      Upon an assignment to a Team, team members shall review Department Order #710, Execution
                   Procedures.

           3.      Periodically, and in the discretion of the Director, a review of Department Order #710, Execution
                   Procedures along with this attachment may be reviewed to confirm it remains consistent with
                   the law. General Counsel shall advise the Director immediately upon any change that may
                   impact these procedures.
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                                               ATTACHMENT E

                                                   LETHAL GAS

1.     Approximately 10 minutes before the execution, Chemical Operators #1 and #2 shall sequentially pour
       6 QUARTS OF DISTILLED WATER and 5 PINTS OF SULPHURIC ACID into the mixing pot (9). THE
       WATER SHOULD BE POURED FIRST. UPON COMPLETION OF POURING THE WATER, 5 PINTS OF
       SULFURIC ACID SHOULD BE POURED NEXT. RUBBER GLOVES AND GLASS FUNNEL SHALL BE
       USED. THE ACID MUST BE POURED SLOWLY TO PREVENT SPLATTERING. This mixture should
       remain in the mixing pot (9) for approximately 10 minutes so as to attain an adequate mix and
       maximum temperature. Keep away from acid fumes and possible splatter caused by boiling. This
       mixture will yield a 41.5% concentration.

                  Chemical Operator #1 shall ensure that the mixture shall not pass to the chair receptacle
                   until after the Chamber door is closed and instructions received from the Chamber Operator.

                  The Caustic Soda Neutralizing solution shall be prepared by Chemical Operator #2
                   immediately after the completion of the acid mixture.

                  Chemical Operator #2 shall put on rubber gloves and dissolve 1 pound of CAUSTIC SODA
                   into 2½ gallons of water already in a pour-spout can. Once the mixing process is complete,
                   this solution should be kept near the mixing on the floor in close proximity to the mixing pot
                   (9).

                  Chemical Operator #2 shall dissolve 30 grains of Phenolptalein Solution in 4 ounces of
                   alcohol. If the solution is pre-mixed, then skip this step.

                  Chemical Operator #2 shall relay to the Special Operations Team Leader that the chemical
                   mixing process is complete.

                  The Housing Unit 9 Team Leader will notify the Director that the chemical mixing is
                   complete and the chamber is ready.

                  The Director will instruct the Housing Unit 9 Team Leader to move the inmate to the
                   chamber.

2.     The inmate shall be brought into the execution room and placed in the Chamber and strapped in the
       chair by the Restraint Team. The internal Chamber microphone will be turned on and a microphone
       will be affixed to the inmate’s shirt and also turned on; both microphones shall remain on until the
       completion of the execution (the microphones will remain on during any last statement by the inmate,
       but will be turned off in the event the inmate uses vulgarity or makes intentionally offensive
       statements; if the microphones are turned off, they will be turned back on immediately after the
       completion of the last statement) to enable the persons in the witness room and the Special
       Operations Team Leader to hear any utterances or noises made by the inmate throughout the
       procedure. The Special Operations Team Leader will confirm that the microphones are functioning
       properly and that the inmate can be heard in the operations room and in the witness room.
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                    a. Closed-circuit monitor(s) will allow witnesses in the designated witness room to observe this
                       process and shall remain on until the completion of the execution. All cameras and monitors
                       shall be placed in such a manner so as to ensure and preserve at all times the anonymity of
                       all personnel involved in the execution process.

    3.     Chemical Operator #2 shall place 4 petri dishes containing the Phenolptalein Solution inside the
           chamber so as to be clearly visible to the Chamber Operator. (Location should be at each designated
           corner of the chamber.)

    4.     After the inmate is strapped in the chair, Chemical Operator #2 shall verify that the petri dishes
           containing Phenolphthalein are still in their proper place.

    5.     Chemical Operator #2 shall inspect the GAS VALVE LEVER (1) and GAS VALVE POT (10) to ensure
           that it is dry and in the Closed position. Once this is confirmed, Chemical Operator #2 shall place the
           sodium cyanide packets in the GAS VALVE POT (10) under the chair.

    6.     Chemical Operator #2 and the Chamber Operator shall close the Chamber door and ensure that it is
           properly sealed.

    7.     The Chamber Operator shall ensure that the fan damper is in the closed position. Once this is
           confirmed, the chamber fan shall be activated and left on.

                       The manometer H pressure gauge readings on the chamber shall be monitored to determine
                        air tightness of Chamber.

                       The Chamber will be considered air-tight if the manometer gauge to the right has a higher
                        reading than the left.

                       If the readings on both the manometer H gauges remain equal, the Chamber Operator shall
                        notify the Housing Unit 9 Team Leader immediately.

    8.     The Chamber Operator shall position himself at the GAS VALVE LEVER (1).

    9.     The Chamber Operator shall ensure that the Outlet Valve (4) is closed. This Outlet Valve (4) shall
           remain closed until the chamber is cleared.

    10.    Chemical Operator #2 shall proceed back to the Chemical preparation room.

    11.    The Housing Unit 9 Team Leader shall notify the Director that the chamber is ready.

    12.    Chemical Operator #1 and the Chamber Operator shall release the mixed acid and water from the
           mixing pot (9) into the Gas Generator by opening the Acid Mixing Pot Valve (Red lever) and Inlet
           Valve (3). Chemical Operator #1 shall visually observe the liquid drain from the mixing pot. Once fully
           drained, Chemical Operator #1 shall close the Acid Mixing Pot Valve and place it in the Closed
           Position.

    13.    Chemical Operator #1 shall notify the Chamber Operator that the acid mixture is fully drained.

    14.    The Chamber Operator shall close the inlet valve (3) and advise the Chemical Operators when
           complete.
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    15.    Chemical Operator #2 shall fill the mixing pot (9) with the Caustic Soda solution.

    16.    The Chamber Operator shall then advise the Housing Unit 9 Team Leader that the Chamber is ready
           for use.

    17.    The Housing Unit 9 Team Leader shall notify the Director that everything is ready to proceed. The
           Director shall make the final notifications to the Attorney General.

    18.    The Director shall instruct the Chamber Operator to remove the locking pin of the GAS VALVE LEVER
           (1) (Sodium Cyanide immersion lever) and open the immersion valve, to drop the pellets into the acid
           in the gas generator. The Gas Valve Lever (1) shall remain open until the clearing process of chamber
           is initiated.

    19.    With the Chamber in operation, the Housing Unit 9 Team Leader and the Recorder will observe and
           record as necessary. A member of the medical team shall monitor the Inmate and EKG and shall
           advise the Director when the inmate has expired, providing the corresponding time of death.

    20.    The Director will announce that the execution has been completed. The Housing Unit 9 Team Leader
           will instruct the Operators to “Clear the Chamber”.

                    NOTE: The length of time required should be determined by a member of the medical team
                     and the Housing Unit 9 Team Leader. It is recommended that this period should be no less
                     than 10 minutes.

    21.    When the Housing Unit 9 Team Leader announces “Clear the Chamber”, the Chamber Operator shall
           move the exhaust fan damper lever (5) into the open position.

    22.    The Chamber Operator shall close the GAS VALVE LEVER (1) into the closed position for clearing.

    23.    Chemical Operator #1 and the Chamber Operator shall drain the Caustic Soda Solution into the gas
           generator. Chemical Operator #1 shall open the Acid Mixing Pot Valve (9). The Chamber Operator
           shall open the Inlet Valve (3) and allow caustic soda to fully drain into the gas generator.

    24.    Chemical Operator #1 shall monitor the CAUSTIC SODA SOLUTION until the Acid Mixing Pot is fully
           drained and empty.

    25.    Once the Acid Mixing Pot (9) is empty, Chemical Operator #1 shall close the mixing pot valve (Red
           Valve) and instruct the Chamber Operator to close the Inlet Valve (3).

    26.    The Chamber Operator shall inform the Chemical Operators once the Inlet Valve (3) is closed.

    27.    The Chemical Operator shall fill the mixing pot with water.

    28.    The Chamber Operator shall open the air manifold intake lever (2), which may be opened with
           graduated steps.

    29.    The Chamber Operator shall open the Outlet Valve (4), opening the gas generator drain valve first, and
           then opening the Inlet Valve (3).

    30.    Once the Inlet and Outlet Valves are fully open, the Chamber Operator shall inform the Chemical
           Operators to begin flushing.
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    31.    The Chemical Operators shall open the water faucet, allowing additional water to flow into the mixing
           pot (9).

                    The Chemical Operators shall observe the drainage of water from the mixing pot to ensure
                     that the flushing is proceeding properly. During this period, the Chamber Operator shall
                     perform the following functions:

                             a. The Chamber Operator and Chemical Operator #1 shall fully open the anhydrous
                                ammonia tank valve, then open ammonia control valves (7) and (8) (on the
                                regulators) gradually to reach the saturation to allow the effective neutralization of
                                the residual chemicals in the chamber, gas generator and plumbing. After 30
                                seconds, both Operators shall close the ammonia tanks in the following sequence:
                                The tank valves shall be closed first, and, after approximately 30 seconds, the
                                regulator valves (7) and (8) shall be closed. This will allow the ammonia to drain
                                from the piping. Anhydrous ammonia valves should be CLOSED OUT AT LEAST
                                THREE MINUTES BEFORE OPENING THE CHAMBER DOOR.

                             b. After the Chamber is completely evacuated of gas and purged of the ammonia
                                fumes, the phenolphthalein in the petri dishes should turn red (pinkish) in color. This
                                color change is an indication that the Chamber door may be safely opened. A
                                member of the medical team and Restraint Team now may enter, using masks for
                                protection from any residual ammonia fumes. The Chamber Operator shall close the
                                air valve lever (2).

                    CAUTION: Although smoke tests suggest that the Chamber is purged in approximately 3 to 5
                     minutes, it is recommended that the period between opening the exhaust and air inlet valves
                     and opening the Chamber door be about 15 minutes. As a precautionary measure, it is
                     recommended that the Physician and the Restraint Team removing the body wear hydrocyanic
                     acid gas masks or approved respirators and rubber gloves and that the hair of the deceased
                     inmate be ruffled in order to allow any residually trapped gas to escape. Close the Chamber
                     door, but not tightened more than contact with the gasket, and aerate for one hour as
                     necessary to clear any residual ammonia.

    32.    The Restraint Team shall hose down all the surfaces and the deceased inmate prior to removal from
           the chair.
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                            State of Arizona: Timeline of Execution Procedures 2010-20141

  Inmate        Restraint      Restraint     Witnesses in       IV               IV            Drugs         Pronounced       Pronounced
                 process        process         place        commenced        completed     administered       sedated           dead
               commenced       completed
Landrigan         21:31          21:32           22:10           22:01          22:01           22:15           22:18           22:26
10/26/10
King              9:10            9:17           10:00           9:18            9:47           10:05           10:09           10:22
3/29/11
Beaty             18:41          18:41           19:22           18:44          19:07           19:27           19:31           19:38
5/25/11
Bible             10:09          10:09           10:54           10:30          10:30           11:05           11:06           11:11
6/30/11
West              9:57           10:01           10:57           10:25          10:25           11:05           11:06           11:10
7/19/11
Moorman           9:50            9:51           10:19           9:56           10:22           10:23           10:28           10:33
2/29/12
Towery            9:48            9:49           11:13           9:52           10:59           11:17           11:22           11:26
3/8/12
Kemp              9:10            9:17           9:56            9:20            9:46           10:01           10:06           10:08
4/25/12
Lopez             9:46            9:51           9:54            9:55           10:03           10:08           10:13           10:37
6/27/12
Cook              9:43            9:49           9:54            9:58           10:21           10:26           10:31           11:03
8/8/12
Stockley          9:42            9:50           9:52            9:53           10:47           10:52           10:57           11:12
12/5/12
Schad             9:28            9:34           N/A             9:37            9:48           10:03           10:08           10:12
10/9/13
Jones             9:23            9:29           N/A             9:39           10:31           10:35           10:40           10:52
10/23/13
Wood              13:23          13:31           13:31           13:40          13:47           13:52           13:57           15:49
7/23/14




           1
            Counsel sourced all the information included in this table from Arizona Department of Corrections service logs.
           Using these special operation checklists for lethal injections, obtained through DFS 26(a)(1) Disclosures and
           Responses, Counsel compiled the information into the above table.
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                       State of Arizona: Duration of Execution Procedures in Minutes 2010-2014*

Condemned          Restraint        Gathering        Preparation       IV insertion       Preparation         Time until        Time until       Total
                    process            of               for IV                              of lethal           loss of           death         time on
                                    Witnesses         insertion                              drugs           consciousnes                       Gurney
                                                                                                                   s
Landrigan              1”                9”               29”               >1”                 5”                3”                8”           55”
10/26/10
King                   7”               13”                1”               29”                 5”                4”               13”           72”
3/29/11
Beaty                 >1”               15”                3”               23”                 5”                4”                7”           57”
5/25/11
Bible                 >1”               24”               21”               >1”                11”                2”                4”           62”
6/30/11
West                   4”               32”               24”               >1”                 8”                1”                4”           73”
7/19/11
Moorman                1”               >1”                5”               26”                 1”                5”                5”           43”
2/29/12
Towery                 1”               14”                3”               67”                 4”                5”                4”           98”
3/8/12
Kemp                   7”               10”                3”               26”                 5”                5”                2”           58”
4/25/12
Lopez                  5”                3”                1”                8”                 5”                5”               24”           51”
6/27/12
Cook                   6”                5”                4”               23”                 5”                5”               32”           80”
8/8/12
Stockley               8”                2”                1”               54”                 5”                5”               15”           90”
12/5/12
Schad                  6”               >1”                3”               11”                15”                5”                4”           44”
10/9/13
Jones                  6”               >1”               10”               52”                 4”                5”               12”           89”
10/23/13
Wood                   8”               >1”                9”                7”                 5”                5”               113”          147”
7/23/14

Median                5.5”               7”              3.5”               23”                 5”                5”               7.5”          67”
time1
Mean                  4.3”              9.1”             8.4”              23.3”               5.9”              4.2”             17.6”         72.8”
time2




           1
             The median time reflects the value that falls at the midpoint of the values when arranged chronologically, such that there is an
           equal probability of a value falling above or below the median.
           2
             The mean time reflects the sum of all values in the column, divided by the number of values.
           *
             Data comprising this table is from Arizona Department of Corrections service logs consisting of special operation checklists for
           lethal injections, obtained through Fed. R. Civ. P. 26(a)(1) Disclosures and Responses.
        Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 83 of 220
                                 DFS' 26(a)(1) Disclosures & Responses to RFP's 00457




                  SPECIAL
'~"
, 'I.
        .   .
                OPERATIONS
                 CHECKLIST
                    Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 84 of 220
                                             DFS' 26(a)(1) Disclosures & Responses to RFP's 00458
          Special Operations: Checklist
          Page 1 of6

                                            RESTRICTED
                           SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                                 ESCORT FROM HOLDING CELL TOTABLE
                                                                                                                       Housing Unit 9
           Tlmeline:                      Fl!nctlon:                                              Date:       .Tlme:     CC Notify:     Initl
                                                  DAY PRIOR TO EXECUTION
                       Restraint Team prepares inmate for transport
             2200                                                   5/24/11                                   2100
                       from Browning Unit to Housing Unit 9.
                                                                                                        2215 arrives
                                                                                                        at Browning
                       Restraint Team transports inmate from
                                                                                                             Unit
             2230      Browning Unit to Housing Unit 9 in Central                               5/24/11
                                                                                                        2245 arrives
                       Unit.
                                                                                                         at Housing
                                                                                                            Unit 9
                       Inmate is secured in cell in Housing Unit 9 and
                       first Continuous Observation Team takes
             2235                                                      5/24/11                               2245
                       charge of condem ned (1 supervisor / 2 staff) •
                       Code-4's called in every 20 minutes.
.-                                                                 ...........
                                                                                               "5;24111 .. -Bid-f1et
                                                          ...•."                 --.-._, -,.
            2245       Inmate is offered hygiene supplies
                                                                                                             request
                       All hygiene supplies are removed from
            2300                                                       5/24/11                                N/A
      ,                inmate's holding cell.
      )                Inmate may be offered a mild sedative. (Only if                                      Did not
            2300                                                       5/24/11
                       requested)                                                                           request
                                                        DAY OF EXECUTION
                       First Observation Team relieved. Second Team
            0300                                                       5/25/11                               0300
                       starts continuous observation.
                       The inmate shall be offered a light meal. All
            0530       eating utensils and remaining food will be      5/25/11                               0557
                       removed upon completion of the meal.
                       Housing Unit 9 Section Leader will authorize
            0600       Execution Restraint Team access to Housing 5/25/11                                    0600
                       Unit #9.
            0600       Trash removed from inmate's holding cell.       5/25/11                                N/A
                       Housing Unit 9 Section Leader will authorize
                                                                       5/25/11                               0539
                       Special Ops Team access to Housing Unit 9.
                       Housing Unit 9 Section Leader will authorize    5/25/11                               0600
                       Medical Personnel access to Housing Unit 9.
            0600       Special Ops Team will confirm camera,
                                                                                                            0600&
                       monitor, and audio system are functioning       5/25/11
                                                                                                             1831
                       clearly and properly.
                       Special Ops Team will confirm EKG is
                                                                                                            0600&
                       operational and equipment for assigned          5/25/11
      ,                                                                                                      1831
                       medical staff to mark tape is functional.
                                                                                                           Did not
 I'         0605       Inmate offered hygiene supplies.                                        5/25/11
                                                                                                           request
                 Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 85 of 220
                                          DFS' 26(a)(1) Disclosures & Responses to RFP's 00459
        Special Operations: Checklist
        Page 2 016

                                                         RE$TRICT~D
                         SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                               ESCORT FROM HOLDING CELL TO TABLE

         Timellne:                        Function:                                               Housing Unit 9       Initials:
                                                                            Date:      Time:       CC Notify:
                        Hygiene supplies removed from inmate's
           0620                                                            5/25/11      N/A
                       holding cell.
                       Second Observation Team relieved. Third
           0630        Observation Team starts continuous                 5/25/11      0700
                       observation.
                       First Observation Team starts continuous
                                                                          5/25/11      1100
                       observation.
                       Inmate offered light (lunch) meal                  5/25/11      1350
                       Second Observation Team starts continuous
                                                                          5/25/11      1500
                       observation.
                     .Rest 01 Restraint Team arrives at Housing Unit
          0700                                                            5/25/11      1652
                       9.
          0800         Execution table Is crepared.                       5/25/11      173B                    - ._-
                       Execution table should be prepared at least
                      two (2) hours prior to scheduled time of            5/25/11      173B
          OBOO
                      execution.
    .\    0830
                      All items removed from inmate's cell (linen,
                      property, etc.)
                                                                          5/25/11      1759
                      Housing Unit 9 Section Leader advises
          0900        Director that inmate is ready for search and        5/25/11     1825
                      restraint - request permission to proceed.
                      Condemned Inmate to be placed in upper
          0900        restraints by restraint / escort team after strip   5/25/11     1825
                      search
                      Restraint Team Leader notifies Housing Unit 9
                      Section Leader that inmate is restrained and        5/25/11     1832
          0905
                      the team is ready.
                                                                                   1833 (start)
                     The Director picks up the red phone and
                                                                                  1B35 -AG's
                     makes a check to ascertain ifthe execution
                                                                                     Office
                     may proceed. Ifthere is no delay In the
          0905                                                            5/25/11    1B36 -
                     procedure the Director informs Housing Unit 9
                                                                                   Governor's
                     Section Leader, "We may proceed with
                                                                                   Office (left
                     movement".
                                                                                   message)
                     Housing Unit 9 Section Leader checks with
                     Director before proceeding with movement of          5/25/11     1837
          0905
                     inmate.
                     When signaled by Housing Unit 9 Section
                     Leader the Restraint / Escort teams remove
    ;                                                                     5/25/11     1837
          0905       the inmate from cell. Apply lower restraints
I                    and proceed with movement.
              Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 86 of 220
•                                      DFS' 26(a)(1) Disclosures & Responses to RFP's 00460
    Special Operations: Checklist
    Page 3016

                                       RESTRICTED
                      SPECIAL OPERATIONS; CHECKLIST (LETHAL INJECTION)
                            ESCORT FROM HOLDING CELL TO TABLE
                                                                                              Housing Unit 9 I - Inltlels:
     Tlmellne:                      Functlcm:                       Date:        Time:          CC Notify:
                  Condemned inmate escorted to Execution
                  Room; one staff in front, two ai the inmate's
                                                                  5/25/11        1838
       0905      sides, Team Leader behind. Support staff
                  behind leader.
                  Inmate secured by chest and ankle straps.
       0910      Team Leader at head of table, two at arms two 5/25/11           1841
                 at feet.
      0910       Secure wrists with soft restraints.              5/25/11        1841
      0910       Secure arms (maintain good circulation).         5125/11        1841
      0910       Secure upper torso.                             5/25/11         1841
      0910       Secure legs (maintain good circulation).        5/25/11         1841
                 Restraint I Escort Team Leader checks all
                 restraints. Team moves back to holding area,
                                                                -5/25/11    ''---134~                            ,---
                 Team Leader at door. Remove any'item'no! -
                 part of the event.
                 ~~
                 ".....;'~~'::.- ..~
                  '                                               5125/11        1841
    ) 0910       The Housing Unit 9 Section Leader advises the
                 Director inmate is secure on table and request   5/25/11       1844
                 approval to proceed with medical procedure.
                 IV's are inserted into inmate's arms or a
                                                                             1844- begin
                 catheter is inserted into inmate's leg. EKG                1907 • complete
                                                                  5/25111
                 equipment is hooked up to inmate. Ensure a
                 good flow of saline.
                 Restraint I Escort Team Leader and Housing
                 Unit 9 Section Leader positioned in Execution
      0910       room. Special Ops Team Leader inside of the      5125/11       1907
                 chemical room. Inmate is secured to table with
                 IV flowing EKG functioning.
                 Housing Unit 9 Section Leader advises
      0940                                                        5125/11       1907
                 Director that medical procedure is complete.
                 Housing Unit 9 Section Leader advises
      0945       Command to begin movement of witnesses to        5/25/11       1909
                 Housing Unit 9.
                 Command directs movement of witnesses to
                 Housing Unit 9 in the following order: Victim
      0945                                                        5/25/11       1909
                 Witnesses, Official Witnesses, Media
                 Witnesses, Inmate Witnesses.
                 Command to Housing Unit 9 Section Leader-        5/25/11
      0955                                                                      1922
,                all witnesses are in place.
)
                 Housing Unit 9 Section Leader will advise
      0955       Director that witnesses are in position and      5125/11       1922
                 requests authorization to proceed.
                   Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 87 of 220
                                            DFS' 26(a)(1) Disclosures & Responses to RFP's 00461
         Special Operations: Checklist
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                                          RESTRICTED
                         SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                               ESCORT FROM HOLDING CELL TO TABLE

          Timellne:                       Function:                                              Housing Unit 9   Initials:.
                                                                          Date:         Time:     CC Notify:
                       The Director picks up the red phone and                     1923-
                       makes a final check to ascertain if the                    Governor's
            0959       execution may proceed. If there is no delay in    5/25/11    Office
                      the procedure the Director informs Housing                 1924-AG's
                       Unit 9 Section Leader, "We may proceed".                    Office
                       Upon receipt of permission from Director and
                      confirmation to proceed, Housing Unit 9
            1001                                                        5/25/11         1924
                      Section Leader opens curtains. Turn on audio
                      when ready.
                      Housing Unit 9 Section Leader reads the
            1001                                                        5/25/11         1924
                      Execution Order.
                      Housing Unit 9 Section Leader asks inmate if
            1002                                                        5/25/11         1926
                      he would like to make a last statement.
--                    Inmate-makesilis Iast-statement-The last .                  - -                                     .....

                      statement will be summarized.
                      Turn off audio.

     )                Last Statement:
           1002       I just want to say to the Fornoff family - I'm    5/25/11         1926
                      sorry, I'm sorry. God will let you see her again.

                      Freddie - I love you, I kept my promise.

                      Thank all of you for being here for me.
                      Director advises Special Operations Team
           1002                                                         5/25/11         1926
                      Leader to proceed with phase one.
                      Phase 1: First Injection commences. Four
                      syringes filled with 1.25 grams each of                     1927 - begin
                                                                        5/25/11
           1002       Pentobarbital and sterile water. Process takes               1930 -end
                      about 3 minutes. Saline flush follows. (1-5)
                      Once first injection is complete, Special
                      Operations Team Leader instructs medical
                      consultant to ensure Inmate is unconscious.
           1003                                                         5/25/11         1931
                      Medical consultant will enter execution
                      chamber and check inmate to confirm the
                      inmate is unconscious.
                      Turn on audio.
                      Housing Unit 9 Section Leader advises             5/25/11
           1005                                                                         1931
                      witnesses the inmate has been sedated.
                      Turn off audio
     \
                      Once inmate is confirmed unconscious by the
                      medical consuitant. Special Operations Team
           1005                                                         5/25/11         1931
                      Leader advises Director. Director provides
                      order to continue to second injection.
                Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 88 of 220
"                                        DFS' 26(a)(1) Disclosures & Responses to RFP's 00462
    Special Operations: Checklist
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                                         RESTRICTi:D
                        SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                              ESCORT FROM HOLDING CELL TO TABLE

        Timeline:                          Function:                                                             Houslnll Unit 9   Initials:
                                                                                  Date:              Time:        CC Notify:
                      Phase 2: Second injection commences. (6-8)
         1005                                                                . 5/25/11               1931
                      Pancuronium Bromide
                      Second injection completed, Saline flush
         1006                                                                 5/25/11                1933
                     follows.
                     Phase 3: Third injection commences. (9-11)
         1007                                                                 5/25/11                1933
                     Potassium Chloride
         1008        Third injection completed. Saline flush follows.         5/25/11            1934
                     Commence 9B /10B - Potassium Chloride                    5/25/11            1934
                     Completed 11 B Heparin/Saline Flush                      5/25/11            1936
                     Special Ops Team Leader advises Director
                                                                              5/25/11            1936
         1008        when injections are complete.
                     Designated qualified person checks vital signs
         1008                               .....- ... -- ....._... __ ._.
                                                                              5/25/11            1938
                     Bn-EKG.                  ,
                                                                             I·           ... _- -           -                           .. ...
                                                                                                                                           "




                     Designated qualified person pronounces
         TBD                                                                 5125/11             1938
                     death in the Chemical Room.
                     Director informed of death by Special Ops
    )    TBD                                                                 5/25/11            1938
                     Team Leader.
                    Director advises Witnesses that the execution
         TBD                                                                 5/25/11            1938
                    is concluded.
                    Housing Unit 9 Section Leader closes the
         TBD                                                                 5/25/11            1938
                     curtains.
                    Housing Unit 9 Section Leader will notify
         TBD                                                                 5/25/11            1938
                     Command to proceed with witness extrication.
                    Team Leader instructs medical consultant to
         TBD                                                                 5/25/11            1940
                    cut lines to IV's.
         TBD         CIU Investigator examines the body                      5/25/11            1941
         TBD        Coroner / Medial Examiner examines the body              5/25/11            1941
                    All team members-Special Ops remain in
                    Chemical administration / restrainUescort
                    rooms. Team enters and removes restraints                5/25/11           1951
         TBD        from the inmate. The inmate is then placed on
                    a gurney.
                    Restraint / Escort Team will assist Coroner in
                                                                             5/25/11           1951
         TBD        the removal of the inmate's body.
         TBD        Body placed in Coroner's vehicle.                        5/25/11           1952
         TBD        All teams perform any clean-up chores.                   5/25/11           2015
                    Housing Unit 9 Section Leader gives directive
j
    ,    TBD
                    to secure the Execution Facility.
                                                                             5/25/11           2015



Housing Unit 9 Team Leader
                    Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 89 of 220
    Special Operations: Checklist            DFS' 26(a)(1) Disclosures & Responses to RFP's 01074
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                                         RESJRICTED
                        SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                              ESCORT FROM HOLDING CELL TO TABLE
                                                                                           Housing Unit 9
        Timeline:                        Function:                       Date:    Time:                     Initials:
                                                                                            CC Notify:
                                                  DAY PRIOR TO EXECUTiON
                     Restraint Team prepares inmate for transport
          2200                                                         6/29/11    2200
                     from Browning Unit to Housing Unit g.
                     Restraint Team transports inmate from
         2230        Browning Unit to Housing Unit 9 in Central        6/29/11    2230
                     Unit.
                     Inmate is secured in cell in Housing Unit 9 and
                     first Continuous Observation Team takes
         2235                                                          6/29/11    2249
                     charge of condemned (1 supervisor 12 staff) -
                     Code-4's called in every 20 minutes.
                                                                                 Did not
         2245        Inmate is offered hygiene supplies                6/29/11
                                                                                 request
                     All hygiene supplies are removed from
         2300                                                          6/29/11     N/A
                     inmate's holding cell.
                     Inmate may be offered a mild sedative. (Only if
         2300                                                          6/30/11    0559
                     requested)
    \                                                 DAY OF EXECUTION
                     First Observation Team relieved. Second Team
         0300                                                     6/30/11         0300
                     starts continuous observation.
                     The inmate shall be offered a light meal. All
         0630        eating utensils and remaining food will be        6/30/11    0801
                     removed upon completion of the meal.
                     Housing Unit 9 Section Leader will authorize
         0700        Execution Restraint Team access to Housing        6/30/11    0700
                     Unit #9.
         0700        Trash removed from inmate's holding cell.         6/30/11    0823
                     Housing Unit 9 Section Leader will authorize
                                                                       6/30/11    0700
                     Special Ops Team access to Housing Unit 9.
                     Housing Unit 9 Section Leader will authorize
                                                                       6/30/11    0700
                     Medical Personnel access to Housing Unit 9.
         0700        Special Ops Team will confirm camera,
                     monitor, and audio system are functioning         6/30/11    0700
                     clearly and properly.
                     Special Ops Team will confirm EKG is
                     operational and equipment for assigned            6/30/11    0700
                     medical staff to mark tape is functional.
                                                                                 Did not
         0705        Inmate offered hygiene supplies.                  6/30/11
                                                                                 request
                      Hygiene supplies removed from inmate's
         0720                                                          6/30/11    N/A
I                   . holding cell.
                 Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 90 of 220
Special Operations: Checklist             DFS' 26(a)(1) Disclosures & Responses to RFP's 01075
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                                      RESTRICTED
    ')
                     SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                           ESCORT FROM HOLDING CELL TO TABLE
                                                                                            Housing Unit 9
     Timeline:                        Function:                         Date:     Time:                      Initials:
                                                                                             CC Notify:
                  Second Observation Team relieved. Third
         0730     Observation Team starts continuous                  6/30/11     0705
                  observation.
                  Rest of Restraint Team arrives at Housing Unit
         0800     g.                                                  6/30/11     0800

         0900      Execution table is prepared.                       6/30/11     0900
                   Execution table should be prepared at least
                  two (2) hours prior to scheduled time of            6/30/11     0900
         0900
                   execution.
                  All items removed from inmate's cell (linen,
                                                                      6/30/11     0930
         0930     property, etc.)
                  Housing Unit 9 Section Leader advises
         1000     Director that inmate is ready for search and        6/30/11     1000
                  restraint - request permission to proceed.
                  Condemned inmate to be placed in upper
         1000     restraints by restraint 1 escort team after strip   6/30/11     1000
\
                  search
)
                  Restraint Team Leader notifies Housing Unit 9
                  Section Leader that inmate is restrained and        6/30/11     1003
         1005
                  the team is ready.
                  The Director picks up the red phone and                        1004-
                  makes a check to ascertain if the execution                   Governors
                  may proceed. If there is no delay in the                       Office
         1005                                                         6/30/11
                  procedure the Director informs Housing Unit 9                  1004 -
                  Section Leader, "We may proceed with                            AG's
                  movement".                                                     Office
                  Housing Unit 9 Section Leader checks with
                  Director before proceeding with movement of         6/30/11     1005
         1005
                  inmate.
                  When signaled by Housing Unit 9 Section
                  Leader the Restraint 1 Escort teams remove
                                                                      6/30/11     1005
         1005     the inmate from cell. Apply lower restraints
                  and proceed with movement.
                  Condemned inmate escorted to Execution
                  Room; one staff in front, two at the inmate's
                                                                      6/30/11     1005
         1005     sides, Team Leader behind. Support staff
                  behind leader.
                  Inmate secured by chest and ankle straps.
         1010     Team Leader at head of table, two at arms two       6/30/11     1019
                  at feet.
         1010     Secure wrists with soft restraints.                 6/30/11     1009
         1010     Secure arms (maintain good circulation).            6/30/11     1009
         1010     Secure upper torso.                                 6/30/11     1009
                Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 91 of 220
Special Operations: Checklist            DFS' 26(a)(1) Disclosures & Responses to RFP's 01076
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                                      RESTRICTED
                     SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                           ESCORT FROM HOLDING CELL TO TABLE

                                                                              Time:     Housing Unit 9
    Timeline:                                  Function:            Date:                                Initials:
                                                                                          CC Notify:
      1010       Secure legs (maintain good circulation).         6/30/11     1009
                 Restraint 1 Escort Team Leader checks all
                 restraints. Team moves back to holding area,
                                                                  6/30/11     1009
                 Team Leader at door. Remove any item not
                 part of the event.
                 ~1lfj'jjJti'js",v(jfJiiif~ltl!iji1tlf6l'"
                   ...........~...."~==~                          6/30/11     1009
     1010         Housing Unit 9 Section Leader advises the
                 Director inmate is secure on table and request   6/30/11     1014
                 approval to proceed with medical procedure.
                 IV's are inserted into inmate's arms or a
                 catheter is inserted into inmate's leg. EKG
                                                                  6/30/11     1030
                 equipment is hooked up to inmate. Ensure a
                 good flow of saline.
                 Restraint 1 Escort Team Leader and Housing
                 Unit 9 Section Leader positioned in Execution
     1010        room. Special Ops Team Leader inside ofthe       6/30/11     1030
                 chemical room. Inmate is secured to table with
)                IV flowing EKG functioning.
                 Housing Unit 9 Section Leader advises
     1040                                                         6/30/11     1030
                 Director that medical procedure is complete.
                 Housing Unit 9 Section Leader advises
     1045        Command to begin movement of witnesses to        6/30/11     1042
                 Housing Unit 9.
                 Command directs movement of witnesses to
                 Housing Unit 9 in the following order: Victim
     1045                                                         6/30/11     1043
                 Witnesses, Official Witnesses, Media
                 Witnesses, Inmate Witnesses.
                 Command to Housing Unit 9 Section Leader-
     1055                                                         6/30/11    1054
                 all witnesses are in place.
                 Housing Unit 9 Team Section will advise
     1055        Director that witnesses are in position and      6/30/11    1054
                 requests authorization to proceed.
                                                                            1055 -
                 The Director picks up the red phone and                  Governors
                 makes a final check to ascertain if the                     Office
     1059        execution may proceed. If there is no delay in   6/30/11   1056-
                                                                          AG's Office
                 the procedure the Director informs Housing
                                                                            1100 -
                 Unit 9 Team Leader, 'We may proceed".                      Proceed
                                                                          wiexecution
                 Upon receipt of permission from Director and
                 confirmation to proceed, Housing Unit 9
     1101                                                         6/30/11    1100
                 Section Leader opens curtains. Turn on audio
                 when ready.
                  Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 92 of 220
    Special Operations: Checklist          DFS' 26(a)(1) Disclosures & Responses to RFP's 01077
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                                          RESTRICTED
                        SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                              ESCORT FROM HOLDING CELL TO TABLE
                                                                                          Housing Unit 9
         Timeline:                       Function:                        Date:   Time:                    Initials:
                                                                                            CC Notify:
                     Housing Unit 9 Section Leader reads the
           1101                                                         6/30/11   1100
                     Execution Order.
                     Housing Unit 9 Section Leader asks inmate if
          1102                                                          6/30/11   1101
                     he would like to make a last statement.
                     Inmate makes his last statement. The last
                     statement will be summarized.
                     Turn off audio.
          1102                                                          6/30/11   1101
                     Last Statement:

                      I'd like to thank my family, my lawyers. Love
                     em all and everything is ok. That's it.
                      Director advises Special Operations Team
          1102                                                          6/30/11   1102
                      Leader to proceed with phase one.
                     Phase 1: First injection commences. Four
                     syringes filled with 1.25 grams each of
                                                                        6/30/11   1105
          1102       Pentobarbital and sterile water. Process takes
                     about 3 minutes. Saline flush follows. (1-5)
    .,
    \

                     Once first injection is complete, Special
                     Operations Team Leader instructs medical
                     consultant to ensure inmate is unconscious.
          1105                                                          6/30/11   1105
                     Medical consultant will enter execution
                     chamber and check inmate to confirm the
                     inmate is unconscious.
                      Turn on audio.
                     Housing Unit 9 Section Leader advises
          1105                                                          6/30/11   1106
                     witnesses the inmate has been sedated.
                     Turn off audio
                     Once inmate is confirmed unconscious by the
                     medical consultant, Special Operations Team
          1105                                                          6/30/11   1106
                     Leader advises Director. Director provides
                     order to continue to second injection.
                     Phase 2: Second injection commences. (6-8)
          1106                                                          6/30/11   1106
                     Pancuronium Bromide
                     Second injection completed. Saline flush
          1107                                                          6/30/11   1107
                     follows.
                     Phase 3: Third injection commences. (9-11)
          1108                                                          6/30/11   1108
                     Potassium Chloride
          1109       Third injection completed. Saline flush follows.   6/30/11   1109
    .                Phase 3 initiated Potassium Chloride - 10A         6/30/11   1109
I                    Phase 3 initiated Potassium Chloride - 10B         6/30/11   1110
                     Phase 3 completed 10A & 10B                        6/30/11   1111
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                                     RESTRICTED
                    SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                          ESCORT FROM HOLDING CELL TO TABLE
                                                                                      Housing Unit 9
    Timeline:                       Function:                      Date:    Time:                      Initials:
                                                                                       CC Notify:
                 Special Ops Team Leader advises Director
                                                                  6/30/11   1111
      1109       when injections are complete.
                 Designated qualified person checks vital signs
     1109                                                         6/30/11   1111
                 on EKG.
                 Designated qualified person pronounces
      TBD                                                         6/30/11   1111
                 death in the Chemical Room.
                 Director informed of death by Special Ops
     TBD                                                          6/30/11   1111
                 Team Leader.
                 Director advises Witnesses that the execution
     TBD                                                          6/30/11   1111
                 is concluded.
                 Housing Unit 9 Section Leader closes the
     TBD                                                          6/30/11   1111
                 curtains.       .



                 Housing Unit 9 Section Leader will notify
     TBD                                                          6/30/11   1112
                 Command to proceed with witness extrication.
                 Team Leader instructs medical consultant to
      TBD                                                         6/30/11   1118
                 cut lines to IV's.
)    TBD         CIU Investigator examines the body               6/30/11   1119
     TBD         Coroner / Medial Examiner examines the body      6/30/11   1119
                 All team members-Special Ops remain in
                 Chemical administration / restraint/escort
                 rooms. Team enters and removes restraints        6/30/11   1123
     TBD
                 from the inmate. The inmate is then placed on
                 a gurney.
                 Restraint / Escort Team will assist Coroner in
                                                                  6/30/11   1129
     TBD         the removal of the inmate's body.
     TBD         Body placed in Coroner's vehicle.                6/30/11   1130
     TBD         All teams perform any clean-up chores.           6/30/11   1130
                 Housing Unit 9 Section Leader gives directive
     TBD                                                          6/30/11   1140
                 to secure the Execution Facility.


Housing Unit 9 Section Leader                             ~,~h
                                                             Ca01»--. A~ A;7 ~< I/.   fl>.I""-.J



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                     . SPECIAL
               OPERATIONS
                CHECKLIST
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                                    DFS' 26(a)(1) Disclosures & Responses to RFP's 00024
 Special Operations: Checklist
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)                                    RESTRICTED
                    SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                          ESCORT FROM HOLDING CELL TO TABLE

     Timeline:                                                                            Housing Unit 9   Initial
                                    FunctIon:                     Date:        Time:       CC Notify:
                                                                                                                    ,
                                               DAY PRIOR TO EXECUTION
                 Restraint Team prepares inmate for transport
       2200                                                      3/28/11       2100
                 from Browning Unit to Housing Unit 9.
                 Restraint Team transports inmate from
      2230       Browning Unit to Housing Unit 9 in Central      3/28/11       2158
                 Unit.
                 Inmate is secured in cell in Housing Unit 9 and
                 first Continuous Observation Team takes
      2235                                                       3/28/11       2201
                 charge of condemned (1 supervisor /2 staff) •
                 Code-4's called in every 20 minutes.                                                                       .



                                                                             Did not                            -       ~   ..',   ".
      2245       Inmate is offered hygiene supplies             3/28/11
                                                                             request
                 All hygiene supplies are removed from
      2300                                                      3/28/11        N/A
                 inmate's holding cell.
                                                                              0205-
                 Inmate may be offered a mild sedative. (Only if            requested
,     2300                                                       3/28/11
,,               requested)                                                   0220 -
                                                                           administered
                                                  DAY OF EXECUTION
                 First Observation Team relieved. Second Team
      0300                                                     3/29/11        0300
                 starts continuous observation.
                 The inmate shall be offered a light meal. All
      0530       eating utensils and remaining food will be    3/29/11        0504
                 removed upon completion of the meal.
                 Housing Unit 9 Team Leader will authorize
      0600       Execution Restraint Team access to Housing 3/29/11           0700
                 Unit #9.
      0600       Trash removed from inmate's holding cell.     3/29/11         N/A
                 Housing Unit 9 Team Leader will authorize     3/29/11        0525
                 Special Ops Team access to Housing Unit 9.
                 Housing Unit 9 Team Leader will authorize
                                                               3/29/11        0525
                 Medical Personnel access to Housing Unit 9.
      0600       Special Ops Team will confirm camera,
                 monitor, and audio system are functioning     3/29/11        0525
                 clearly and properly.
                 Special Ops Team will confirm EKG is
                 operational and equipment for assigned        3/29/11        0525
                 medical staff to mark tape is functional.
                                                                             Did not
      0605       Inmate offered hygiene supplies.               3/29/11
                                                                             request
                 Hygiene supplies removed from inmate's         3/29/11
      0620                                                                    N/A
                 holding cell.
        Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 129 of 220
                                 DFS' 26(a)(1) Disclosures & Responses to RFP's 00025
Special Operations: Checklist
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)                                        RESTRICTED
                        SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                              ESCORT FROM HOLDING CELL TO TABLE

        Timeline:                       Function:                                   Time:      Housing Unit 9
                                                                          Date:                 CC Notify:      Initials:
                      Second Observation Team relieved. Third
         0630         Observation Team starts continuous                 3/29/11    0658
                      observation.
                      Rest of Restraint Team arrives at Housing Unit
         0700                                                            3/29/11    0700
                      9.
         0800         Execution table is prepared.                      3/29111     0800
                      Execution table should be prepared at least
                     two (2) hours prior to scheduled time of           3/29/11     0800
         0800
                     execution.
                     All items removed from inmate's cell (linen,
                                                                        3/29/11     0830
         0830        property, etc.)
                     Housing Unit 9 Team Leader advises Director
         0900        that inmate is ready for search and restraint-     3/29/11     0900
                     request permission to proceed.
                     Condemned inmate to be placed in upper
         0900        restraints by restraint/ escort team after strip   3/29/11     0900
\
,
                    search
                     Restraint Team Leader notifies Housing Unit 9
                    Team Leader that inmate is restrained and the       3/29/11     0905
         0905
                    team is ready.
                    The Director picks up the red phone and
                                                                                  0909-
                    makes a check to ascertain if the execution
                                                                                 Governor's
                    may proceed. If there is no delay in the
         0905                                                           3/29/11    Office
                    procedure the Director informs Housing Unit 9
                                                                                0910-AG's
                    Team Leader, 'We may proceed with
                                                                                   Office
                    movement".
                    Housing Unit 9 Team Leader checks with
                    Director before proceeding with movement of         3/29/11     0910
         0905
                    inmate.
                    When signaled by Housing Unit 9 Team
                    Leader the Restraint / Escort teams remove
                                                                        3/29/11     0911
         0905       the inmate from cell. Apply lower restraints
                    and proceed with movement.
                    COndemned inmate escorted to Execution
                                                                                    0911
                    Room; one staff in front, two at the inmate's
                                                                        3/29/11 0912 (placed
         0905       sides, Team Leader behind. Support staff
                                                                                  on table)
                    behind leader.
                    Inmate secured by chest and ankle straps.
         0910       Team Leader at head of table, two at arms two       3/29/11    0917
    j               at feet.
         0910       Secure wrists with soft restraints.                 3/29/11    0917
         0910       Secure arms (maintain good circulation).            3/29/11    0917
         0910       Secure upper torso.                                 3/29/11    0917
            Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 130 of 220
                                     DFS' 26(a)(1) Disclosures & Responses to RFP's 00026
Special Operations: Checklist
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                                    RESTRICTED
                   SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                         ESCORT FROM HOLDING CELL TO TABLE
                                                                                       Housing Unit 9
    Timeline:                      Function:                       Dete:     Time:      CC Notify:      Initials:
      0910        Secure legs (maintain good circulation).        3/29/11    0917
                  Restraint / Escort Team Leader checks all
                 restraints. Team moves back to holding area,
                                                                 3/29/11     0917
                 Team Leader at door. Remove any item not
                 part of the event.
                 [iJ1!i>"~""lSfi~IM\\'Ii.
                   " -,'I fa. ~~",b ~
                         '0




     0910        The Warden advises the Director inmate is
                 secure on table and request approval to         3/29/11     0917
                 proceed with medical procedure.
                 IV's are inserted into inmate's arms or a
                 catheter is inserted Into inmate's leg. EKG                 0918
                                                                 3/29/11
                 equipment is hooked up to inmate. Ensure a
                 good flow of saline.
                 Restraint / Escort Team Leader and Housing
                Unit 9 Team Leader positioned in Execution
     0910       room. Special Ops Team Leader inside of the      3/29/11    0947
                chemical room. Inmate is secured to table with
)
                IV flowing EKG functioning.
                Housing Unit Team Leader advises Director
     0940                                                        3/29/11    0947
                that medical procedure is complete.
                Housing Unit 9 Team Leader advises
     0945       Command to begin movement of w~nesses to         3/29/11    0950
                Housing Unit 9.
                Command directs movement of witnesses to
                Housing Unit 9 in the following order: Victim
     0945                                                        3/29/11    0950
                Witnesses, Official Witnesses, Media
                Witnesses, Inmate Witnesses.
                Command to Housing Unit 9 Team Leader - all
     0955                                                        3/29/11    1000
                witnesses are in place.
                Housing Unit 9 Team Leader will advise
     0955       Director that w~nesses are in position and       3/29/11    1001
                requests authorization to proceed.
                The Director picks up the red phone and                    1002-
                makes a final check to ascertain if the                   Governor's
     0959       execution may proceed. If there is no delay in   3/29/11    Office
                the procedure the Director informs Housing               lD03-AG's
                Unit 9 Team Leader, 'We may proceed".                       Office
                Upon receipt of permission from Director and
                confirmation to proceed, Housing Unit 9 Team
     1001                                                        3/29/11    1003
                Leader opens curtains. Tum on audio when
                ready.
                Housing Unit 9 Team Leader reads the
     1001                                                        3/29/11    1003
                Execution Order.
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                                     DFS' 26(a)(1) Disclosures & Responses to RFP's 00027
    Special Operations: Checklist
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                                         RESTRICTED
                        SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                              ESCORT FROM HOLDING CELL TO TABLE

        Timeline:                       Function:                                  Time:        Housing Unit 9
                                                                         Date:                   CC Notify:      Initials:
                    Housing Unit 9 Team Leader asks inmate if he
          1002                                                   3/29111           1004
                    would like to make a last statement.
                    Inmate makes his last statement. The last
                    statement will be summarized.
                    Tum off audio.
         1002                                                           3/29/11   1004
                     Last Statement:
                     None. When Inmate King was asked if he
                     would like to make a statement - he replied
                     IINo",
                     Director advises Special Operations Team
         1002                                                          3/29/11    1005,
                     Leader to proceed with phase one.
                     Phase 1: First injection commences. Four
                     syringes filled with 1.25 gnams each of Sodium
                                                                       3/29/11    1005
         1002        Thiopental and sterile water. Process takes
                                                                                           ..
                     about 3 minutes. Saline flush follows. (1-5)
                     Once first injection is complete, Special
    )               Operations Team Leader instructs medical
                    consultant to ensure Inmate is unconscious.
         1003                                                          3/29/11    1008
                    Medical consultant will enter execution
                    chamber and check inmate to confirm the
                    inmate is unconscious.
                     Turn on audio.
                    Housing Unit 9 Team Leader advises
         1005                                                          3129111    1009
                    witnesses the inmate has been sedated.
                    Turn off audio
                    Once inmate is confirmed unconscious by the
                    medical consultant, Special Operations Team
         1005                                                          3129/11    1010
                    Leader advises Director. Director provides
                    order to continue to second injection.
                    Phase 2: Second injection commences. (6-8)
         1005                                                          3129111    1010
                    Pancuronium Bromide
                    Second injection completed. Saline flush
         1006                                                          3129111    1012
                    follows.
                    Phase 3: Third injection commences. (9-11)
         1007                                                          3129111    1012
                    Potassium Chloride
        1008        Third injection completed. Saline flush follows.   3129/11    1014
                    Commences Bank B- Potassium Chloride               3/29/11    1015
                    Chloride 9A Potassium Chloride                     3/29/11    1015
"                   Commences 10B Potassium Chloride                   3/29111    1016
                    Commences 11 B HeparinlSaline Flush                3129/11    1017
                    Commences 28 Sodium Thiopental                     3129/11    1019
         Case 2:22-cv-00860-MTL--JZB Document 1-1 Filed 05/19/22 Page 132 of 220
                                  DFS' 26(a)(1) Disclosures & Responses to RFP's 00028
 Special Operations: Checklist
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                                    REstRICTED
                   SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                         ESCORT FROM HOLDING CELL TO TABLE
                                                                                     Housing Unit 9
    Timellne:                       Function:                        Date:   Time:    CC Notify:      Initials:
                  Commences 2B Sodium Thiopental                   3/29/11   1020
                  Commences 4B Sodium Thiopental                   3/29/11   1022
                  Special Ops Team Leader advises Director
                                                                   3/29/11   1022
     1008        when injections are complete.
                  Designated qualified person checks vital signs
     1008                                                          3/29/11   1022
                  on EKG.
                  Designated qualified person pronounces
     TBD                                                           3/29/11   1022
                 death in the Chemical Room.
                 Director informed of death by Special Ops
     TBD                                                           3/29/11   1022
                 Team Leader.
                 Director advises Witnesses that the execution
     TBD                                                           3/29/11   1022
                 is concluded.
                 Housing Unit 9 Team Leader closes the
     TBD                                                           3/29/11   1022
                 curtains.
                Housing Un~ 9 Team Leader will notify
     TBD                                                           3/29/11   1022
\
                Command to proceed with witness extrication.
J               Team Leader instructs medical consultant to
     TBO                                                           3/29/11   1024
                cut lines to IV's.
     TBD        CIU Investigator examines the body                 3/29/11   1026
     TBO        Coroner / Medial Examiner examines the body        3/29/11   1026
                All team members-Special Ops remain in
                Chemical administration / restraint/escort
                rooms. Team enters and removes restraints          3/29/11   1035
     TBO        from the inmate. The inmate is then placed on
                a gurney.
                Restraint / Escort Team will assist Coroner in
                                                                   3/29/11   1035
     TBD        the removal of the inmate's body.
     TBO        Body placed in Coroner's vehicle.                  3/29/11   1035
     TBO        All teams perform any clean-up chores.             3/29/11   1040
                Housing Unit 9 Team Leader gives directive to
     TBO                                                           3/29/11   1050
                secure the Execution Facility.


Housing Unit 9 Team Leader                                                             ~30-!(
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        SPECIAL·
     .OPERATIONS
       CHECKLIST
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 ,      •Special Operations: Checklist
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  "'",
  A                                             RE,STRICTED
                                       SPECIAL OPERATIONS: CHECKLIST
                                     ESCORT FROM HOLDING CELL TO TABLE

          Timeline:                      Function:                                       Housing Unit 9   Initials:
                                                                                          CC Notify:
                                                 DAY PRIOR TO EXECUTION
                   Restraint Team prepares inmatefortransporl 10125/10
           2200 from                                                           2100
                         Browning Unit to Housing Unit 9.
                   Restraint Team transports inmate from
           2230' " Browning Unit to Housing Unit 9 in Central    10125/10      2136
                   Unil.
                   Inmate is secured in cell in Housing Unit 9
           2235    and first Continuous Observation Team takes 10/25/10        2205
                   charge of condemned (1 supervisor /2 staff) -
                   Code-4's called in every 20 minutes.
                                                                               Never
           2245       Inmate is offered hygiene supplies          10/25/10
                                                                             requested
                   All hygiene supplies are removed from
           2300                                                    10/25/10     N/A
                   inmate's holding cell.
                   Inmate. may be offered a mild sedative.  (Only
           2300                                         .          10/25/10    2355
                  if requested)
,,)                                         EARLY MORNING OF EXECUTION
                  First Observation Team relieved, Second
           0300                                                   10/26/10     0300
       .Ii        Team starts continuous observaiion.
                  The inmate shall be offered a light meal. All
           0530   eating utensils and remaining food will be      10/26/10     0600
                  removed upon completion of the meal.
                  Housing Unit 9 Team Leader will authorize
           0600   Execution Restraint Team access to Housirig 10/26/10         0600
                  Unit #9.
           0600   Trash removed from inmate's holding cell.       10/26/10     0600
                  Housing Unit 9 Team Leader will authorize
                                                                  10/26/10     0600
                . Special Ops Team access to Housing Unit 9,
                  Housing Unit 9 Team Leader will authorize
                                                                  10/26/10     0600
                  Medical Personnel access to Housing Unit 9.
           0600   Special Ops Team will confirm camera,
                  monitor, and audio system are functioning       10/26110     0600
                  cleerly and property.
                  Special Ops Team will confirm EKG is
                  operational and equipment for assigned          10/26/10    0600
                  medical staff to mark tape is functional.

           0605   Inmate offered hygiene supplies.                10126/10 Never
                                                                            requested
.. )
 '                Hygiene supplies removed from Inmate's
           0620                                                   10/26110     N/A
                  holding cell.
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            •                                  DFS' 26(a)(1) Disclosures & Responses to RFP's 02806
    "         Special Operations: Checklist
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                                                   RESTRICTED
    A                                     SPECIAL OPERATIONS: CHECKLIST
                                        ESCORT FROM HOLDING CELL TO TABLE

             Tlmellne:                        Function:                                     Time:      Housing Unit 9
                                                                               Date:                    CC Notify:
                            Second Observation Team relieved. Third
               0630         Observation Team starts continuous               10/26110       0700
                            observation.
                            Rest of Restraint Team arrives at Housing
               0700        Unit 9.                                           10/26/10       0700
              0800         Execution table is prepared.                      10/26/10       2030
                                                              DAY OF EXECUTION
                           Execution table should be prepared at least
                           two (2) hours prior to scheduled time of           10/26/10      2030
              0800
                           execution.
                          All items removed from inmate's cell (linen,
              0830        property, etc.)                                     10/26/10      2115
                          Housing Unit 9 Team Leader aeMses Director
              0900        that inmate is ready for search and restraint -    10/26/10       2116
                          request permission to proceed.
                          Condemned inmate to be placed in upper
•       )     0900        restraints by restraint / escort team after strip  10/26/10      2120
                          search
                          Restraint Team Leader notifies Housing Unit 9
                         Team Leader that inmate is restrained and the 10/26110            2120
              0905        team Is ready.
                         The Director picks up the red phone and
                         makes a check to ascertain if the execution                      2121-
                         may proceed. If there is no delay in the                        AG's Office
              0905       procedure the Director informs Housing Unit 9
                                                                             10/26110     2121-
                                                                                         Governors
                         Team Leader, 'We may proceed with                                Office
                         movement".
                         Housing Unit 9 Team Leader checks with
              0905
                         Director before proceeding wllh movement of 10/26/10              2122
                         inmate.
                         When signaled by Housing Unit 9 Team
                         Leader the Restraint / Escort teams remove
                                                                            10/26/10       2122
              0905       the inmate from cell. Apply lower restraints
                         and proceed with movement.
                         Condemned inmate escorted to Execution
                         Room; one staff in front, two at the inmate's
                                                                            10126110
              0905       sides, Team Leader behind. Support staff                         2125
                         behind leader.
                         Inmate secured by chest and ankle straps.
,J            0910       Team Leader at head of table, two at arms two 10/26/10           2126
                         at feet.
              0910       Secure wrists with soft restraints.                10/26/10      2131
              0910       Secure arms (maintain good cirCUlation).           10/26/10      2131
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                                               RESTRICTED
     A                                SPECIAL OPERATIONS: CHECKLIST
                                    ESCORT FROM HOLDING CELL TO TABLE

          Tlmellne:                       Function:                                     Time:      Housing Unit 9
                                                                           Date:                    CCNotify:
           0910       Secure upper torso.                                10/26110       2131
           0910       Secure legs (maintain good circulation).           10/26110       2131
                      Restraint / Escort Team Leader will checks all
                      restraints. Team moves back to holding area,
                      Team Leader at door. Remove any Item not           10/26/10       2131
                      part of the event.
                      ~!J..m1f.ilJ1j                                     10/26/10      2132
           0910        The Warden advises the Director inmate is
                       secure on table and request approval to          10/26/10       2132
                       proceed with medical procedure.
                       IV's are inserted into inmate's arms or a
                       catheter is inserted into inmate's leg. EKG
                                                                        10/26/10       2201
                       equipment is hooked up to inmate. Ensure a
                       good flow of saline.
                       Restraint / Escort Team Leader and Housing
                       Unit 9 Team Leader positioned in Execution
           0910        room. Special Ops Team leader inside of the      10/26/10       2201
."
 ,
     )                 chemical room. Inmate is secured to table with
                      IV flowing EKG functioning.
                      Housing Unit Team Leader advises Director
          0940                                                          10/26/10      2201
                      that medical procedure is complete.
                      Housing Unit 9 Team Leader advises
          0945        Command to begin movement of witnesses to         10/26/10      2202
                      Housing Unit 9.
                      Command directs movement of witnesses to                        2202
                      Housing Unit 9 in the follOWing order: Inmate                 22051nmale
          0945                                                          10/26110    2207 Media
                      Witnesses, Media Witnesses, Official                          220BOfficiai
                      Witnesses, Victim Witnesses.                                  2210Vlcllm
                      Command to Housing Unit 9 Team Leader - all       10/26/10
          0955        witnesses are in place.                                         2210
                      Housing Unit 9 Team Leader will advise
          0955        Director that witnesses are in position and       10/26/10      2210
                      requests authorization to proceed.
                      The Director picks up the red phone and                        2211-
                      makes a final check to ascertain if the                       AG's Office
          0959        execution may proceed. If there is no delay in    10/26/10      2213
                      the procedure the Director informs Housing                    Governors
                      Unit 9 Team Leader, 'We may proceed".                          Office
                      Upon receipt of permission from Director and
 ,J       1001
                      confirmation to proceed, Housing Unit 9 Team
                                                                        10/26/10      2213
                      Leader opens curtains. Turn on audio when
                      ready.
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       .Special
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                                              RESTRICTED
  A                                  SPECIAL OPERATIONS: CHECKLIST
                                   ESCORT FROM HOLDING CELL TO TABLE

        Timeline:                       Function:                                           Housing Unit 9
                                                                          Date:     Time:    CC Notify:
          1001      Housing Unit 9 Team Leader reads the
                    Execution Order.                             10/26110           2213

          1002      Housing Unit 9 Team Leader asks inmate if he
                    would like to make a last statement.         10/26/10           2214
                    Inmate makes his last statement. The last
                    statement will be summarized.
                    Tum off audio.
          1002       Last words:                                        10/26/10    2214
                     Well, I'd like to say thank you to my family
                     for being here and all my friends, and
                     Boomer Sooner."
                     Director advises Special Operations Team
         1002                                                          10/26/10    2215
                     Leader to proceed with phase one.
                    Phase 1: First injection commences. Eight
                    syringes filled with 1.25 grams each of Sodium                 2215
                                                                       10/26110
         1002        Pentothal and sterile water. Process takes
.' )                about 3 minutes. Saline flush follows. (1-5)
                     Once first injection is complete, Special
                    Operations Team Leader instructs medical
                    consultant to ensure Inmate is unconscious.
         1003                                                          10/26/10    2216
                    Medical consultant will enter execution
                    chamber and check inmate to confirm the
                    inmate is unconscious.
                    Tum on audio.
                    Housing Unit 9 Team Leader advises                 10/26/10
         1005                                                                      2216
                    witnesses the inmate has been sedated.
                    Tum off audio
                    Once Inmate is confirmed unconscious by the
                    medical consultant. Special Operations Team        10/26/10
         1005                                                                      2219
                    Leader advises Director. Director provides
                    order to continue to second injection.
                    Phasl 2: Second injection commences. (6-6)         10/26/10
         1005                                                                      2219
                    Pancuronium Bromide
                    Second injection completed. Saline flush           10/26/10
         1006                                                                      2221
                    follows.
                    Phase 3: Third injection commences. (9-11)
         1007                                                          10/26/10    2221
                    Potassium Chloride
  ,      1006       Third injection completed. Saline flush follows.   10/26/10    2223
  )                 Special Ops Team Leader advises Director           10/26110    2223
         1006       when injections are complete.
                    Designated qualified person checks vilaI signs     10/26/10
         1006                                                                      2226
                    onEKG.
                   ,   .
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                                                                       RESTRICTED
  t9                                                          SPECIAL OPERATIONS: CHECKLIST
                                                            ESCORT FROM HOLDING CELL TO TABLE

               Timeline:                                       Function:                                   Housing Unit 9
                                                                                     Date:       Time:      CC Notify:
                                   Designated qualified person pronounces
                   TSD
                                   death in the Chemical Room.                     10/26/10      2226
                                   Director informed of death by Special Ops
                   TSD
                                  Team Leader.
                                                                                   10/26/10      2226
                                  Director advises Witnesses that the execution
                  TSD
                                  Is concluded.
                                                                                   10/26/10      2226
                                  Housing Unit 9 Team Leader closes the
                  TSD
                                  curtains.                                       10/26110      2226
                  TSD             Back-up chemicals pushed Into inmate.           10/26/1Cl      N/A
                                  Housing Unit 9 Team Leader will notify
                  TSD
                                  Command to proceed with witness extrication.
                                                                                  10126110      2227
                                  Special Operations Team Leader advises
                                  Director back up chemicals are completed.
                                                                                                2231
                  TBD
                                  Team Leader instructs medical consultant to
                                                                                  10/26/10      2232
                                                                                              (Complete)
                                  cut lines to IV's.
                 TSD              CIU Investigator examines the body              10/26/10      2233
      )                                                                                         2233
                  TBD             Coroner 1Medial Examiner examines the body      10/26110      2237
                                                                                              (complete)
                                  All team members-Special Ops remain in
                                  Chemical administration 1restraint/escort                    2237
                                  rooms. Team enters and removes restraints       1Cl/26110    2241
                 TSD
                                  from the inmate. The inmate Is then placed on               (Complele)
                                  a gurney~
                                  Restraint 1Escort Team will assist Coroner In
                                  the removal oflhe inmate's body.
                                                                                  10/26/10     2241
                 TSD
                 TBD              Body placed in Coroner's vehicle.               10/26/10     2242
                 TBD              All teams perform any clean-up chores.          10/26/10     2243
                                  Housing Unit 9 Team Leader gives directive to   10/26/10
                 TSD                                                                           2245
                                  secure the Execution Facility.




          Housing Unit 9 Team Leader


..)
          Date --,I--,(}_~....:}.:-~;:..-....:../'-",C/_·          _
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                                     RESTRICTED
                    SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                          ESCORT FROM HOLDING CELL TO TABLE
                                                                                      Housing Unit 9   Initials:
     Timeline:                      Function:                     Date:     Time:      CC Notify:
                                               DAY PRIOR TO EXECUTION
                  Restraint Team prepares inmate for transport
       2200                                                       7/18/11    2130
                 from Browning Unit to Housing Unit 9.
                  Restraint Team transports inmate from
      2230        Browning Unit to Housing Unit 9 in Central      7/18/11    2209
                 Unit.
                 Inmate is secured in cell in Housing Unit 9 and
                 first Continuous Observation Team takes
      2235                                                       7/18/11     2209
                 charge of condemned (1 supervisor / 2 staff) -
                 Code-4's called in every 20 minutes.
      2245       Inmate is offered hygiene supplies              7/18/11 Refused
                 All hygiene supplies are removed from
      2300                                                       7/18/11      N/A
                 inmate's holding cell.
                 Inmate may be offered a mild sedative. (Only if
      2300                                                       7/18/11     2230
                 requested)
"i                                                DAY OF EXECUTION
                 First Observation Team relieved. Second Team
      0300                                                       7/19/11    0250
                 starts continuous observation.
                 The inmate shall be offered a light meal. All
                                                                            0647
      0630       eating utensils and remaining food will be      7/19/11
                                                                          (refused)
                 removed upon completion of the meal.
                 Housing Unit 9 Section Leader will authorize
      0700       Execution Restraint Team access to Housing      7/19/11    0700
                 Unit #9.
      0700       Trash removed from inmate's holding cell.       7/19/11      n/a
                 Housing Unit 9 Section Leader will authorize
                                                                 7/19/11    0700
                 Special Ops Team access to Housing Unit 9.
                 Housing Unit 9 Section Leader will authorize
                                                                 7/19/11    0700
                 Medical Personnel access to Housing Unit 9.
      0700       Special Ops Team will confirm camera,
                 monitor, and audio system are functioning       7/19/11    0700
                 clearly and properly.
                 Special Ops Team will confirm EKG is
                 operational and equipment for assigned          7/19/11    0700
                 medical staff to mark tape is functional.
      0705       Inmate offered hygiene supplies.                7/19/11 Refused
                 Hygiene supplies removed from inmate's
      0720                                                       7/19/11     N/A
                 holding cell.
                 Second Observation Team relieved. Third
      0730       Observation Team starts continuous              7/19/11    0707
                 observation.
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                                     RESTRICTED
                    SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                          ESCORT FROM HOLDING CELL TO TABLE

     Timeline:                       Function:                                             Housing Unit 9   Initials:
                                                                       Date:     Time:
                                                                                            CC Notify:
                  Rest of Restraint Team arrives at Housing Unit
      0800                                                           7/19/11     0700
                  9.
      0900        Execution table is prepared.                       7/19/11     0900
                  Execution table should be prepared at least
                  two (2) hours prior to scheduled time of           7/19/11     0900
      0900
                  execution.
                 All items removed from inmate's cell (linen,
                                                                     7/19/11     0930
      0930       property, etc.)
                 Housing Unit 9 Section Leader advises
      1000       Director that inmate is ready for search and        7/19/11     0948
                 restraint - request permission to proceed.
                 Condemned inmate to be placed in upper
      1000       restraints by restraint / escort team after strip   7/19/11     0948
                 search
                 Restraint Team Leader notifies Housing Unit 9
                 Section Leader that inmate is restrained and        7/19/11     0955
I     1005
                 the team is ready.
                 The Director picks up the red phone and                        0947-
                 makes a check to ascertain if the execution                   Governors
                 may proceed. If there is no delay in the                        Office
      1005                                                           7/19/11
                 procedure the Director informs Housing Unit 9                  0948 -
                 Section Leader, 'We may proceed with                            AG's
                 movement".                                                      Office
                 Housing Unit 9 Section Leader checks with
                 Director before proceeding with movement of         7/19/11     0955
      1005
                 inmate.
                 When signaled by Housing Unit 9 Section
                 Leader the Restraint / Escort teams remove
                                                                     7/19/11     0955
      1005       the inmate from cell. Apply lower restraints
                 and proceed with movement.
                 Condemned inmate escorted to Execution
                 Room; one staff in front, two at the inmate's
                                                                     7/19/11     0955
      1005       sides, Team Leader behind. Support staff
                 behind leader.
                 Inmate secured by chest and ankle straps.
      1010       Team Leader at head of table, two at arms two       7/19/11    0957
                 at feet.
      1010       Secure wrists with soft restraints.                 7/19/11    0957
      1010       Secure arms (maintain good circulation).            7/19/11    0957
      1010       Secure upper torso.                                 7/19/11    0957
      1010       Secure legs (maintain good circulation).            7/19/11    0957
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                                     RESTRICTED
                    SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                          ESCORT FROM HOLDING CELL TO TABLE

    Timeline:                            Function:                                  Housing Unit 9
                                                                    Date:   Time:                    Initials:
                                                                                     CC Notify:
                Restraint / Escort Team Leader checks all
                restraints. Team moves back to holding area,
                                                                  7/19/11   1001
                Team Leader at door. Remove any item not
                part ofthe event.
                if1J.m@t.'\$i!l:~g';~iifQ)fiilJ'~                 7/19/11   1001
     1010        Housing Unit 9 Section Leader advises the
                 Director inmate is secure on table and request   7/19/11   1004
                 approval to proceed with medical procedure.
                 IV's are inserted into inmate's arms or a
                catheter is inserted into inmate's leg. EKG
                                                                  7/19/11   1025
                equipment is hooked up to inmate. Ensure a
                good flow of saline.
                Restraint / Escort Team Leader and Housing
                Unit 9 Section Leader positioned in Execution
     1010       room. Special Ops Team Leader inside of the       7/19/11   1025
                chemical room. Inmate is secured to table with
,
,               IV flowing EKG functioning.
                Housing Unit 9 Section Leader advises
     1040                                                         7/19/11   1025
                Director that medical procedure is complete.
                Housing Unit 9 Section Leader advises
     1045       Command to begin movement of witnesses to         7/19/11   1048
                Housing Unit 9.
                Command directs movement of witnesses to
                Housing Unit 9 in the following order: Inmate
     1045                                                         7/19/11   1048
                Witnesses, Media Witnesses, Official
                Witnesses, Victim Witnesses
                Command to Housing Unit 9 Section Leader-
     1055                                                         7/19/11   1057
                all witnesses are in place.
                Housing Unit 9 Team Section will advise
     1055       Director that witnesses are in position and       7/19/11   1057
                requests authorization to proceed.
                The Director picks up the red phone and
                makes a final check to ascertain if the
     1059       execution may proceed. If there is no delay in    7/19/11   1058
                the procedure the Director informs Housing
                Unit 9 Team Leader, 'We may proceed".
                Upon receipt of permission from Director and
                confirmation to proceed, Housing Unit 9
     1101                                                         7/19/11   1100
                Section Leader opens curtains. Turn on audio
                when ready.
                Housing Unit 9 Section Leader reads the
     1101                                                         7/19/11   1100
                Execution Order.
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                                        RESTRICTED
                       SPECIAL OPERATIONS: CHECKLIST (LETHAL INJECTION)
                             ESCORT FROM HOLDING CELL TO TABLE

        Timellne:                       Function:                                         Housing Unit 9
                                                                         Date:    Time:                    Initials:
                                                                                           CC Notify:
                    Housing Unit 9 Section Leader asks inmate if
          1102                                                         7/19/11    1101
                    he would like to make a last statement.
                    Inmate makes his last statement. The last
                    statement will be summarized.
                    Turn off audio.
         1102                                                          7/19/11    1101
                    Last Statement:
                    none

                     Director advises Special Operations Team
         1102                                                          7/19/11    1102
                     Leader to proceed with phase one.
                     Phase 1: First injection commences. Four
                     syringes filled with 1.25 grams each of
                                                                       7/19/11    1105
         1102        Pentobarbital and sterile water. Process takes
                    about 3 minutes. Saline flush follows. (1-5)
                    Once first injection is complete, Special
    \               Operations Team Leader instructs medical
                    consultant to ensure inmate is unconscious.
         1105                                                          7/19/11   . 1106
                    Medical consultant will enter execution
                    chamber and check inmate to confirm the
                    inmate is unconscious.
                     Turn on audio.
                    Housing Unit 9 Section Leader advises
         1105                                                          7/19/11    1106
                    witnesses the inmate has been sedated.
                     Turn off audio
                    Once inmate is confirmed unconscious by the
                    medical consultant, Special Operations Team
         1105                                                          7/19/11    1106
                    Leader advises Director. Director provides
                    order to continue to second injection.
                    Phase 2: Second injection commences. (6-8)
         1106                                                          7/19/11    1106
                    Pancuronium 8romide
                    Second injection completed. Saline flush
         1107                                                          7/19/11    1107
                    follows.
                    Phase 3: Third injection commences. (9-11)
         1108                                                          7/19/11    1107
                    Potassium Chloride
         1109       Third injection completed. Saline flush follows.   7/19/11    1108
                    Commence Potassium Chloride - 98                   7/19/11    1108
                    Completed Potassium Chloride - 98                  7/19/11    1109
\
I                   Commence Potassium Chloride - 108                  7/19/11    1109
                    Completed 108                                      7/19/11    1109
                    Commence Heparin/Saline -118                       7/19/11    1109
                    Completed Heparin/Saline 118                       7/19/11    1110
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                   Chemical' adminIstration I reslrali1t!escorl
       1'1;10;    r~fliIs,Te~"JI1t§l.~S ~)'I'c!rei:n~\l.~s,re,~trAinti                    '. 'QVj~;9!1;j;t1a3
                  'ftQifi'tll\i!!linm~I~~1il!l~';ii.1l1ii8'~IIMf1~I:t'I\l'~.61qQi'i<
                  >~ g~RIi'!~¥;              ..        ..                     .. .. . .
      .rep, . ~~~~~J~T~;~:~'I.~i~:=:i~!~prj)~fln',;lDrfl~~tt~:nZB
.    "1tal)~     ,',. ~dy,lIiIabEl~,j,ift'f!i)l\Q(lI~~!s;;~'Eii:\l~llii[, .         .. ·;:d.~N~t1!~?··   tM~!l
   ARIZONA Case 2:22-cv-00860-MTL--JZB
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                                                 DFS' 26(a)(1) Disclosures & Responses to RFP's 01664
   Chemical Disposition Form

"- -oJnroate                                                                           , " -Date of Execution _
   West, Thomas Paul                                             68781                    July 19, 2011

   Chemicals administered during execution:



    1    Xylocaine (20 ml @ 1%)                                          1        1         20ml             1004

    2 Heparin (5 ml syringe)                                           109        51        255 ml           1025

    3    Pentobarbital (50 ml @ 50mg/ml = 2,5 g)                         6        2          5mg             1101

    4    Pancuronium Bromide (10 ml @ 1 mg/ml = 10 mg)                   34       12       120 mg            1106

    5    Potassium Chloride (20 ml @ 2 mEq/ml = 40 mEq)                  12       12      480 mEq            1107

    6    Potassium Chloride (30 ml @ 2 mEq/ml       =60 mEq)             4        0            0              N/A
    7

    8

    9

  10
  \,-11-------------------,-11---+----,1-----1------1
  )11

  12

  Chemicals depleted but not used for the execution (ie, viles broken/damaged):



    1

    2

    3

    4

    5

    6

    7

    8

  Special Operations Team Leader verification:




                                   -                                                               July 19, 2011


                                                                                                        Form: 710-CDF
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